Case 14-10979-CSS   Doc 4637-1   Filed 06/01/15   Page 1 of 79




         Exhibit “A”
                                                   Case 14-10979-CSS                    Doc 4637-1         Filed 06/01/15           Page 2 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number

 25112 LUMINANT - NORTH LAKE                           392       R756802        04/30/14       8756802        CREDC441SU      RNT412 Spec Gas : Nitrogen Pure : Medium                 1       $7.80
                                                                                Total                                                                                                  1       $7.80
                                                       Total                                                                                                                           1       $7.80
 25114 LUMINANT - MARTIN LAKE SES                      3263      R756803        04/30/14       8756803        S0389507TRI     RNT202 Industrial HP : Oxygen : Medium                   1       $1.35
                                                                                Total                                                                                                  1       $1.35
                                                       Total                                                                                                                           1       $1.35
 25119 LUMINANT - DECORDOVA SES                        405       R750338        03/31/14       8750338        CREDC521SU      RNT71 Industrial HP : CO2 : 50 lb                        1       $4.96
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $16.12
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1      $80.60
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1      $24.18
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                  1      $24.18
                                                                                Total                                                                                                  5     $150.04
                                                       639       3011769        05/01/13                                                                                               1     ($13.22)
                                                                                Total                                                                                                  1     ($13.22)
                                                       720       3158084        03/31/14       4385050        112430          HOB601133250 E6011 3/32 50#CTN.-HOBART                  50     $101.00
                                                                                Total                                                                                                 50     $101.00
                                                       729       3162455        04/09/14       4390422        114945          123303 (DANIELS) 11 COMP. MIXTURE BAL CH4                1     $594.00
                                                                                Total                                                                                                  1     $594.00
                                                       738       3163486        04/11/14       4391620        114946          123510 HELIUM, UHP, 152 SZ                               1     $181.00
                                                                                Total                                                                                                  1     $181.00
                                                       747       3165721        04/17/14       4395256        117765          123510 HELIUM, UHP, 152 SZ                               1     $181.00
                                                                                Total                                                                                                  1     $181.00
                                                       752       R756804        04/30/14       8756804        CREDC521SU      RNT71 Industrial HP : CO2 : 50 lb                        1       $4.80
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $15.60
                                                                                                                              RNT98 Spec Gas : _LP Mix : 25 Gallon                     1       $5.72
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1      $72.54
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1      $23.40
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                  1      $23.40
                                                                                                                              RNT538 Spec Gas : Helium Pure : 152AL                    1       $9.10
                                                                                Total                                                                                                  7     $154.56
                                                       Total                                                                                                                          66    $1,348.38
 25121 LUMINANT - LAKE CREEK                           617       R756805        04/30/14       8756805        CREDC531SU      RNT412 Spec Gas : Nitrogen Pure : Medium                 1     $109.20
                                                                                Total                                                                                                  1     $109.20
                                                       Total                                                                                                                           1     $109.20
 25125 LUMINANT PERMIAN BASIN SES                      423       R750340        03/31/14       8750340        CREDC361SU      RNT80 Spec Gas : _Spec Mix : 152AL                       1     $208.78
                                                                                                                              RNT85 Spec Gas : _Spec Mix : Large             1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$24.18
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                Case 14-10979-CSS                  Doc 4637-1        Filed 06/01/15           Page 3 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                         Shipped Qty    Amount
                                                             Number                                      Number
                                                                                                                        RNT80 Spec Gas : _Spec Mix : 152AL
 25125 LUMINANT PERMIAN BASIN SES                   423      R750340       03/31/14       8750340        CREDC361SU     RNT85 Spec Gas : _Spec Mix : Large                       1       $24.18
                                                                                                                        RNT98 Spec Gas : _LP Mix : 25 Gallon                     1        $8.06
                                                                                                                        RNT441 Spec Gas : SF6 Pure : 115 lb                      1       $16.12
                                                                                                                        RNT538 Spec Gas : Helium Pure : 152AL                    1       $16.12
                                                                           Total                                                                                                 5      $273.26
                                                    855      3155111       03/24/14       4381649        107620-V2      120268DS CARBON DIOXIDE, BULK                        20,000   $6,400.00
                                                                                                                        DELIVERY DELIVERY/FUEL                                   1      $500.00
                                                                                                                        MEMO MEMO                                                5    $1,500.00
                                                                           Total                                                                                             20,006   $8,400.00
                                                    864      3160079       04/03/14       4388518        114013         123448 110 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1      $225.00
                                                                           Total                                                                                                 1      $225.00
                                                    873      3161895       04/08/14       4391729        115501         123296 OXYGEN 18% BAL N2 EPA 152                         1      $225.00
                                                                           Total                                                                                                 1      $225.00
                                                    882      3165723       04/17/14       4396020        118041         123448 110 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1      $225.00
                                                                           Total                                                                                                 1      $225.00
                                                    887      R756806       04/30/14       8756806        CREDC361SU     RNT80 Spec Gas : _Spec Mix : 152AL                       1      $203.58
                                                                                                                        RNT85 Spec Gas : _Spec Mix : Large                       1       $23.40
                                                                                                                        RNT98 Spec Gas : _LP Mix : 25 Gallon                     1        $7.80
                                                                                                                        RNT441 Spec Gas : SF6 Pure : 115 lb                      1       $15.60
                                                                                                                        RNT538 Spec Gas : Helium Pure : 152AL                    1       $15.60
                                                                           Total                                                                                                 5      $265.98
                                                    Total                                                                                                                    20,019   $9,614.24
 25126 LUMINANT MARTIN LAKE SES                     1152     R750341       03/31/14       8750341        CREDC031SU     RNT1 Industrial LP : Acetylene : Large                   1      $245.28
                                                                                                                        RNT2 Industrial LP : Acetylene : Medium                  1       $34.72
                                                                                                                        RNT4 Industrial LP : Acetylene : Extra Large             1       $42.40
                                                                                                                        RNT5 Industrial LP : Acetylene : Large Lab Gr            1        $8.06
                                                                                                                        RNT13 Industrial HP : Breathing Air : Large              1       $49.60
                                                                                                                        RNT43 Industrial HP : Argon : Large                      1      $252.96
                                                                                                                        RNT45 Industrial HP : Argon : Pallet-Pack                1      $184.80
                                                                                                                        RNT52 Liquids : Argon : 5500                             1       $51.15
                                                                                                                        RNT71 Industrial HP : CO2 : 50 lb                        1       $24.00
                                                                                                                        RNT80 Spec Gas : _Spec Mix : 152AL                       1      $546.00
                                                                                                                        RNT86 Spec Gas : _Spec Mix : 82AL                        1        $8.06
                                                                                                                        RNT122 Industrial LP : HPG : 63 lb                       1       $19.84
                                                                                                                        RNT124 Industrial LP : HPG : 440 lb                      1      $116.25
                                                                                                                        RNT132 Industrial HP : Hydrogen : Medium             1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. $4.96
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                   Case 14-10979-CSS                    Doc 4637-1         Filed 06/01/15           Page 4 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT124 Industrial LP : HPG : 440 lb
 25126 LUMINANT MARTIN LAKE SES                        1152      R750341        03/31/14       8750341        CREDC031SU     RNT132 Industrial HP : Hydrogen : Medium                  1         $4.96
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1        $94.24
                                                                                                                              RNT164 Industrial Mix : RBO 75 : Pallet-Pack             1     $1,145.76
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $128.16
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1       $204.60
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1        $44.64
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1       $461.28
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1       $668.36
                                                                                                                              RNT232 Liquids : Oxygen : 5500                           1       $306.90
                                                                                                                              RNT277 Industrial Mix : RBO 21 : Large                   1        $74.40
                                                                                                                              RNT280 Industrial Mix : RBO 22 : Large                   1        $24.80
                                                                                                                              RNT321 Spec Gas : Misc Pure : Medium                     1         $8.06
                                                                                                                              RNT342 Spec Gas : Air Pure : Medium                      1       $177.32
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1       $236.08
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1        $56.42
                                                                                                                              RNT471 Industrial Mix : RBO 63 : Large                   1         $4.96
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1        $89.28
                                                                                                                              RNT508 Industrial HP : Nitrogen : R-80                   1        $19.84
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1       $104.16
                                                                                                                              RNT512 Industrial HP : Oxygen : R-80                     1         $9.92
                                                                                                                              RNT538 Spec Gas : Helium Pure : 152AL                    1       $112.84
                                                                                                                              RNT628 Vessel Tank : Argon : 500                         1       $150.00
                                                                                                                              RNT672 Medical HP : Oxygen USP : D Size                  1        $39.68
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1       $321.57
                                                                                                                              RNT749 Vessel Tank : Oxygen : 500                        1       $150.00
                                                                                                                              RNT853 Vessel Tank 1000 Gallon Propylene                 1       $250.00
                                                                                Total                                                                                                 39     $6,471.35
                                                       11601     3093155        10/22/13       4304272        RETURN          SOW80SB233236 SOWESCO ER80SB2 3/32 X 36..              -300    ($508.74)
                                                                                Total                                                                                                -300    ($508.74)
                                                       13113     3140209        02/18/14       4363482        96871           LEW3600HTP LEWCO 36"X50LY 36OZ HIGH TE..                 2     $1,686.25
                                                                                Total                                                                                                  2     $1,686.25
                                                       13122     3140209        04/04/14                                                                                               1    ($1,356.99)
                                                                                Total                                                                                                  1    ($1,356.99)
                                                       13167     3140791        02/19/14       4365485        96871           LEW3600HTP LEWCO 36"X50LY 36OZ HIGH TE..                 0     ($317.49)
                                                                                Total                                                                                                  0     ($317.49)
                                                                                03/17/14       4374341        107331          BW6012E1CIX B/W CONTROLS 6012-E1-CI-X EL..     2         $295.66
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                   Case 14-10979-CSS                    Doc 4637-1         Filed 06/01/15           Page 5 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       13167     3140791        Total
 25126 LUMINANT MARTIN LAKE SES                        13518     3151952        03/17/14       4374341        107331          BW6012E1CIX B/W CONTROLS 6012-E1-CI-X EL..               2     $295.66
                                                                                Total                                                                                                  2     $295.66
                                                       13527     3151953        03/17/14       4375900        108078          LEW3600HTP LEWCO 36"X50LY 36OZ HIGH TE..                 2    $1,368.76
                                                                                Total                                                                                                  2    $1,368.76
                                                       13536     3151954        03/17/14       4376165        99541           REPAIR-T&G APPARATUS REPAIR (S)                          6     $440.80
                                                                                Total                                                                                                  6     $440.80
                                                       13545     3151955        03/17/14       4379194        109276          120236 HYDROGEN, TUBE TRAILER                        47,248   $1,157.58
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              47,249   $1,365.58
                                                       13554     3152537        03/18/14       4377805        108995          100101 OXYGEN, PALLET PACK 4,912 CF                      1     $118.80
                                                                                                                              120111 OXYGEN, 307 CF                                    6      $42.12
                                                                                Total                                                                                                  7     $160.92
                                                       13563     3152538        03/18/14       4379742        109835          ESAB309L161810 ESAB 309L16 1/8 10#                      60     $580.38
                                                                                                                              ESAB316L1810 ARCALOY 316L-16 1/8" ELECT. 1..            60     $591.78
                                                                                                                              ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..             600    $1,783.80
                                                                                                                              TUE110325BX ARCAIR 1/4 X 12CARBON (BOX 5..              55     $610.50
                                                                                Total                                                                                                775    $3,566.46
                                                       13572     3153791        03/20/14       4381982        110814          120236 HYDROGEN, TUBE TRAILER                        19,023    $466.06
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              19,024    $674.06
                                                       13581     3153792        03/20/14       4381989                        120236 HYDROGEN, TUBE TRAILER                        53,389   $1,308.03
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              53,390   $1,516.03
                                                       13590     3155112        03/24/14       4383552        108726          120236 HYDROGEN, TUBE TRAILER                        32,239    $789.86
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              32,240    $997.86
                                                       13599     3155636        03/25/14       4367366        103846          ESAB316L3326 ARCALOY 316L-16 3/32" ELECT. ..           120    $1,355.40
                                                                                Total                                                                                                120    $1,355.40
                                                       13608     3155637        03/25/14       4377805        108995          100101 OXYGEN, PALLET PACK 4,912 CF                      1     $118.80
                                                                                Total                                                                                                  1     $118.80
                                                       13617     3155638        03/25/14       4379742        109835          ESAB309L161810 ESAB 309L16 1/8 10#                      20     $193.46
                                                                                                                              ESAB309L1633210 ARCALOY 309L-16 3/32" (E30..           110    $1,186.13
                                                                                Total                                                                                                130    $1,379.59
                                                       13626     3155639        03/25/14       4380820        110232          121694 OXYGEN 2% BAL N2 EPA 152                          1     $225.00
                                                                                                                              123677 SULFUR DIOXIDE 165PPM BAL N2 EPA 1..              3     $675.00
                                                                                Total                                                                                        4         $900.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                   Case 14-10979-CSS                    Doc 4637-1         Filed 06/01/15           Page 6 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                03/25/14       4380820        110232         123677 SULFUR DIOXIDE 165PPM BAL N2 EPA 1..
 25126 LUMINANT MARTIN LAKE SES                        13626     3155639        Total                                                                                                  4     $900.00
                                                       13635     3155640        03/25/14       4381089        110487          120111 OXYGEN, 307 CF                                    6      $42.12
                                                                                                                              120124 OXYGEN, 020 CF                                    4      $23.76
                                                                                                                              120312 ACETYLENE, MC                                     3      $26.25
                                                                                Total                                                                                                 13      $92.13
                                                       13644     3155641        03/25/14       4381351        110595          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    5      $20.63
                                                                                Total                                                                                                  5      $20.63
                                                       13653     3155642        03/25/14       4381742        110824          120300 ACETYLENE, LARGE                                  6     $613.44
                                                                                Total                                                                                                  6     $613.44
                                                       13662     3155643        03/25/14       4382910        111237          123917 SULFUR DIOXIDE 1650PPM BAL N2 EPA ..              1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       13671     3155644        03/25/14       4382955        111447          100101 OXYGEN, PALLET PACK 4,912 CF                      2     $237.60
                                                                                Total                                                                                                  2     $237.60
                                                       13680     3155645        03/25/14       4383615        111746          ESAB701833210 E-7018 3/32 10#HSC ATOM AR..             560    $1,785.84
                                                                                Total                                                                                                560    $1,785.84
                                                       13689     3156840        03/27/14       4385386        112597          120236 HYDROGEN, TUBE TRAILER                        30,259    $741.35
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              30,260    $949.35
                                                       13698     3158085        03/31/14       4383319        111603          100515 ARGON, PALLET PACK 5376 CF                        1     $375.00
                                                                                Total                                                                                                  1     $375.00
                                                       13707     3158086        03/31/14       4384442        112157          121691 SULFUR DIOXIDE 275PPM BAL N2, EPA, ..             1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       13716     3158087        03/31/14       4384764        112232          123917 SULFUR DIOXIDE 1650PPM BAL N2 EPA ..              1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       13725     3158088        03/31/14       4385054        112438          120141 NITROGEN, UHP, 230 CF                             7     $222.25
                                                                                Total                                                                                                  7     $222.25
                                                       13734     3159014        04/01/14       4377130        108650          BW6012E1CIX B/W CONTROLS 6012-E1-CI-X EL..               2     $315.94
                                                                                                                              BW6013GP303BRT8B B/W CONTROLS 6013-GP-..                 5     $927.55
                                                                                Total                                                                                                  7    $1,243.49
                                                       13743     3159015        04/01/14       4383437        111661          SOW316LFC332X36 SOWESCO 316L FLUX COA..                 50    $1,592.50
                                                                                Total                                                                                                 50    $1,592.50
                                                       13752     3159016        04/01/14       4384369        112105          LEW3600HTP LEWCO 36"X50LY 36OZ HIGH TE..                 2    $1,368.76
                                                                                                                              TUE110326BX ARCAIR 3/8 X 12 (BOX 50 EA)                  9     $122.07
                                                                                Total                                                                                                 11    $1,490.83
                                                       13761     3159017        04/01/14       4385936        111657          100515 ARGON, PALLET PACK 5376 CF                        1     $375.00
                                                                                Total                                                                                        1         $375.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                Case 14-10979-CSS                  Doc 4637-1        Filed 06/01/15          Page 7 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty      Amount
                                                             Number                                      Number
                                                                           04/01/14       4385936        111657         100515 ARGON, PALLET PACK 5376 CF
 25126 LUMINANT MARTIN LAKE SES                     13761    3159017       Total                                                                                               1        $375.00
                                                    13770    3159018       04/01/14       4387905        113648        120236 HYDROGEN, TUBE TRAILER                       42,272     $1,035.66
                                                                                                                       DELIVERY DELIVERY/FUEL                                  1        $208.00
                                                                           Total                                                                                           42,273     $1,243.66
                                                    13779    3159548       04/02/14       4388977        114054        120236 HYDROGEN, TUBE TRAILER                       22,218       $544.34
                                                                                                                       DELIVERY DELIVERY/FUEL                                  1        $208.00
                                                                           Total                                                                                           22,219       $752.34
                                                    13788    3161264       04/07/14       4391154        115228        120236 HYDROGEN, TUBE TRAILER                       46,618     $1,142.14
                                                                                                                       DELIVERY DELIVERY/FUEL                                  1        $208.00
                                                                           Total                                                                                           46,619     $1,350.14
                                                    13797    3161897       04/08/14       4387597        113573        ATLH ATLAS H CONE & CHISEL CHIPPING HAM..              13         $96.25
                                                                                                                       ESAB7018MO33250 E-7018-MO 3/32 50#. ATOM ..            50        $168.25
                                                                                                                       ESAB701853210 E-7018 5/32 10#HSC ATOM AR..            250        $732.25
                                                                           Total                                                                                             313        $996.75
                                                    13806    3161898       04/08/14       4388033        113839        120111 OXYGEN, 307 CF                                  12         $84.24
                                                                                                                       120164 ARGON, 336 CF                                    4         $90.72
                                                                           Total                                                                                              16        $174.96
                                                    13815    3161899       04/08/14       4388100        113865        120300 ACETYLENE, LARGE                                 4        $408.96
                                                                           Total                                                                                               4        $408.96
                                                    13824    3161900       04/08/14       4388384        113984        WES665 WESTERN 665 TEFLON WASHER / O RI..              13         $21.19
                                                                           Total                                                                                              13         $21.19
                                                    13833    3161901       04/08/14       4389742        114560        121691 SULFUR DIOXIDE 275PPM BAL N2, EPA, ..            1        $225.00
                                                                                                                       123660 NOX 138 PPM BAL N2 EPA 152CF                     1        $225.00
                                                                           Total                                                                                               2        $450.00
                                                    13842    3161902       04/08/14       4391180        115250        121019 CARBON DIOXIDE 18% BAL N2 EPA 152                1        $225.00
                                                                                                                       123917 SULFUR DIOXIDE 1650PPM BAL N2 EPA ..             1        $225.00
                                                                           Total                                                                                               2        $450.00
                                                    13851    3161903       04/08/14       4391912        115411        120137 OXYGEN, LIQUID, BULK, PER CUBIC FO..         32,228       $451.19
                                                                           Total                                                                                           32,228       $451.19
                                                    13860    3163487       04/11/14       4394158        117054        120236 HYDROGEN, TUBE TRAILER                       29,920       $733.04
                                                                                                                       DELIVERY DELIVERY/FUEL                                  1        $208.00
                                                                           Total                                                                                           29,921       $941.04
                                                    13869    3164069       04/14/14       4394619        117073        120236 HYDROGEN, TUBE TRAILER                       42,304     $1,036.45
                                                                                                                       DELIVERY DELIVERY/FUEL                                  1        $208.00
                                                                           Total                                                                                           42,305     $1,244.45
                                                                                                                       ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..           600       $1,783.80
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and  Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                   Case 14-10979-CSS                    Doc 4637-1         Filed 06/01/15           Page 8 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       13869     3164069        Total
 25126 LUMINANT MARTIN LAKE SES                        13878     3164571        04/15/14       4391612        115461          ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..             600    $1,783.80
                                                                                                                              ESAB701833210 E-7018 3/32 10#HSC ATOM AR..             560    $1,785.84
                                                                                                                              MGFSKCS16OZ MAGNAFLUX SKC-S CLEANER -..                114    $1,475.16
                                                                                Total                                                                                               1,274   $5,044.80
                                                       13887     3164572        04/15/14       4393271        116616          100101 OXYGEN, PALLET PACK 4,912 CF                      2     $237.60
                                                                                Total                                                                                                  2     $237.60
                                                       13896     3164573        04/15/14       4394764        109108          ESAB701853210 E-7018 5/32 10#HSC ATOM AR..             250     $732.25
                                                                                                                              TUE110326BX ARCAIR 3/8 X 12 (BOX 50 EA)                  1      $13.56
                                                                                Total                                                                                                251     $745.81
                                                       13905     3167844        04/23/14       4395089        117612          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..               20     $269.00
                                                                                Total                                                                                                 20     $269.00
                                                       13914     3167845        04/23/14       4396007        118113          ATLH ATLAS H CONE & CHISEL CHIPPING HAM..               75     $643.50
                                                                                                                              LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             500     $142.50
                                                                                Total                                                                                                575     $786.00
                                                       13923     3167846        04/23/14       4396706        118386          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    5      $20.63
                                                                                Total                                                                                                  5      $20.63
                                                       13932     3167847        04/23/14       4397252        118684          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                   15      $58.20
                                                                                Total                                                                                                 15      $58.20
                                                       13941     3167848        04/23/14       4398499        119274          100101 OXYGEN, PALLET PACK 4,912 CF                      1     $118.80
                                                                                                                              100510 RBO-75, PALLET PACK 5696 CF                       1     $322.06
                                                                                                                              120111 OXYGEN, 307 CF                                    6      $42.12
                                                                                                                              120159 NITROGEN, LIQUID #55                              4     $218.40
                                                                                                                              120164 ARGON, 336 CF                                     2      $45.36
                                                                                Total                                                                                                 14     $746.74
                                                       13950     3167849        04/23/14       4398578        119297          120141 NITROGEN, UHP, 230 CF                             4     $120.96
                                                                                                                              120300 ACETYLENE, LARGE                                  4     $408.96
                                                                                Total                                                                                                  8     $529.92
                                                       13959     3167850        04/23/14       4399707        119328          120236 HYDROGEN, TUBE TRAILER                        52,942   $1,297.08
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              52,943   $1,505.08
                                                       13968     3167851        04/23/14       4399709        119368          120236 HYDROGEN, TUBE TRAILER                        37,077    $908.39
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              37,078   $1,116.39
                                                       13977     3169143        04/25/14       4398841        119409          100510 RBO-75, PALLET PACK 5696 CF                       4    $1,288.24
                                                                                                                              120164 ARGON, 336 CF                                    12     $272.16
                                                                                                                              120180 RBO-075 25% CO2 BALANCE ARGON, 35..
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and12         $285.72
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                Case 14-10979-CSS                   Doc 4637-1        Filed 06/01/15          Page 9 of 79

Pre-Petition Item Detail

                                                              Invoice                                     Purchase Order
 Customer                                            Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty       Amount
                                                              Number                                      Number
                                                                                                                         120164 ARGON, 336 CF
 25126 LUMINANT MARTIN LAKE SES                      13977    3169143       04/25/14       4398841        119409         120180 RBO-075 25% CO2 BALANCE ARGON, 35..             12        $285.72
                                                                            Total                                                                                               28      $1,846.12
                                                     13986    3169144       04/25/14       4400694        120470        120124 OXYGEN, 020 CF                                    6        $35.64
                                                                            Total                                                                                                6        $35.64
                                                     13995    3169145       04/25/14       4400850        120472        120236 HYDROGEN, TUBE TRAILER                       18,788        $460.31
                                                                                                                        DELIVERY DELIVERY/FUEL                                   1        $208.00
                                                                            Total                                                                                           18,789        $668.31
                                                     14004    3170343       04/29/14       4397928        118894        ESAB316L3326 ARCALOY 316L-16 3/32" ELECT. ..           120      $1,355.40
                                                                                                                        TUE461936 WIRE WELDING, DS 70 ULTRA, 035 ..             10      $1,403.74
                                                                            Total                                                                                              130      $2,759.14
                                                     14013    3170344       04/29/14       4398510        119219        H2RW106303525 H2 REPAIR W-1063 .035 25# S..             50      $1,119.38
                                                                            Total                                                                                               50      $1,119.38
                                                     14022    3170345       04/29/14       4398810        119389        121019 CARBON DIOXIDE 18% BAL N2 EPA 152                 1        $225.00
                                                                            Total                                                                                                1        $225.00
                                                     14031    3170346       04/29/14       4398841        119409        100510 RBO-75, PALLET PACK 5696 CF                       1        $322.06
                                                                            Total                                                                                                1        $322.06
                                                     14040    3170347       04/29/14       4401158        120678        120238 ARGON, LIQUID #55, 5300 CF                        1        $255.15
                                                                            Total                                                                                                1        $255.15
                                                     14049    3170348       04/29/14       4401174        120552        ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..              10        $29.73
                                                                                                                        ESAB701833210 E-7018 3/32 10#HSC ATOM AR..              10        $31.89
                                                                                                                        LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                    50        $129.60
                                                                            Total                                                                                               70        $191.22
                                                     14058    3170349       04/29/14       4401357        120734        ESAB701833210 E-7018 3/32 10#HSC ATOM AR..             570      $1,817.73
                                                                            Total                                                                                              570      $1,817.73
                                                     14067    3170350       04/29/14       4401361        120800        ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..              10        $29.73
                                                                                                                        ESAB701833210 E-7018 3/32 10#HSC ATOM AR..              10        $31.89
                                                                                                                        LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                    50        $129.60
                                                                            Total                                                                                               70        $191.22
                                                     14076    3170351       04/29/14       4401366        120812        LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                   450      $1,166.40
                                                                            Total                                                                                              450      $1,166.40
                                                     14085    3170352       04/29/14       4401678        120994        100101 OXYGEN, PALLET PACK 4,912 CF                      1        $118.80
                                                                            Total                                                                                                1        $118.80
                                                     14094    3170353       04/29/14       4402851        NEED          120236 HYDROGEN, TUBE TRAILER                       34,582        $847.26
                                                                                                                        DELIVERY DELIVERY/FUEL                                   1        $208.00
                                                                            Total                                                                                           34,583      $1,055.26
                                                                                                                        120236 HYDROGEN, TUBE TRAILER
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY37,289            $913.58
                                                                                                                                                                            and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 10 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       14094     3170353        Total
 25126 LUMINANT MARTIN LAKE SES                        14103     3170354        04/29/14       4402852        NEED            120236 HYDROGEN, TUBE TRAILER                        37,289    $913.58
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $208.00
                                                                                Total                                                                                              37,290   $1,121.58
                                                       14117     R756807        04/30/14       8756807        CREDC031SU      RNT1 Industrial LP : Acetylene : Large                   1     $244.80
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1      $33.60
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1      $19.20
                                                                                                                              RNT5 Industrial LP : Acetylene : Large Lab Gr            1       $7.80
                                                                                                                              RNT13 Industrial HP : Breathing Air : Large              1      $48.00
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1     $250.56
                                                                                                                              RNT45 Industrial HP : Argon : Pallet-Pack                1     $277.20
                                                                                                                              RNT52 Liquids : Argon : 5500                             1      $49.50
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1     $540.80
                                                                                                                              RNT86 Spec Gas : _Spec Mix : 82AL                        1       $7.80
                                                                                                                              RNT122 Industrial LP : HPG : 63 lb                       1      $19.20
                                                                                                                              RNT124 Industrial LP : HPG : 440 lb                      1     $112.50
                                                                                                                              RNT132 Industrial HP : Hydrogen : Medium                 1       $4.80
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1     $102.72
                                                                                                                              RNT164 Industrial Mix : RBO 75 : Pallet-Pack             1    $1,127.28
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1     $100.80
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1     $198.00
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $43.20
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1     $446.40
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1     $646.80
                                                                                                                              RNT232 Liquids : Oxygen : 5500                           1     $297.00
                                                                                                                              RNT277 Industrial Mix : RBO 21 : Large                   1      $72.00
                                                                                                                              RNT280 Industrial Mix : RBO 22 : Large                   1      $24.00
                                                                                                                              RNT321 Spec Gas : Misc Pure : Medium                     1       $7.80
                                                                                                                              RNT342 Spec Gas : Air Pure : Medium                      1     $171.60
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1     $249.60
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1      $54.60
                                                                                                                              RNT471 Industrial Mix : RBO 63 : Large                   1       $4.80
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1      $86.40
                                                                                                                              RNT508 Industrial HP : Nitrogen : R-80                   1      $19.20
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1     $102.72
                                                                                                                              RNT512 Industrial HP : Oxygen : R-80                     1       $9.60
                                                                                                                              RNT538 Spec Gas : Helium Pure : 152AL          1         $109.20
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15            Page 11 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                         Shipped Qty     Amount
                                                             Number                                      Number
                                                                                                                        RNT512 Industrial HP : Oxygen : R-80
 25126 LUMINANT MARTIN LAKE SES                     14117    R756807       04/30/14       8756807        CREDC031SU     RNT538 Spec Gas : Helium Pure : 152AL                    1      $109.20
                                                                                                                         RNT628 Vessel Tank : Argon : 500                        1      $150.00
                                                                                                                         RNT672 Medical HP : Oxygen USP : D Size                 1       $38.40
                                                                                                                         RNT702 Other Assets : Pallets : With Rails              1      $296.46
                                                                                                                         RNT749 Vessel Tank : Oxygen : 500                       1      $150.00
                                                                                                                         RNT853 Vessel Tank 1000 Gallon Propylene                1      $250.00
                                                                           Total                                                                                                38     $6,374.34
                                                    Total                                                                                                                   583,796   $68,599.56
 25128 LUMINANT MONTICELLO SES                      972      R750342       03/31/14       8750342        CREDC021SU      RNT1 Industrial LP : Acetylene : Large                  1       $54.56
                                                                                                                         RNT2 Industrial LP : Acetylene : Medium                 1      $128.96
                                                                                                                         RNT4 Industrial LP : Acetylene : Extra Large            1      $252.96
                                                                                                                         RNT26 Spec Gas : CO2 Pure : 60 lb                       1        $8.06
                                                                                                                         RNT41 Industrial HP : Argon : Small                     1        $9.92
                                                                                                                         RNT43 Industrial HP : Argon : Large                     1      $114.08
                                                                                                                         RNT52 Liquids : Argon : 5500                            1      $204.60
                                                                                                                         RNT71 Industrial HP : CO2 : 50 lb                       1       $64.48
                                                                                                                         RNT80 Spec Gas : _Spec Mix : 152AL                      1      $327.34
                                                                                                                         RNT84 Spec Gas : _Spec Mix : Medium                     1       $64.48
                                                                                                                         RNT86 Spec Gas : _Spec Mix : 82AL                       1        $8.06
                                                                                                                         RNT92 Industrial HP : Helium : Medium                   1       $54.56
                                                                                                                         RNT132 Industrial HP : Hydrogen : Medium                1        $4.96
                                                                                                                         RNT163 Industrial Mix : RBO 75 : Large                  1       $94.24
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium                1       $44.64
                                                                                                                         RNT201 Industrial HP : Oxygen : Small                   1      $109.12
                                                                                                                         RNT202 Industrial HP : Oxygen : Medium                  1      $491.04
                                                                                                                         RNT205 Industrial HP : Oxygen : Pallet-Pack             1      $301.84
                                                                                                                         RNT232 Liquids : Oxygen : 5500                          1      $153.45
                                                                                                                         RNT343 Spec Gas : Air Pure : Large                      1       $48.36
                                                                                                                         RNT382 Spec Gas : Hydrogen Pure : Medium                1        $8.06
                                                                                                                         RNT412 Spec Gas : Nitrogen Pure : Medium                1      $354.64
                                                                                                                         RNT441 Spec Gas : SF6 Pure : 115 lb                     1       $64.48
                                                                                                                         RNT474 Spec Gas : Nitrogen Pure : AL152                 1       $16.12
                                                                                                                         RNT475 Industrial LP : Acetylene : MC                   1        $4.96
                                                                                                                         RNT509 Industrial HP : Oxygen : R-20                    1       $24.80
                                                                                                                         RNT620 Vessel Tank : Oxygen : 1500                      1      $350.00
                                                                                                                         RNT702 Other Assets : Pallets : With Rails          1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$50.22
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 12 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT620 Vessel Tank : Oxygen : 1500
 25128 LUMINANT MONTICELLO SES                         972       R750342        03/31/14       8750342        CREDC021SU     RNT702 Other Assets : Pallets : With Rails                1      $50.22
                                                                                Total                                                                                                 28    $3,412.99
                                                       3564      2930378        11/27/12                                                                                               1      ($3.84)
                                                                                Total                                                                                                  1      ($3.84)
                                                       4320      2974569        03/06/13                                                                                               1      ($0.61)
                                                                                Total                                                                                                  1      ($0.61)
                                                       4365      2974573        03/22/13                                                                                               1     ($14.40)
                                                                                Total                                                                                                  1     ($14.40)
                                                       5346      3027136        07/03/13                                                                                               1    ($111.02)
                                                                                Total                                                                                                  1    ($111.02)
                                                       7011      3142132        02/21/14       4363681        100644           ESAB8018CM33210 ESAB 8018-CM 3/32 10 LB C..           250    $1,022.50
                                                                                Total                                                                                                250    $1,022.50
                                                       7020      3142132        04/07/14                                                                                               1    ($998.84)
                                                                                Total                                                                                                  1    ($998.84)
                                                       7110      3143917        02/26/14       4368906        100644           ESAB8018CM33210 ESAB 8018-CM 3/32 10 LB C..             0     ($15.00)
                                                                                Total                                                                                                  0     ($15.00)
                                                       7209      3152539        03/18/14       4367734        104048           CKW13N24 CK 2C418 (13N24) COLLET FOR 1/8"             150      $94.50
                                                                                                                               CKW45V45 CK 2GL418 GAS LENS FOR 1/8"                   60     $171.00
                                                                                                                               VIC3W 3 W WELDING NOZZLE                                4     $168.92
                                                                                                                               VIC10MFA 10 MFA HEATING NOZZLE                          4     $405.28
                                                                                                                               VIC12MFA 12 MFA HEATING NOZZLE                          4     $405.28
                                                                                                                               ZZNHBERNBZ8250HT BERN O MATIC BZ 8250 HT                1     $101.51
                                                                                Total                                                                                                223    $1,346.49
                                                       7218      3152540        03/18/14       4372050        106071           LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                  200     $518.40
                                                                                                                               SHUR4501 4501 SPARK LIGHTER (EA)                        3       $7.44
                                                                                Total                                                                                                203     $525.84
                                                       7227      3152541        03/18/14       4377442        108776           LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                   4      $16.50
                                                                                                                               LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                   7      $28.88
                                                                                                                               LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                  11      $45.38
                                                                                Total                                                                                                 22      $90.76
                                                       7236      3153793        03/20/14       4371863        105334           LEW1800HTP LEWCO 18 OZ SILICA BLANKET                   2     $987.50
                                                                                Total                                                                                                  2     $987.50
                                                       7245      3153794        03/20/14       4377237        108072           LEW1800HTP LEWCO 18 OZ SILICA BLANKET                   2     $987.50
                                                                                Total                                                                                                  2     $987.50
                                                       7254      3153795        03/20/14       4377243        108072           HARSS351165TO SILVALOY 35 1/16X 5 TROY O..              1     $110.58
                                                                                Total                                                                                        1         $110.58
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 13 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                03/20/14       4377243        108072         HARSS351165TO SILVALOY 35 1/16X 5 TROY O..
 25128 LUMINANT MONTICELLO SES                         7254      3153795        Total                                                                                                  1     $110.58
                                                       7263      3153796        03/20/14       4380351        110134          100101 OXYGEN, PALLET PACK 4,912 CF                      3     $356.40
                                                                                Total                                                                                                  3     $356.40
                                                       7272      3154426        03/21/14       4382211        98914           120236 HYDROGEN, TUBE TRAILER                       105,556   $2,586.12
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $368.00
                                                                                                                              EQRENT EQUIPMENT RENTAL                                  1    $2,000.00
                                                                                Total                                                                                             105,558   $4,954.12
                                                       7281      3157505        03/28/14       4384627        112251          100101 OXYGEN, PALLET PACK 4,912 CF                      2     $237.60
                                                                                Total                                                                                                  2     $237.60
                                                       7290      3158089        03/31/14       4385829        112812          LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             401     $114.29
                                                                                Total                                                                                                401     $114.29
                                                       7299      3160594        04/04/14       4387639        113356          120115 OXYGEN, 251 CF                                    5      $32.40
                                                                                                                              120153 NITROGEN, ZERO GRADE, 230 CF                      2      $63.50
                                                                                                                              120164 ARGON, 336 CF                                    10     $226.80
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            6     $613.44
                                                                                Total                                                                                                 23     $936.14
                                                       7308      3160595        04/04/14       4390072        114309          120236 HYDROGEN, TUBE TRAILER                        46,946   $1,150.18
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $368.00
                                                                                Total                                                                                              46,947   $1,518.18
                                                       7317      3161265        04/07/14       4390221        114878          121019 CARBON DIOXIDE 18% BAL N2 EPA 152                 1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       7326      3164070        04/14/14       4383816        111879          BW6012E1CIX B/W CONTROLS 6012-E1-CI-X EL..               2     $315.94
                                                                                                                              BW6013GP303BRT8B B/W CONTROLS 6013-GP-..                 2     $371.02
                                                                                Total                                                                                                  4     $686.96
                                                       7335      3164071        04/14/14       4391811        114787          123666 CARBON MONOXIDE 2250PPM BAL N2 E..                2     $450.00
                                                                                                                              123679 SULFUR DIOXIDE 715PPM BAL N2 EPA 1..              1     $225.00
                                                                                                                              123812 100 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1     $225.00
                                                                                Total                                                                                                  4     $900.00
                                                       7344      3164072        04/14/14       4391876        115777          121019 CARBON DIOXIDE 18% BAL N2 EPA 152                 1     $225.00
                                                                                                                              123738 SULFUR DIOXIDE 1375PPM BAL N2 EPA ..              1     $225.00
                                                                                Total                                                                                                  2     $450.00
                                                       7353      3164073        04/14/14       4392331        116093          100101 OXYGEN, PALLET PACK 4,912 CF                      2     $237.60
                                                                                Total                                                                                                  2     $237.60
                                                       7362      3166746        04/21/14       4388383        113977          HARSB18SS HARRIS STAY-BRITE 1/8"SILVER S..               1      $58.35
                                                                                Total                                                                                                  1      $58.35
                                                                                04/21/14       4391607        115454          LEW1800HTP LEWCO 18 OZ SILICA BLANKET          2         $987.50
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15             Page 14 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                             Number                                      Number
                                                    7362     3166746       Total
 25128 LUMINANT MONTICELLO SES                      7371     3166747       04/21/14       4391607        115454           LEW1800HTP LEWCO 18 OZ SILICA BLANKET                   2     $987.50
                                                                           Total                                                                                                  2     $987.50
                                                    7380     3167257       04/22/14       4392883        116395           LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                  200     $518.40
                                                                                                                          SHUR4501 4501 SPARK LIGHTER (EA)                        3       $7.44
                                                                           Total                                                                                                203     $525.84
                                                    7389     3167258       04/22/14       4394453        117063           ZZM0CM-1020 R20,MC PORT-A-TOTE                          2      $69.30
                                                                           Total                                                                                                  2      $69.30
                                                    7398     3167259       04/22/14       4395086        117606           LAPC758 LAPCO LAP-C 7 5/8 WELDERS CAP                   6      $24.75
                                                                           Total                                                                                                  6      $24.75
                                                    7407     3168501       04/24/14       4395257        117743           ESAB309L161810 ESAB 309L16 1/8 10#                    180    $1,740.60
                                                                           Total                                                                                                180    $1,740.60
                                                    7416     3168502       04/24/14       4398503        119165           120115 OXYGEN, 251 CF                                  15      $97.20
                                                                                                                          120119 OXYGEN, 125 CF                                   7      $41.58
                                                                                                                          120303 ACETYLENE, EXTRA LARGE                           6     $613.44
                                                                           Total                                                                                                 28     $752.22
                                                    7425     3169146       04/25/14       4393374        116395           LEW1800HTP LEWCO 18 OZ SILICA BLANKET                   2     $987.50
                                                                           Total                                                                                                  2     $987.50
                                                    7434     3169147       04/25/14       4394770        117103           LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                  11      $42.68
                                                                                                                          LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                   4      $16.50
                                                                                                                          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                   7      $28.88
                                                                           Total                                                                                                 22      $88.06
                                                    7443     3169148       04/25/14       4397973        118827           LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                  11      $45.38
                                                                           Total                                                                                                 11      $45.38
                                                    7452     3170355       04/29/14       4399037        119407           123679 SULFUR DIOXIDE 715PPM BAL N2 EPA 1..             1     $225.00
                                                                           Total                                                                                                  1     $225.00
                                                    7461     3170356       04/29/14       4402849        110910 - VER 2   120236 HYDROGEN, TUBE TRAILER                       97,621   $2,391.71
                                                                                                                          DELIVERY DELIVERY/FUEL                                  1     $368.00
                                                                                                                          EQRENT EQUIPMENT RENTAL                                 1    $2,000.00
                                                                           Total                                                                                              97,623   $4,759.71
                                                    7466     R756808       04/30/14       8756808        CREDC021SU       RNT1 Industrial LP : Acetylene : Large                  1      $52.80
                                                                                                                          RNT2 Industrial LP : Acetylene : Medium                 1     $124.80
                                                                                                                          RNT4 Industrial LP : Acetylene : Extra Large            1     $237.76
                                                                                                                          RNT26 Spec Gas : CO2 Pure : 60 lb                       1       $7.80
                                                                                                                          RNT41 Industrial HP : Argon : Small                     1       $9.60
                                                                                                                          RNT43 Industrial HP : Argon : Large                     1     $110.40
                                                                                                                          RNT52 Liquids : Argon : 5500                       1         $198.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 15 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT43 Industrial HP : Argon : Large
 25128 LUMINANT MONTICELLO SES                         7466      R756808        04/30/14       8756808        CREDC021SU     RNT52 Liquids : Argon : 5500                              1      $198.00
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $62.40
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $319.80
                                                                                                                              RNT84 Spec Gas : _Spec Mix : Medium                      1       $62.40
                                                                                                                              RNT86 Spec Gas : _Spec Mix : 82AL                        1        $7.80
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1       $52.80
                                                                                                                              RNT132 Industrial HP : Hydrogen : Medium                 1        $4.80
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1       $91.20
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $43.20
                                                                                                                              RNT201 Industrial HP : Oxygen : Small                    1      $101.76
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $434.72
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1      $369.60
                                                                                                                              RNT232 Liquids : Oxygen : 5500                           1      $148.50
                                                                                                                              RNT343 Spec Gas : Air Pure : Large                       1       $46.80
                                                                                                                              RNT382 Spec Gas : Hydrogen Pure : Medium                 1        $7.80
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1      $343.20
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1       $62.40
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                  1       $15.60
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1        $4.80
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1       $24.00
                                                                                                                              RNT620 Vessel Tank : Oxygen : 1500                       1      $350.00
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1       $48.60
                                                                                Total                                                                                                 28     $3,343.34
                                                       Total                                                                                                                      251,792   $31,564.29
 25130 LUMINANT BIG BROWN SES                          639       R750343        03/31/14       8750343        CREDC011SU      RNT1 Industrial LP : Acetylene : Large                   1        $9.92
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1      $248.64
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1        $4.96
                                                                                                                              RNT12 Industrial HP : Breathing Air : Medium             1       $54.56
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1      $198.40
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $225.42
                                                                                                                              RNT84 Spec Gas : _Spec Mix : Medium                      1       $16.12
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1        $9.92
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $148.80
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $19.84
                                                                                                                              RNT201 Industrial HP : Oxygen : Small                    1       $19.84
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium         1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. $4.96
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 16 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT201 Industrial HP : Oxygen : Small
 25130 LUMINANT BIG BROWN SES                          639       R750343        03/31/14       8750343        CREDC011SU     RNT202 Industrial HP : Oxygen : Medium                    1       $4.96
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1     $416.64
                                                                                                                              RNT264 Industrial LP : Propane : 25 Gallon               1       $9.92
                                                                                                                              RNT372 Spec Gas : Helium Pure : Medium                   1      $64.48
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1     $261.30
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1      $72.54
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1      $74.40
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1      $89.28
                                                                                                                              RNT516 Industrial Mix : RBO 75 : R-80                    1      $14.88
                                                                                                                              RNT620 Vessel Tank : Oxygen : 1500                       1     $350.00
                                                                                                                              RNT672 Medical HP : Oxygen USP : D Size                  1       $9.92
                                                                                                                              RNT693 Spec Gas : _Spec Mix : 200                        1      $16.12
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1      $75.33
                                                                                                                              RNT768 Other Assets : Tube Trailer : H2                  1    $1,950.00
                                                                                Total                                                                                                 25    $4,366.19
                                                       3141      3033358        06/03/13       4210677        CREDC012SU      120159 NITROGEN, LIQUID #55                              1      $54.60
                                                                                Total                                                                                                  1      $54.60
                                                       4266      3103533        11/14/13       4318185        75073           MEMO MEMO                                                1       $3.20
                                                                                Total                                                                                                  1       $3.20
                                                       4671      3130474        01/27/14       4352186        90027           FWWW16 WIZARD WRAP SMALL WW-16                           0     ($42.00)
                                                                                Total                                                                                                  0     ($42.00)
                                                       4878      3144580        02/27/14       4363622        100577          LINK28571 LINCOLN K2857-1 RANGER 225, KOH..              1    $3,769.45
                                                                                Total                                                                                                  1    $3,769.45
                                                       4995      3152542        03/18/14       4360765        98426           LIN5P33250 LINCOLN 5P 3/32" ELECTRODES #..             200     $552.00
                                                                                Total                                                                                                200     $552.00
                                                       5004      3152543        03/18/14       4377403        108709          123448 110 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1     $225.00
                                                                                                                              124449 SULFUR DIOXIDE 770PPM BAL N2 EPA 1..              1     $225.00
                                                                                Total                                                                                                  2     $450.00
                                                       5022      3155646        03/25/14       4380530        109970          121019 CARBON DIOXIDE 18% BAL N2 EPA 152                 1     $225.00
                                                                                                                              123448 110 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1     $225.00
                                                                                Total                                                                                                  2     $450.00
                                                       5031      3155647        03/25/14       4381460        110754          120124 OXYGEN, 020 CF                                    6      $35.64
                                                                                                                              120141 NITROGEN, UHP, 230 CF                             3      $90.72
                                                                                                                              120302 ACETYLENE, MEDIUM                                 8     $338.16
                                                                                                                              120312 ACETYLENE, MC                                     4      $35.00
                                                                                Total
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and21         $499.52
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15          Page 17 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty     Amount
                                                             Number                                      Number
                                                                           03/25/14       4381460        110754         120312 ACETYLENE, MC
 25130 LUMINANT BIG BROWN SES                       5031     3155647       Total                                                                                              21       $499.52
                                                    5040     3155648       03/25/14       4382889        111417        123666 CARBON MONOXIDE 2250PPM BAL N2 E..               1       $225.00
                                                                           Total                                                                                               1       $225.00
                                                    5049     3155649       03/25/14       4383602        111627        123666 CARBON MONOXIDE 2250PPM BAL N2 E..               1       $225.00
                                                                                                                       124449 SULFUR DIOXIDE 770PPM BAL N2 EPA 1..             1       $225.00
                                                                           Total                                                                                               2       $450.00
                                                    5058     3155650       03/25/14       4383608        111626        121019 CARBON DIOXIDE 18% BAL N2 EPA 152                2       $450.00
                                                                                                                       123448 110 PPM NITRIC OXIDE BAL N2 EPA SZ1..            2       $450.00
                                                                           Total                                                                                               4       $900.00
                                                    5085     3162935       04/10/14       4389238        114458        120111 OXYGEN, 307 CF                                   1         $7.02
                                                                                                                       120141 NITROGEN, UHP, 230 CF                            2        $60.48
                                                                                                                       120164 ARGON, 336 CF                                    2        $45.36
                                                                           Total                                                                                               5       $112.86
                                                    5094     3162936       04/10/14       4390900        115222        121019 CARBON DIOXIDE 18% BAL N2 EPA 152                1       $225.00
                                                                           Total                                                                                               1       $225.00
                                                    5103     3162937       04/10/14       4390997        113526        ATLH ATLAS H CONE & CHISEL CHIPPING HAM..              50       $370.20
                                                                                                                       DYK28377 DYKEM STEEL BLUE LAYOUT FLUID ..              12       $120.60
                                                                                                                       FLA42050T //FLANGE 42050-T TWO HOLE PIN                 3       $166.20
                                                                                                                       FW53025M FLANGE WIZARD 53025M SMALL CE..                1        $48.89
                                                                                                                       FW53076M FLANGE WIZARD 53076M MAG. CEN..                1        $62.50
                                                                                                                       LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..            300        $84.00
                                                                                                                       MARK300F TEMPILSTIK ONLY       300 F                   30       $281.70
                                                                                                                       MARK400F TEMPILSTIK ONLY       400 F                   40       $375.60
                                                                                                                       SHUR4501 4501 SPARK LIGHTER (EA)                       25        $62.75
                                                                                                                       WEL2X414HT11 GLASS LENS 2X4-1/4 HEAT TR..              50        $31.50
                                                                                                                       WEL2X414HT12 GLASS LENS 2X4-1/4 HEAT TR..              50        $31.50
                                                                                                                       WEL2X414HT-10 GLASS LENS 2X4-1/4 HEAT TR..             50        $31.50
                                                                                                                       WESAW430 WE #AW-430 COUPLER, INERT A                   25        $75.00
                                                                                                                       WLR25100 WEILER 25100 SHOE HANDLE WIRE ..             100       $152.00
                                                                                                                       ZZD3CGW70212 FLAPPER WHEEL 5/8X5/8X1/4 ..             300       $504.00
                                                                           Total                                                                                            1,037    $2,397.94
                                                    5112     3162938       04/10/14       4391012        115215        120111 OXYGEN, 307 CF                                   8        $56.16
                                                                                                                       120302 ACETYLENE, MEDIUM                                1        $42.27
                                                                                                                       120312 ACETYLENE, MC                                    3        $26.25
                                                                           Total                                                                                              12       $124.68
                                                                                                                       CKW9V25RFX 9V-25-R-FX TORCH PACKAGE
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and15       $1,005.60
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 18 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       5112      3162938        Total
 25130 LUMINANT BIG BROWN SES                          5121      3162939        04/10/14       4391026        113526          CKW9V25RFX 9V-25-R-FX TORCH PACKAGE                     15    $1,005.60
                                                                                                                              CKW9VFX 9V-FX TORCH BODY GAS 125A FLEX ..                5     $173.90
                                                                                                                              CKW13N10 CKWORLDWIDE 13N10 ALUMINA N..                  60      $30.00
                                                                                                                              CKW13N23 CK 2C332 (13N23) COLLET FOR 3/32"              50      $18.00
                                                                                                                              CKW13N24 CK 2C418 (13N24) COLLET FOR 1/8"              100      $50.00
                                                                                                                              CKW45V44 CK 2GL332 (45V44) GAS LENS FOR ..              20      $56.20
                                                                                                                              CKW45V45 CK 2GL418 GAS LENS FOR 1/8"                    50     $140.50
                                                                                                                              CKW53N61 53N61 #7 ALUMINA NOZZLE                        20      $10.00
                                                                                                                              TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..                15     $606.00
                                                                                                                              TUN33272GRD TUNGSTEN 3/32X7" 2% THOR. G..               10     $227.00
                                                                                Total                                                                                                345    $2,317.20
                                                       5130      3162940        04/10/14       4391044        113526          SOW70S21836 SOWESCO ER70S-2 1/8 X 36" TI..              30      $59.70
                                                                                                                              SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..              30      $60.00
                                                                                                                              SOW80SB21836 SOWESCO ER80SB-2 1/8X36" ..                40     $102.80
                                                                                                                              SOW80SB233236 SOWESCO ER80SB2 3/32 X 36..               40     $103.60
                                                                                                                              SOW90SB31836 SOWESCO ER90S-B3 1/8X36"R..                20      $71.20
                                                                                                                              SOW90SB333236 SOWESCO ER90S-B3 3/32X36..                20      $73.00
                                                                                Total                                                                                                180     $470.30
                                                       5139      3162941        04/10/14       4391095        113526          LENAF2 LENCO AF-2 ELECT.HOLDER                          25     $336.25
                                                                                                                              LENLC40M LENCO 2-LC-40 BLK MALE 05053                   50     $320.00
                                                                                                                              ZZDFPRO9FV12RTTC PROFAX 9FV12RTTC TIG ..                15    $1,232.85
                                                                                Total                                                                                                 90    $1,889.10
                                                       5148      3162942        04/10/14       4391103        113526          H2R223XC18 H2R 223DS 1/8 MED CARB ELECT..              200    $1,044.00
                                                                                Total                                                                                                200    $1,044.00
                                                       5157      3162943        04/10/14       4391115        113526          MIL212726 MILLER 212726 TIP ICE 80T/TM/CX 8..           10      $54.30
                                                                                                                              MIL212735 MILLER 212735 O-RING ICE-60T                  10      $93.90
                                                                                Total                                                                                                 20     $148.20
                                                       5166      3162944        04/10/14       4391122        113526          VIC01101 0-1-101 CUTTING TIP                            15     $140.40
                                                                                                                              VIC01118 0-1-118 BENT GOUGING TIP                        5     $116.90
                                                                                                                              VIC11101 1-1-101 CUT TIP                                15     $140.40
                                                                                                                              VIC21101 2-1-101 CUTTING TIP                            15     $140.40
                                                                                                                              VIC21118 2-1-118 BENT GOUGING TIP                        5     $116.90
                                                                                                                              VIC31101 3-1-101 CUTTING TIP                            15     $140.40
                                                                                                                              VIC41118 4-1-118 BENT GOUGING TIP                        5     $116.90
                                                                                                                              VIC001101 00-1-101 CUTTING TIP                          15     $140.40
                                                                                                                              VIC0001101 000-1-101 CUTTING TIP
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and10
                                                                                                                                                                             Filter Zero.$93.60
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15           Page 19 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty      Amount
                                                             Number                                      Number
                                                                                                                        VIC001101 00-1-101 CUTTING TIP
 25130 LUMINANT BIG BROWN SES                       5166     3162944       04/10/14       4391122        113526         VIC0001101 000-1-101 CUTTING TIP                      10         $93.60
                                                                           Total                                                                                             100      $1,146.30
                                                    5175     3162945       04/10/14       4391131        113526         LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                 300        $777.00
                                                                                                                        LIN5P+33250 5P+ 3/32 FLEETWELD 50# HSC               500      $1,405.00
                                                                                                                        LIN5P+53250 5P+ 5/32 FLEETWELD 50# HSC               100        $259.00
                                                                           Total                                                                                             900      $2,441.00
                                                    5184     3162946       04/10/14       4391224        113526         120111 OXYGEN, 307 CF                                 40        $280.80
                                                                                                                        120164 ARGON, 336 CF                                  25        $567.00
                                                                                                                        120302 ACETYLENE, MEDIUM                              20        $845.40
                                                                           Total                                                                                              85      $1,693.20
                                                    5193     3162947       04/10/14       4391571        114692         LAPC758 LAPCO LAP-C 7 5/8 WELDERS CAP                  4         $16.50
                                                                           Total                                                                                               4         $16.50
                                                    5211     3164074       04/14/14       4393806        116951         120141 NITROGEN, UHP, 230 CF                          10        $302.40
                                                                           Total                                                                                              10        $302.40
                                                    5220     3164075       04/14/14       4394500        117268         120124 OXYGEN, 020 CF                                 11         $65.34
                                                                                                                        120312 ACETYLENE, MC                                   4         $35.00
                                                                           Total                                                                                              15        $100.34
                                                    5247     3166748       04/21/14       4391018        113526         LEW1800HTP LEWCO 18 OZ SILICA BLANKET                 10      $4,637.50
                                                                           Total                                                                                              10      $4,637.50
                                                    5256     3166749       04/21/14       4391084        113526         FLEXF1707 FLEXOVIT RAZOR BLADE 6X.045X7/8           1,000     $2,210.00
                                                                                                                        FLEXVA20R2 FLEXOVIT SA-5 CARBIDE BUR CY..             20        $475.00
                                                                                                                        ZZD3FLEXVM15R2 BURR 1/4"X1"LX1/4" SHANK ..            30        $394.20
                                                                           Total                                                                                            1,050     $3,079.20
                                                    5265     3166750       04/21/14       4391145        113526         CAB250LC40 CABLE #2 50' W/LC40 MALE/FEMA..            20      $2,136.80
                                                                           Total                                                                                              20      $2,136.80
                                                    5274     3166751       04/21/14       4396726        118467         120124 OXYGEN, 020 CF                                  1          $5.94
                                                                                                                        120141 NITROGEN, UHP, 230 CF                           3         $90.72
                                                                                                                        120302 ACETYLENE, MEDIUM                               2         $84.54
                                                                                                                        120312 ACETYLENE, MC                                   3         $26.25
                                                                           Total                                                                                               9        $207.45
                                                    5283     3166752       04/21/14       4397320        118481         124449 SULFUR DIOXIDE 770PPM BAL N2 EPA 1..            1        $225.00
                                                                           Total                                                                                               1        $225.00
                                                    5292     3166753       04/21/14       4397915        118912         120124 OXYGEN, 020 CF                                  3         $17.82
                                                                                                                        120141 NITROGEN, UHP, 230 CF                           1         $30.24
                                                                                                                        120302 ACETYLENE, MEDIUM                               8        $338.16
                                                                                                                        120312 ACETYLENE, MC                                 6
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$52.50
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 20 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             120302 ACETYLENE, MEDIUM
 25130 LUMINANT BIG BROWN SES                          5292      3166753        04/21/14       4397915        118912         120312 ACETYLENE, MC                                      6      $52.50
                                                                                Total                                                                                                 18     $438.72
                                                       5301      3166754        04/21/14       4397968        118821          LAPC7 LAPCO LAP-C 7 WELDERS CAP                          4      $16.50
                                                                                Total                                                                                                  4      $16.50
                                                       5310      3167854        04/23/14       4399696        89243           120236 HYDROGEN, TUBE TRAILER                        42,181   $1,033.43
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $550.40
                                                                                Total                                                                                              42,182   $1,583.83
                                                       5319      3168503        04/24/14       4391068        113526          ESAB8018B21850 ATOM ARC 8018-B2 (CM) 1/8..             200     $732.60
                                                                                                                              ESAB8018CM33250 ATOM ARC 8018-CM (8018-..              500    $2,017.50
                                                                                                                              ESAB9018CM33250 ATOM ARC 9018 CM 3/32" E..             100     $418.80
                                                                                                                              ESAB70181850 E-7018 1/8 50#HSC ATOM ARC E..            500    $1,070.00
                                                                                                                              ESAB701853250 E-7018 5/32 50#HSC ATOM AR..             100     $214.00
                                                                                Total                                                                                               1,400   $4,452.90
                                                       5328      3168504        04/24/14       4394780        117170          VIC0RTE 0 RTE WELDING NOZZLE                             1      $73.60
                                                                                Total                                                                                                  1      $73.60
                                                       5337      3168505        04/24/14       4396726        118467          120141 NITROGEN, UHP, 230 CF                             3      $90.72
                                                                                Total                                                                                                  3      $90.72
                                                       5346      3168506        04/24/14       4399050        119476          123666 CARBON MONOXIDE 2250PPM BAL N2 E..                1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       5355      3169150        04/25/14       4401138        89243           120236 HYDROGEN, TUBE TRAILER                        47,385   $1,160.93
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $550.40
                                                                                Total                                                                                              47,386   $1,711.33
                                                       5364      3170358        04/29/14       4395978        118073          ESAB316L1810 ARCALOY 316L-16 1/8" ELECT. 1..           100     $986.00
                                                                                                                              ESAB316L3326 ARCALOY 316L-16 3/32" ELECT. ..            54     $610.20
                                                                                Total                                                                                                154    $1,596.20
                                                       5373      3170359        04/29/14       4402854        96185           120268DS CARBON DIOXIDE, BULK                         4,677    $467.70
                                                                                Total                                                                                               4,677    $467.70
                                                       5378      R756809        04/30/14       8756809        CREDC011SU      RNT1 Industrial LP : Acetylene : Large                   1       $9.60
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1     $308.48
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1       $4.80
                                                                                                                              RNT12 Industrial HP : Breathing Air : Medium             1      $36.80
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1     $282.72
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1     $249.60
                                                                                                                              RNT84 Spec Gas : _Spec Mix : Medium                      1      $15.60
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1       $9.60
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large         1         $144.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 21 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                            Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT92 Industrial HP : Helium : Medium
 25130 LUMINANT BIG BROWN SES                          5378      R756809        04/30/14       8756809        CREDC011SU     RNT163 Industrial Mix : RBO 75 : Large                      1      $144.00
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                   1       $19.20
                                                                                                                              RNT201 Industrial HP : Oxygen : Small                      1       $19.20
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                     1        $4.80
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                      1      $514.08
                                                                                                                              RNT264 Industrial LP : Propane : 25 Gallon                 1        $9.60
                                                                                                                              RNT372 Spec Gas : Helium Pure : Medium                     1       $62.40
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                   1      $287.04
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                        1       $70.20
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                      1       $78.72
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                       1       $83.84
                                                                                                                              RNT516 Industrial Mix : RBO 75 : R-80                      1       $14.40
                                                                                                                              RNT620 Vessel Tank : Oxygen : 1500                         1      $350.00
                                                                                                                              RNT672 Medical HP : Oxygen USP : D Size                    1        $9.60
                                                                                                                              RNT693 Spec Gas : _Spec Mix : 200                          1       $15.60
                                                                                                                              RNT702 Other Assets : Pallets : With Rails                 1      $174.96
                                                                                                                              RNT768 Other Assets : Tube Trailer : H2                    1     $1,950.00
                                                                                                                              RNT1256 R20 UHP Oxygen                                     1        $4.42
                                                                                Total                                                                                                   26     $4,729.26
                                                       Total                                                                                                                        100,206   $51,778.69
 25138 LUMINANT GRAHAM SES                             648       R750344        03/31/14       8750344        CREDC321SU      RNT1 Industrial LP : Acetylene : Large                     1       $26.56
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large               1       $34.88
                                                                                                                              RNT43 Industrial HP : Argon : Large                        1       $51.68
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                          1      $277.76
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                         1      $174.98
                                                                                                                              RNT92 Industrial HP : Helium : Medium                      1        $9.92
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                     1       $39.68
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                   1        $4.96
                                                                                                                              RNT175 Industrial HP : Nitrogen : Pallet-Pack              1      $381.92
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                     1       $44.64
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                      1       $76.16
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                        1       $32.24
                                                                                                                              RNT625 Vessel Tank : Nitrogen : 1500                       1      $450.00
                                                                                                                              RNT702 Other Assets : Pallets : With Rails                 1      $175.77
                                                                                                                              RNT716 Spec Gas : Methane Pure : 152sz                     1       $16.12
                                                                                                                              RNT730 Other Assets : Pallet Header : Pallt Hdr1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$96.10
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 22 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                           Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT716 Spec Gas : Methane Pure : 152sz
 25138 LUMINANT GRAHAM SES                             648       R750344        03/31/14       8750344        CREDC321SU     RNT730 Other Assets : Pallet Header : Pallt Hdr            1      $96.10
                                                                                                                               RNT882 Hydrogen Ground Storage Unit                      1     $615.00
                                                                                Total                                                                                                  17    $2,508.37
                                                       1728      2965774        01/07/13       4141166        31552            GASCREDIT GAS CONTENT CREDIT                             -1   ($314.50)
                                                                                                                               MEMO MEMO                                                1     $254.08
                                                                                Total                                                                                                   0     ($60.42)
                                                       3330      3151956        03/17/14       4377263        108602           123737 NITRIC OXIDE 385PPM BAL N2 EPA SZ1..              1     $225.00
                                                                                                                               123776 82.5 PPM NITRIC OXIDE BAL N2 EPA 152..            1     $225.00
                                                                                Total                                                                                                   2     $450.00
                                                       3339      3152544        03/18/14       4375350        107727           CAB250LC40 CABLE #2 50' W/LC40 MALE/FEMA..               4     $385.00
                                                                                Total                                                                                                   4     $385.00
                                                       3348      3152545        03/18/14       4377560        108885           CAB250LC40 CABLE #2 50' W/LC40 MALE/FEMA..               3     $288.75
                                                                                Total                                                                                                   3     $288.75
                                                       3357      3153798        03/20/14       4377560        108885           ESAB701833210 E-7018 3/32 10#HSC ATOM AR..              10      $31.89
                                                                                Total                                                                                                  10      $31.89
                                                       3366      3155113        03/24/14       4381440        110746           120190 CARBON DIOXIDE, 050 LB                           16     $157.25
                                                                                Total                                                                                                  16     $157.25
                                                       3375      3155114        03/24/14       4381695        110524           123753 NITRIC OXIDE 275 PPM, BAL N2 EPA 152              1     $225.00
                                                                                Total                                                                                                   1     $225.00
                                                       3384      3158090        03/31/14       4387058        110211           120236 HYDROGEN, TUBE TRAILER                        20,635    $505.56
                                                                                                                               DELIVERY DELIVERY/FUEL                                   1     $995.20
                                                                                Total                                                                                               20,636   $1,500.76
                                                       3393      3161267        04/07/14       4387709        113473           123296 OXYGEN 18% BAL N2 EPA 152                         1     $225.00
                                                                                Total                                                                                                   1     $225.00
                                                       3402      3161268        04/07/14       4389838        114745           123683 170 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1     $225.00
                                                                                Total                                                                                                   1     $225.00
                                                       3411      3162456        04/09/14       4387966        114129           120162DS NITROGEN, LIQUID, BULK, PER CUBI..          87,244   $1,177.79
                                                                                Total                                                                                               87,244   $1,177.79
                                                       3420      3164077        04/14/14       4391721        115521           123776 82.5 PPM NITRIC OXIDE BAL N2 EPA 152..            1     $225.00
                                                                                Total                                                                                                   1     $225.00
                                                       3429      3164078        04/14/14       4393017        115716           123776 82.5 PPM NITRIC OXIDE BAL N2 EPA 152..            1     $225.00
                                                                                Total                                                                                                   1     $225.00
                                                       3438      3164079        04/14/14       4393787        116843           123737 NITRIC OXIDE 385PPM BAL N2 EPA SZ1..              1     $225.00
                                                                                Total                                                                                                   1     $225.00
                                                       3447      3164574        04/15/14       4391731        115696           120190 CARBON DIOXIDE, 050 LB                           16     $157.25
                                                                                Total
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and16         $157.25
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 23 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                04/15/14       4391731        115696         120190 CARBON DIOXIDE, 050 LB
 25138 LUMINANT GRAHAM SES                             3447      3164574        Total                                                                                                 16     $157.25
                                                       3456      3165725        04/17/14       4395074        117577          ATLH ATLAS H CONE & CHISEL CHIPPING HAM..                2      $14.81
                                                                                                                              LENLPG300 LENCO LPG-300 300 AMP GR. CLA..                2      $43.36
                                                                                                                              MARK300F TEMPILSTIK ONLY       300 F                     1       $8.73
                                                                                                                              MARK400F TEMPILSTIK ONLY       400 F                     1       $8.73
                                                                                                                              PROAEC45001 PROFAX AEC-4500-1 GOUGING ..                 1     $143.75
                                                                                                                              SHUR4501 4501 SPARK LIGHTER (EA)                         6      $14.87
                                                                                                                              VIC11101 1-1-101 CUT TIP                                 2      $18.72
                                                                                                                              VIC21101 2-1-101 CUTTING TIP                             2      $18.73
                                                                                Total                                                                                                 17     $271.70
                                                       3465      3165726        04/17/14       4395109        117680          SHUR5012X 5012X FLINTS (4/CARD)                          5       $9.25
                                                                                                                              SOW308L18X36 PINNACLE 308L 1/8X36 TIG RO..              10      $58.10
                                                                                Total                                                                                                 15      $67.35
                                                       3474      3165727        04/17/14       4396693                        LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                2      $26.80
                                                                                                                              TIL42M TILLMAN 42M GLOVE                                 6      $56.28
                                                                                                                              TIL42XL TILLMAN 42XL TIG GLOVE                           6      $56.28
                                                                                Total                                                                                                 14     $139.36
                                                       3483      3166755        04/21/14       4395074        117577          ESAB8018CM33210 ESAB 8018-CM 3/32 10 LB C..             10      $40.30
                                                                                                                              ESAB9018B333210 ATOM ARC 9018B3 3/32" EL..              10      $41.88
                                                                                                                              ESAB701833210 E-7018 3/32 10#HSC ATOM AR..              20      $63.78
                                                                                                                              HAR61035 HARRIS STAY-SILV 15 .050 X 1/8 X 20             1     $105.05
                                                                                                                              VIC41118 4-1-118 BENT GOUGING TIP                        1      $22.70
                                                                                Total                                                                                                 42     $273.71
                                                       3492      3166756        04/21/14       4395109        117680          HAR4060AC18X1 SOLDER 40/60 ACID 1LB X 1/8                1      $23.25
                                                                                                                              PRO9FV25R 9FV-25R TIG TORCH AND CABLE A..                1      $79.31
                                                                                                                              SHUR5012X 5012X FLINTS (4/CARD)                          1       $1.85
                                                                                Total                                                                                                  3     $104.41
                                                       3501      3166757        04/21/14       4396693                        CKW45V44 CK 2GL332 (45V44) GAS LENS FOR ..               5      $71.25
                                                                                                                              LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                2      $26.80
                                                                                                                              TIL42S TILLMAN 42S GLOVE                                 6      $56.28
                                                                                Total                                                                                                 13     $154.33
                                                       3510      3167260        04/22/14       4399239        113890          120236 HYDROGEN, TUBE TRAILER                        27,627    $676.86
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $995.20
                                                                                Total                                                                                              27,628   $1,672.06
                                                       3519      3169725        04/28/14       4399048        119420          123753 NITRIC OXIDE 275 PPM, BAL N2 EPA 152              1     $225.00
                                                                                Total                                                                                        1         $225.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 24 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                            Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                04/28/14       4399048        119420         123753 NITRIC OXIDE 275 PPM, BAL N2 EPA 152
 25138 LUMINANT GRAHAM SES                             3519      3169725        Total                                                                                                    1      $225.00
                                                       3528      3169726        04/28/14       4401852        117681          CKW45V44 CK 2GL332 (45V44) GAS LENS FOR ..                 0      ($60.00)
                                                                                Total                                                                                                    0      ($60.00)
                                                       3533      R756810        04/30/14       8756810        CREDC321SU      RNT1 Industrial LP : Acetylene : Large                     1       $28.80
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large               1       $38.40
                                                                                                                              RNT43 Industrial HP : Argon : Large                        1       $43.20
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                          1      $266.24
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                         1      $175.50
                                                                                                                              RNT92 Industrial HP : Helium : Medium                      1        $9.60
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                     1       $38.40
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                   1        $4.80
                                                                                                                              RNT175 Industrial HP : Nitrogen : Pallet-Pack              1      $369.60
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                     1       $43.20
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                      1       $72.00
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                        1       $31.20
                                                                                                                              RNT625 Vessel Tank : Nitrogen : 1500                       1      $450.00
                                                                                                                              RNT702 Other Assets : Pallets : With Rails                 1      $170.10
                                                                                                                              RNT716 Spec Gas : Methane Pure : 152sz                     1       $15.60
                                                                                                                              RNT730 Other Assets : Pallet Header : Pallt Hdr            1       $93.00
                                                                                                                              RNT882 Hydrogen Ground Storage Unit                        1      $615.00
                                                                                Total                                                                                                   17     $2,464.64
                                                       Total                                                                                                                        135,704   $13,259.20
 25144 LUMINANT STRYKER CREEK SES                      405       R750345        03/31/14       8750345        CREDC551SU      RNT1 Industrial LP : Acetylene : Large                     1       $54.56
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                    1       $24.80
                                                                                                                              RNT43 Industrial HP : Argon : Large                        1       $59.52
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                          1      $193.44
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                         1      $119.86
                                                                                                                              RNT84 Spec Gas : _Spec Mix : Medium                        1       $56.42
                                                                                                                              RNT98 Spec Gas : _LP Mix : 25 Gallon                       1        $8.06
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                     1       $29.76
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                      1      $109.12
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                   1       $72.54
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                        1        $8.06
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                    1       $44.98
                                                                                                                              RNT538 Spec Gas : Helium Pure : 152AL                      1       $24.18
                                                                                                                              RNT693 Spec Gas : _Spec Mix : 200              1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. $8.06
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 25 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT538 Spec Gas : Helium Pure : 152AL
 25144 LUMINANT STRYKER CREEK SES                      405       R750345        03/31/14       8750345        CREDC551SU     RNT693 Spec Gas : _Spec Mix : 200                         1       $8.06
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1      $25.11
                                                                                                                              RNT716 Spec Gas : Methane Pure : 152sz                   1      $16.12
                                                                                                                              RNT768 Other Assets : Tube Trailer : H2                  1    $1,950.00
                                                                                Total                                                                                                 17    $2,804.59
                                                       801       2975196        03/27/13       4188977        29462           DELIVERY DELIVERY/FUEL                                   1    ($658.99)
                                                                                Total                                                                                                  1    ($658.99)
                                                       2070      3153799        03/20/14       4351451        94282           120190 CARBON DIOXIDE, 050 LB                           34     $269.96
                                                                                Total                                                                                                 34     $269.96
                                                       2079      3153800        03/20/14       4380513        109907          121026 NITROGEN, ZERO AMBIENT, SIZE 152                  1      $92.00
                                                                                Total                                                                                                  1      $92.00
                                                       2088      3153801        03/20/14       4380516        109910          123448 110 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1     $225.00
                                                                                                                              123628 NITRIC OXIDE 27PPM, N2 EPA SZ 152                 1     $225.00
                                                                                                                              123753 NITRIC OXIDE 275 PPM, BAL N2 EPA 152              1     $225.00
                                                                                Total                                                                                                  3     $675.00
                                                       2097      3153802        03/20/14       4380520        109908          123296 OXYGEN 18% BAL N2 EPA 152                         1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       2106      3154428        03/21/14       4373126        106668          123628 NITRIC OXIDE 27PPM, N2 EPA SZ 152                 1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       2115      3158091        03/31/14       4383177        111460          121026 NITROGEN, ZERO AMBIENT, SIZE 152                  1      $92.00
                                                                                Total                                                                                                  1      $92.00
                                                       2124      3160080        04/03/14       4369631        104706          123296 OXYGEN 18% BAL N2 EPA 152                         1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       2133      3165729        04/17/14       4393272        116547          123296 OXYGEN 18% BAL N2 EPA 152                         1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       2142      3166296        04/18/14       4397588        106329          120236 HYDROGEN, TUBE TRAILER                       113,575   $2,782.59
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $692.80
                                                                                Total                                                                                             113,576   $3,475.39
                                                       2151      3167855        04/23/14       4394790        117433          120190 CARBON DIOXIDE, 050 LB                           40     $317.60
                                                                                Total                                                                                                 40     $317.60
                                                       2160      3169151        04/25/14       4400706        120326          LEW3600HTP LEWCO 36"X50LY 36OZ HIGH TE..                 7    $4,790.66
                                                                                Total                                                                                                  7    $4,790.66
                                                       2169      3169152        04/25/14       4401031        120536          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                2      $26.80
                                                                                                                              LENLC40F LENCO LC-40 CABLE CONNECT,FEM..                 4      $27.72
                                                                                                                              LENLC40M LENCO 2-LC-40 BLK MALE 05053                    4      $27.72
                                                                                Total
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and10
                                                                                                                                                                             Filter Zero.$82.24
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 26 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                04/25/14       4401031        120536         LENLC40M LENCO 2-LC-40 BLK MALE 05053
 25144 LUMINANT STRYKER CREEK SES                      2169      3169152        Total                                                                                                 10       $82.24
                                                       2178      3169153        04/25/14       4401038        120568          120111 OXYGEN, 307 CF                                   10       $70.20
                                                                                                                              120164 ARGON, 336 CF                                    10      $226.80
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            4      $408.96
                                                                                Total                                                                                                 24      $705.96
                                                       2187      3169727        04/28/14       4399345        119594          121026 NITROGEN, ZERO AMBIENT, SIZE 152                  1       $92.00
                                                                                Total                                                                                                  1       $92.00
                                                       2192      R756811        04/30/14       8756811        CREDC551SU      RNT1 Industrial LP : Acetylene : Large                   1       $52.00
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1       $24.00
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1        $3.84
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $61.44
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1      $200.00
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $113.62
                                                                                                                              RNT84 Spec Gas : _Spec Mix : Medium                      1       $54.60
                                                                                                                              RNT98 Spec Gas : _LP Mix : 25 Gallon                     1        $7.80
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1       $28.80
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1      $105.60
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1       $70.20
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1        $7.80
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                  1       $48.62
                                                                                                                              RNT538 Spec Gas : Helium Pure : 152AL                    1       $19.76
                                                                                                                              RNT693 Spec Gas : _Spec Mix : 200                        1        $7.80
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1       $24.30
                                                                                                                              RNT716 Spec Gas : Methane Pure : 152sz                   1       $15.60
                                                                                                                              RNT768 Other Assets : Tube Trailer : H2                  1     $1,950.00
                                                                                Total                                                                                                 18     $2,795.78
                                                       Total                                                                                                                      113,737   $16,434.19
 25419 LUMINANT BECKVILLE MINE                         567       R750363        03/31/14       8750363        CREDC032SU      RNT1 Industrial LP : Acetylene : Large                   1        $4.96
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1       $34.72
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1      $198.40
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1        $9.92
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $54.56
                                                                                                                              RNT89 Spec Gas : _Spec Mix : Lecture Bottle              1       $24.18
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1       $19.84
                                                                                                                              RNT124 Industrial LP : HPG : 440 lb                      1       $38.75
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large         1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$54.56
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 27 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT124 Industrial LP : HPG : 440 lb
 25419 LUMINANT BECKVILLE MINE                         567       R750363        03/31/14       8750363        CREDC032SU     RNT163 Industrial Mix : RBO 75 : Large                    1      $54.56
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1      $54.56
                                                                                                                              RNT175 Industrial HP : Nitrogen : Pallet-Pack            1     $190.96
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1     $491.70
                                                                                                                              RNT201 Industrial HP : Oxygen : Small                    1      $34.72
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $99.20
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1     $292.64
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1      $95.48
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1     $104.16
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1       $9.92
                                                                                                                              RNT477 Industrial LP : Acetylene : R70                   1       $9.92
                                                                                                                              RNT516 Industrial Mix : RBO 75 : R-80                    1       $4.96
                                                                                                                              RNT689 Industrial Mix : 101 : Large                      1      $34.72
                                                                                                                              RNT725 Industrial Mix : RBO-102 : Pallet Pack            1     $286.44
                                                                                                                              RNT726 Liquids : Nitrogen : XL-240                       1     $136.95
                                                                                Total                                                                                                 23    $2,286.22
                                                       4203      3152546        03/18/14       4375516        107930          VICCA2460 CA 2460 CUTTING ATTACHMENT W/..                3     $572.70
                                                                                Total                                                                                                  3     $572.70
                                                       4212      3152547        03/18/14       4375887        107930          VICCA2460 CA 2460 CUTTING ATTACHMENT W/..                6    $1,145.40
                                                                                Total                                                                                                  6    $1,145.40
                                                       4221      3152548        03/18/14       4376054        108158          VICVTS460A510 VTS 460A-510 REGULATOR                     1     $301.88
                                                                                Total                                                                                                  1     $301.88
                                                       4230      3152549        03/18/14       4376734        108455          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                   13      $50.44
                                                                                                                              LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    5      $20.63
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4      $16.50
                                                                                Total                                                                                                 22      $87.57
                                                       4239      3152550        03/18/14       4377447        108795          LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                   16      $66.00
                                                                                Total                                                                                                 16      $66.00
                                                       4248      3152551        03/18/14       4377646        108932          120111 OXYGEN, 307 CF                                    1       $7.02
                                                                                                                              120115 OXYGEN, 251 CF                                    1       $6.48
                                                                                                                              120159 NITROGEN, LIQUID #55                              4     $218.40
                                                                                Total                                                                                                  6     $231.90
                                                       4257      3152552        03/18/14       4378898        109441          FM906 FM 906 HELMET                                      3     $134.34
                                                                                                                              FMP2QRWW FM P-2QRW CAP W/ QUIK-LOK *W..                  2      $57.00
                                                                                                                              SHUR4501 4501 SPARK LIGHTER (EA)                        10      $24.79
                                                                                Total
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and15         $216.13
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 28 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                             Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                03/18/14       4378898        109441         SHUR4501 4501 SPARK LIGHTER (EA)
 25419 LUMINANT BECKVILLE MINE                         4257      3152552        Total                                                                                                    15       $216.13
                                                       4266      3155651        03/25/14       4375901        108086          NEL101010183 ** 100/BX ** 1/2" X 1 1/2" THREAD..            6        $94.50
                                                                                Total                                                                                                     6        $94.50
                                                       4275      3155652        03/25/14       4379752        109847          WES9940P HOSE BRACE 1/4"                                    3         $1.55
                                                                                Total                                                                                                     3         $1.55
                                                       4284      3155653        03/25/14       4380354        110127          ZZNHMIL224368 MILLER 224368 COOLANT                         1        $48.75
                                                                                                                              ZZNHMIL229080 MILLER 229080 LABEL COOLA..                   1         $2.78
                                                                                Total                                                                                                     2        $51.53
                                                       4293      3155654        03/25/14       4380563        110247          PETER1GPF PETERSON #1 GENERAL PURPOS..                      1        $12.69
                                                                                                                              PRO17S52 PROFAX 17S52 STD RECESSED TIP ..                  26        $25.74
                                                                                                                              PRO57HD PROFAX 57HD GAS DIFFUSER                            2         $9.96
                                                                                                                              VIC10MFA 10 MFA HEATING NOZZLE                              2       $200.10
                                                                                                                              VIC14070177 VICTOR 1407-0177 O-RING                         4         $6.45
                                                                                Total                                                                                                    35       $254.94
                                                       4311      3155656        03/25/14       4381354        110616          CAB4BL NEOPRENE #4 BLACK WELDING CABLE                    500     $8,625.00
                                                                                                                              STAFR14 STANCO FR-14 BIB                                    3        $12.12
                                                                                                                              STAFR601XXXL STANCO FR-601 CAPE W/COLL..                    1        $17.25
                                                                                Total                                                                                                   504     $8,654.37
                                                       4320      3155656        04/21/14                                                                                                  1    ($8,106.25)
                                                                                Total                                                                                                     1    ($8,106.25)
                                                       4329      3155657        03/25/14       4382844        111315          FM6001 6001 HELMET KIT                                      3        $24.00
                                                                                Total                                                                                                     3        $24.00
                                                       4338      3155658        03/25/14       4382867        107932          REPAIR-T&G APPARATUS REPAIR (S)                             2       $217.20
                                                                                Total                                                                                                     2       $217.20
                                                       4347      3155659        03/25/14       4383617        111768          VIC01101 0-1-101 CUTTING TIP                                5        $46.80
                                                                                                                              VIC21101 2-1-101 CUTTING TIP                                4        $37.44
                                                                                                                              VIC41118 4-1-118 BENT GOUGING TIP                           3        $68.10
                                                                                Total                                                                                                    12       $152.34
                                                       4356      3158093        03/31/14       4377691        100136          DELABOR LABOR ON REPAIR                                     5       $525.00
                                                                                                                              SWENGINEREPAIR ENGINE REPAIR                                1       $750.00
                                                                                                                              ZZDEMIL141346 SHUT DOWN KIT                                 1       $234.56
                                                                                Total                                                                                                     7     $1,509.56
                                                       4365      3158094        03/31/14       4382855        111406          FM3C FM 3-C HEADGEAR                                        2        $30.38
                                                                                Total                                                                                                     2        $30.38
                                                       4374      3158095        03/31/14       4384131        110247          TIL3280L TILLMAN (3280) 30" LEATHER JACKET ..               1        $54.15
                                                                                Total                                                                                        1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$54.15
                                                                                                                                                                                          The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 29 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                03/31/14       4384131        110247         TIL3280L TILLMAN (3280) 30" LEATHER JACKET ..
 25419 LUMINANT BECKVILLE MINE                         4374      3158095        Total                                                                                                  1      $54.15
                                                       4383      3158096        03/31/14       4384380        112140          HOB335A1810 HOBART 335A (6011) 1/8 10 LB P..            40      $90.80
                                                                                Total                                                                                                 40      $90.80
                                                       4392      3158097        03/31/14       4385134        112477          TUE694180 TUE694180 ARCAIR 42-049-002 COA..              9     $634.59
                                                                                Total                                                                                                  9     $634.59
                                                       4401      3158098        03/31/14       4385377        112600          120111 OXYGEN, 307 CF                                    1       $7.02
                                                                                                                              120115 OXYGEN, 251 CF                                    2      $12.96
                                                                                Total                                                                                                  3      $19.98
                                                       4410      3158099        03/31/14       4385837        112831          FMP2QRWW FM P-2QRW CAP W/ QUIK-LOK *W..                  2      $57.00
                                                                                                                              WYP1 WYPO #1 STANDARD TIP CLEANER                        5       $8.95
                                                                                Total                                                                                                  7      $65.95
                                                       4428      3161908        04/08/14       4380354        110127          ZZNHMIL225447 MILLER 225447 HOSE COOLAN..                1       $7.75
                                                                                Total                                                                                                  1       $7.75
                                                       4437      3161909        04/08/14       4388385        113997          ESAB701833210 E-7018 3/32 10#HSC ATOM AR..              60     $191.34
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4      $16.50
                                                                                Total                                                                                                 64     $207.84
                                                       4446      3161910        04/08/14       4389193        114383          LEW1800HTP LEWCO 18 OZ SILICA BLANKET                    3    $1,481.25
                                                                                Total                                                                                                  3    $1,481.25
                                                       4455      3164575        04/15/14       4391578        114718          FM906 FM 906 HELMET                                      3     $134.34
                                                                                Total                                                                                                  3     $134.34
                                                       4464      3164576        04/15/14       4391599        115100          FLATSH SOAPSTONE HOLDER -FLAT                            5       $4.63
                                                                                Total                                                                                                  5       $4.63
                                                       4473      3164577        04/15/14       4393260        116574          100129 RBO-102 10% HE,15% CO2,AR PALLET P..              1     $550.00
                                                                                                                              120111 OXYGEN, 307 CF                                    5      $35.10
                                                                                                                              120119 OXYGEN, 125 CF                                    2      $11.88
                                                                                                                              120146 NITROGEN, 230 CF                                  1       $7.02
                                                                                                                              120159 NITROGEN, LIQUID #55                              4     $218.40
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            2     $204.48
                                                                                Total                                                                                                 15    $1,026.88
                                                       4482      3164578        04/15/14       4393513        116770          LEW1800HTP LEWCO 18 OZ SILICA BLANKET                    1     $493.75
                                                                                Total                                                                                                  1     $493.75
                                                       4491      3164579        04/15/14       4393732        116904          ZZNHH2RHH40532 H2 REPAIR ALLOY HH40 5/3..               80     $537.60
                                                                                Total                                                                                                 80     $537.60
                                                       4500      3164580        04/15/14       4394778        117195          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    5      $20.63
                                                                                Total                                                                                                  5      $20.63
                                                                                04/15/14       4395072        117527          120174 NITROGEN, LIQUID XL-240 5,811 CF        2         $136.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 30 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       4500      3164580        Total
 25419 LUMINANT BECKVILLE MINE                         4509      3164581        04/15/14       4395072        117527          120174 NITROGEN, LIQUID XL-240 5,811 CF                  2     $136.00
                                                                                Total                                                                                                  2     $136.00
                                                       4518      3167858        04/23/14       4395090        117627          LEW1800HTP LEWCO 18 OZ SILICA BLANKET                    2     $987.50
                                                                                                                              TUE464290 FLAME TECH 3/8 X 12 CARBONS                   11     $169.19
                                                                                Total                                                                                                 13    $1,156.69
                                                       4527      3167859        04/23/14       4396801        118540          120111 OXYGEN, 307 CF                                    4      $28.08
                                                                                                                              120115 OXYGEN, 251 CF                                    1       $6.48
                                                                                                                              120121 OXYGEN, 080 CF                                    3      $17.82
                                                                                Total                                                                                                  8      $52.38
                                                       4536      3167860        04/23/14       4397921        118896          VIC315FC VICTOR 315FC TORCH HANDLE (VAN..                3     $481.29
                                                                                Total                                                                                                  3     $481.29
                                                       4545      3167861        04/23/14       4398513        119235          FM6001 6001 HELMET KIT                                   3      $24.00
                                                                                                                              FMP2QRWW FM P-2QRW CAP W/ QUIK-LOK *W..                  2      $57.00
                                                                                                                              STAFR601XXXL STANCO FR-601 CAPE W/COLL..                 1      $17.25
                                                                                Total                                                                                                  6      $98.25
                                                       4550      R756829        04/30/14       8756829        CREDC032SU      RNT1 Industrial LP : Acetylene : Large                   1       $4.80
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1      $33.60
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1     $192.00
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $9.60
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1      $52.80
                                                                                                                              RNT89 Spec Gas : _Spec Mix : Lecture Bottle              1      $23.40
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1      $19.20
                                                                                                                              RNT124 Industrial LP : HPG : 440 lb                      1      $37.50
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $52.80
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1      $52.80
                                                                                                                              RNT175 Industrial HP : Nitrogen : Pallet-Pack            1     $184.80
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1     $445.50
                                                                                                                              RNT201 Industrial HP : Oxygen : Small                    1      $33.60
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $96.00
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1     $283.20
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1      $92.40
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1     $100.80
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1       $9.60
                                                                                                                              RNT477 Industrial LP : Acetylene : R70                   1       $9.60
                                                                                                                              RNT516 Industrial Mix : RBO 75 : R-80                    1       $4.80
                                                                                                                              RNT689 Industrial Mix : 101 : Large            1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$33.60
                                                                                                                                                                                          The
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                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15             Page 31 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                             Number                                      Number
                                                                                                                        RNT516 Industrial Mix : RBO 75 : R-80
 25419 LUMINANT BECKVILLE MINE                      4550     R756829       04/30/14       8756829        CREDC032SU     RNT689 Industrial Mix : 101 : Large                       1       $33.60
                                                                                                                         RNT725 Industrial Mix : RBO-102 : Pallet Pack            1      $277.20
                                                                                                                         RNT726 Liquids : Nitrogen : XL-240                       1      $123.75
                                                                           Total                                                                                                 23     $2,173.35
                                                    Total                                                                                                                       961    $16,670.02
 25420 LUMINANT TATUM MINE                          441      R750364       03/31/14       8750364        CREDC034SU      RNT1 Industrial LP : Acetylene : Large                   1       $39.68
                                                                                                                         RNT4 Industrial LP : Acetylene : Extra Large             1       $74.40
                                                                                                                         RNT43 Industrial HP : Argon : Large                      1       $14.88
                                                                                                                         RNT71 Industrial HP : CO2 : 50 lb                        1       $59.52
                                                                                                                         RNT92 Industrial HP : Helium : Medium                    1       $24.80
                                                                                                                         RNT163 Industrial Mix : RBO 75 : Large                   1        $4.96
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium                 1       $14.88
                                                                                                                         RNT182 Liquids : Nitrogen : 5500                         1      $148.50
                                                                                                                         RNT202 Industrial HP : Oxygen : Medium                   1        $4.96
                                                                                                                         RNT203 Industrial HP : Oxygen : Large                    1      $128.96
                                                                                                                         RNT260 Industrial LP : Propane : 5 Gallon                1       $14.88
                                                                                                                         RNT262 Industrial LP : Propane : 10 Gallon               1       $49.60
                                                                                                                         RNT477 Industrial LP : Acetylene : R70                   1       $14.88
                                                                                                                         RNT512 Industrial HP : Oxygen : R-80                     1       $19.84
                                                                                                                         RNT516 Industrial Mix : RBO 75 : R-80                    1        $4.96
                                                                                                                         RNT702 Other Assets : Pallets : With Rails               1       $25.11
                                                                           Total                                                                                                 16      $644.81
                                                    2439     3152553       03/18/14       4372134        106241          ZZMVBUGARM2015 BUG-O ARM2015 SPACER B..                  2      $149.34
                                                                                                                         ZZMVBUGOARM2010 BUG-O ARM2010 MAGNET                     2      $420.80
                                                                           Total                                                                                                  4      $570.14
                                                    2448     3152554       03/18/14       4378175        109163          120159 NITROGEN, LIQUID #55                              2      $109.20
                                                                           Total                                                                                                  2      $109.20
                                                    2457     3152556       03/18/14       4379753        109858          TUE694180 TUE694180 ARCAIR 42-049-002 COA..              4      $282.04
                                                                           Total                                                                                                  4      $282.04
                                                    2466     3155660       03/25/14       4381360        110624          LEN05171 LENCO 05171 LC-40HD MALE W/ FIB..              10       $99.30
                                                                           Total                                                                                                 10       $99.30
                                                    2475     3155661       03/25/14       4382845        111324          FM906 FM 906 HELMET                                      1       $44.78
                                                                           Total                                                                                                  1       $44.78
                                                    2484     3155662       03/25/14       4383619        111775          FMP2QRWW FM P-2QRW CAP W/ QUIK-LOK *W..                  1       $28.50
                                                                                                                         VIC315FC VICTOR 315FC TORCH HANDLE (VAN..                2      $320.86
                                                                           Total                                                                                             3         $349.36
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 32 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                03/25/14       4383619        111775         VIC315FC VICTOR 315FC TORCH HANDLE (VAN..
 25420 LUMINANT TATUM MINE                             2484      3155662        Total                                                                                                  3     $349.36
                                                       2493      3159019        04/01/14       4385841        112835          TWEGC600DBP TWECO GC-600-DBP GROUND ..                   1      $69.58
                                                                                Total                                                                                                  1      $69.58
                                                       2502      3159020        04/01/14       4386608        113189          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    4      $15.52
                                                                                                                              LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                    4      $15.52
                                                                                                                              VIC315FC VICTOR 315FC TORCH HANDLE (VAN..                1     $160.43
                                                                                Total                                                                                                  9     $191.47
                                                       2511      3161911        04/08/14       4385841        112835          LEN05175 LENCO 05175 LC-40HD FEMALE W/FI..              10      $99.30
                                                                                Total                                                                                                 10      $99.30
                                                       2520      3161912        04/08/14       4387646        113635          ATLH ATLAS H CONE & CHISEL CHIPPING HAM..                5      $37.02
                                                                                                                              TUE110326BX ARCAIR 3/8 X 12 (BOX 50 EA)                  4      $54.25
                                                                                Total                                                                                                  9      $91.27
                                                       2529      3161913        04/08/14       4388758        114165          120111 OXYGEN, 307 CF                                    1       $7.02
                                                                                                                              120159 NITROGEN, LIQUID #55                              1      $54.60
                                                                                Total                                                                                                  2      $61.62
                                                       2538      3164582        04/15/14       4393514        116776          LEW1800HTP LEWCO 18 OZ SILICA BLANKET                    1     $493.75
                                                                                Total                                                                                                  1     $493.75
                                                       2547      3164583        04/15/14       4394777        117129          ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..             130     $386.49
                                                                                Total                                                                                                130     $386.49
                                                       2556      3165732        04/17/14       4396048        118137          120159 NITROGEN, LIQUID #55                              2     $109.20
                                                                                Total                                                                                                  2     $109.20
                                                       2565      3167862        04/23/14       4395092        117635          ESAB701853210 E-7018 5/32 10#HSC ATOM AR..             220     $644.38
                                                                                                                              SHUR4501 4501 SPARK LIGHTER (EA)                         4       $9.92
                                                                                Total                                                                                                224     $654.30
                                                       2574      3167863        04/23/14       4397836        108233          DELABOR LABOR ON REPAIR                                  4     $420.00
                                                                                                                              SWENGINEREPAIR ENGINE REPAIR                             1     $175.00
                                                                                Total                                                                                                  5     $595.00
                                                       2583      3167864        04/23/14       4397918        118949          120159 NITROGEN, LIQUID #55                              2     $109.20
                                                                                Total                                                                                                  2     $109.20
                                                       2592      3167865        04/23/14       4398515        119244          LIN70183325 3/32X14 LINCOLN½ 7018 5TB(20CT)             10      $19.25
                                                                                Total                                                                                                 10      $19.25
                                                       2601      9033616        08/21/13                                                                                               1    ($834.79)
                                                                                Total                                                                                                  1    ($834.79)
                                                       2606      R756830        04/30/14       8756830        CREDC034SU      RNT1 Industrial LP : Acetylene : Large                   1      $38.40
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1      $72.00
                                                                                                                              RNT43 Industrial HP : Argon : Large            1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$14.40
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15             Page 33 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                           Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT4 Industrial LP : Acetylene : Extra Large
 25420 LUMINANT TATUM MINE                             2606      R756830        04/30/14       8756830        CREDC034SU     RNT43 Industrial HP : Argon : Large                        1      $14.40
                                                                                                                               RNT71 Industrial HP : CO2 : 50 lb                        1      $57.60
                                                                                                                               RNT92 Industrial HP : Helium : Medium                    1      $24.00
                                                                                                                               RNT163 Industrial Mix : RBO 75 : Large                   1       $4.80
                                                                                                                               RNT172 Industrial HP : Nitrogen : Medium                 1      $14.40
                                                                                                                               RNT182 Liquids : Nitrogen : 5500                         1     $168.30
                                                                                                                               RNT202 Industrial HP : Oxygen : Medium                   1       $4.80
                                                                                                                               RNT203 Industrial HP : Oxygen : Large                    1     $124.80
                                                                                                                               RNT260 Industrial LP : Propane : 5 Gallon                1      $14.40
                                                                                                                               RNT262 Industrial LP : Propane : 10 Gallon               1      $48.00
                                                                                                                               RNT477 Industrial LP : Acetylene : R70                   1      $14.40
                                                                                                                               RNT512 Industrial HP : Oxygen : R-80                     1      $19.20
                                                                                                                               RNT516 Industrial Mix : RBO 75 : R-80                    1       $4.80
                                                                                                                               RNT702 Other Assets : Pallets : With Rails               1      $24.30
                                                                                Total                                                                                                  16     $648.60
                                                       Total                                                                                                                          462    $4,793.87
 25421 LUMINANT OAK HILL MINE                          486       R750365        03/31/14       8750365                         RNT1 Industrial LP : Acetylene : Large                   1       $9.92
                                                                                                                               RNT4 Industrial LP : Acetylene : Extra Large             1      $49.60
                                                                                                                               RNT43 Industrial HP : Argon : Large                      1      $14.88
                                                                                                                               RNT71 Industrial HP : CO2 : 50 lb                        1     $133.44
                                                                                                                               RNT92 Industrial HP : Helium : Medium                    1      $24.80
                                                                                                                               RNT121 Industrial LP : HPG : 27 lb                       1       $9.92
                                                                                                                               RNT122 Industrial LP : HPG : 63 lb                       1      $74.40
                                                                                                                               RNT163 Industrial Mix : RBO 75 : Large                   1      $24.80
                                                                                                                               RNT172 Industrial HP : Nitrogen : Medium                 1      $69.44
                                                                                                                               RNT182 Liquids : Nitrogen : 5500                         1     $217.80
                                                                                                                               RNT202 Industrial HP : Oxygen : Medium                   1     $272.80
                                                                                                                               RNT260 Industrial LP : Propane : 5 Gallon                1      $34.72
                                                                                                                               RNT475 Industrial LP : Acetylene : MC                    1       $4.96
                                                                                                                               RNT509 Industrial HP : Oxygen : R-20                     1       $4.96
                                                                                                                               RNT516 Industrial Mix : RBO 75 : R-80                    1       $4.96
                                                                                                                               RNT771 Other Assets : Balloon Filler : Filler            1      $21.08
                                                                                Total                                                                                                  16     $972.48
                                                       3105      3083804        09/30/13       4292193                         120115 OXYGEN, 251 CF                                    6      $38.88
                                                                                                                               120146 NITROGEN, 230 CF                                  1       $7.02
                                                                                                                               120159 NITROGEN, LIQUID #55                   7         $382.20
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 34 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty   Amount
                                                                 Number                                       Number
                                                                                                                             120146 NITROGEN, 230 CF
 25421 LUMINANT OAK HILL MINE                          3105      3083804        09/30/13       4292193                        120159 NITROGEN, LIQUID #55                              7    $382.20
                                                                                                                              120167 RBO-75 R80                                        1     $16.20
                                                                                                                              120190 CARBON DIOXIDE, 050 LB                            2     $15.88
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $36.00
                                                                                Total                                                                                                 18    $496.18
                                                       3546      3144599        02/27/14       4361933        99755           LAPC738 LAPCO LAP-C 7 3/8 WELDERS CAP                    3     $12.38
                                                                                Total                                                                                                  3     $12.38
                                                       3717      3152557        03/18/14       4354303        95730           LEWRG61024X25 HI-TEMP 300X24X1*DENSITY ..                3    $281.25
                                                                                Total                                                                                                  3    $281.25
                                                       3726      3152558        03/18/14       4372987        106647          123300 PROPYLENE GAS 27LB                                1    $117.49
                                                                                Total                                                                                                  1    $117.49
                                                       3735      3152558        04/21/14                                                                                               1    ($58.49)
                                                                                Total                                                                                                  1    ($58.49)
                                                       3744      3152559        03/18/14       4377449        108802          TUE694180 TUE694180 ARCAIR 42-049-002 COA..             11    $775.61
                                                                                Total                                                                                                 11    $775.61
                                                       3753      3152560        03/18/14       4377806        108997          120115 OXYGEN, 251 CF                                    2     $12.96
                                                                                                                              120190 CARBON DIOXIDE, 050 LB                            1      $7.94
                                                                                Total                                                                                                  3     $20.90
                                                       3762      3152561        03/18/14       4378119        109060          ARCS24010 ARC ONE RETRO-FIT FILTER SHAD..                2    $182.58
                                                                                Total                                                                                                  2    $182.58
                                                       3771      3152562        03/18/14       4378130        109131          ESAB70181810 E7018 1/8 10#HSC ATOM ARC E..             140    $416.22
                                                                                                                              LAPC7 LAPCO LAP-C 7 WELDERS CAP                          3     $12.38
                                                                                Total                                                                                                143    $428.60
                                                       3780      3152563        03/18/14       4378185        109178          WEL2X414GMAG200 2X4-1/4 GLASS MAGNIFIE..                 1      $4.27
                                                                                Total                                                                                                  1      $4.27
                                                       3789      3152564        03/18/14       4379754        109865          LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    3     $12.38
                                                                                Total                                                                                                  3     $12.38
                                                       3807      3155663        03/25/14       4377449        108802          KOIZOSP1 KOIKE ZOSP 1 #1 SOCKET & #18 PL..               4     $78.00
                                                                                Total                                                                                                  4     $78.00
                                                       3816      3155664        03/25/14       4378119        109060          ZZNHLUFW606PD LUFKIN W606PD TAPE REPL..                  2     $27.08
                                                                                Total                                                                                                  2     $27.08
                                                       3825      3155665        03/25/14       4380970        110363          120115 OXYGEN, 251 CF                                    3     $19.44
                                                                                                                              120159 NITROGEN, LIQUID #55                              2    $109.20
                                                                                Total                                                                                                  5    $128.64
                                                       3834      3155666        03/25/14       4382850        111410          LAPC7 LAPCO LAP-C 7 WELDERS CAP                          3     $12.38
                                                                                Total                                                                                        3
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$12.38
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 35 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                             Shipped Qty   Amount
                                                                 Number                                       Number
                                                                                03/25/14       4382850        111410         LAPC7 LAPCO LAP-C 7 WELDERS CAP
 25421 LUMINANT OAK HILL MINE                          3834      3155666        Total                                                                                                     3     $12.38
                                                       3843      3159021        04/01/14       4385088        112525          120121 OXYGEN, 080 CF                                       1      $5.94
                                                                                                                              120159 NITROGEN, LIQUID #55                                 1     $54.60
                                                                                                                              120190 CARBON DIOXIDE, 050 LB                               2     $15.88
                                                                                                                              123400 PROPYLENE GAS 63LB                                   1     $80.00
                                                                                Total                                                                                                     5    $156.42
                                                       3852      3161914        04/08/14       4387642        113633          HAR4060RE18X1 HARRIS 40/60 RESIN CORE S..                   6    $139.50
                                                                                Total                                                                                                     6    $139.50
                                                       3861      3161915        04/08/14       4388381        114038          120115 OXYGEN, 251 CF                                       2     $12.96
                                                                                                                              120159 NITROGEN, LIQUID #55                                 2    $109.20
                                                                                                                              120190 CARBON DIOXIDE, 050 LB                               2     $15.88
                                                                                                                              120328 PROPANE, 005 GALLON                                  3     $45.00
                                                                                Total                                                                                                     9    $183.04
                                                       3870      3161916        04/08/14       4388389        114004          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                       5     $19.40
                                                                                Total                                                                                                     5     $19.40
                                                       3888      3164584        04/15/14       4391371        109060          CURVDIAL CURV 0722-0000 DIAL & LEVEL COM..                  2     $51.44
                                                                                Total                                                                                                     2     $51.44
                                                       3897      3164585        04/15/14       4391579        114727          NEL101010183 ** 100/BX ** 1/2" X 1 1/2" THREAD..            6     $94.50
                                                                                                                              TWEGC600DBP TWECO GC-600-DBP GROUND ..                      9    $626.18
                                                                                Total                                                                                                    15    $720.68
                                                       3906      3164586        04/15/14       4391616        115492          HOB335A1810 HOBART 335A (6011) 1/8 10 LB P..               30     $68.10
                                                                                                                              TUE694180 TUE694180 ARCAIR 42-049-002 COA..                11    $775.61
                                                                                Total                                                                                                    41    $843.71
                                                       3915      3164587        04/15/14       4392243        116028          LEN05175 LENCO 05175 LC-40HD FEMALE W/FI..                 10     $99.30
                                                                                                                              OCC870B10015 OCCUNOMIX 870B100-15 TERR..                    9     $15.91
                                                                                                                              VIC0GPN 0-GPN NG CUTTING TIP                                2     $25.95
                                                                                                                              WES7 WE #7 NUT, OXYGEN                                     16      $6.05
                                                                                                                              WES8 WE #8 NUT, ACETYLENE                                  16      $6.05
                                                                                                                              WES17 WE #17 NIPPLE, HOSE BAR                              14      $5.29
                                                                                                                              WYP1 WYPO #1 STANDARD TIP CLEANER                           6     $10.74
                                                                                Total                                                                                                    73    $169.29
                                                       3924      3164588        04/15/14       4392889        116418          FLATSH SOAPSTONE HOLDER -FLAT                               2      $1.85
                                                                                Total                                                                                                     2      $1.85
                                                       3933      3164589        04/15/14       4393569        116836          120159 NITROGEN, LIQUID #55                                 2    $109.20
                                                                                Total                                                                                                     2    $109.20
                                                                                                                              KOIZOSP2 KOIKE ZOSP 2 #2 SOCKET & #19 PL..     4
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$78.00
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15            Page 36 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                         Shipped Qty    Amount
                                                             Number                                      Number
                                                    3933     3164589       Total
 25421 LUMINANT OAK HILL MINE                       3942     3167866       04/23/14       4392243        116028         KOIZOSP2 KOIKE ZOSP 2 #2 SOCKET & #19 PL..               4       $78.00
                                                                                                                        LEN05175 LENCO 05175 LC-40HD FEMALE W/FI..              10       $99.30
                                                                           Total                                                                                                14      $177.30
                                                    3951     3167867       04/23/14       4394775        117133         VIC1GPN 1-GPN NG CUTTING TIP                             2       $25.95
                                                                                                                        VIC3GPN 3-GPN NG CUTTING TIP                             2       $25.95
                                                                                                                        VIC4GPN 4-GPN NG CUTTING TIP                             2       $25.95
                                                                           Total                                                                                                 6       $77.85
                                                    3960     3167868       04/23/14       4395094        117643         LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                    5       $20.63
                                                                                                                        TUE110326BX ARCAIR 3/8 X 12 (BOX 50 EA)                 10      $135.63
                                                                           Total                                                                                                15      $156.26
                                                    3969     3167869       04/23/14       4396155        118185         PRO27T38 PROFAX 27T38 NOZZLE 3/8"                        4       $24.20
                                                                           Total                                                                                                 4       $24.20
                                                    3978     3167870       04/23/14       4396889        118579         120115 OXYGEN, 251 CF                                    2       $12.96
                                                                                                                        120159 NITROGEN, LIQUID #55                              1       $54.60
                                                                                                                        120190 CARBON DIOXIDE, 050 LB                            2       $15.88
                                                                           Total                                                                                                 5       $83.44
                                                    3987     3167871       04/23/14       4397242        118697         SHUR4501 4501 SPARK LIGHTER (EA)                         4        $9.92
                                                                           Total                                                                                                 4        $9.92
                                                    3992     R756831       04/30/14       8756831                       RNT1 Industrial LP : Acetylene : Large                   1        $9.60
                                                                                                                        RNT4 Industrial LP : Acetylene : Extra Large             1       $48.00
                                                                                                                        RNT43 Industrial HP : Argon : Large                      1       $14.40
                                                                                                                        RNT71 Industrial HP : CO2 : 50 lb                        1      $133.28
                                                                                                                        RNT92 Industrial HP : Helium : Medium                    1       $24.00
                                                                                                                        RNT121 Industrial LP : HPG : 27 lb                       1        $9.60
                                                                                                                        RNT122 Industrial LP : HPG : 63 lb                       1       $72.00
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                   1       $24.00
                                                                                                                        RNT172 Industrial HP : Nitrogen : Medium                 1       $67.20
                                                                                                                        RNT182 Liquids : Nitrogen : 5500                         1      $198.00
                                                                                                                        RNT202 Industrial HP : Oxygen : Medium                   1      $260.48
                                                                                                                        RNT260 Industrial LP : Propane : 5 Gallon                1       $33.60
                                                                                                                        RNT475 Industrial LP : Acetylene : MC                    1        $4.80
                                                                                                                        RNT509 Industrial HP : Oxygen : R-20                     1        $4.80
                                                                                                                        RNT516 Industrial Mix : RBO 75 : R-80                    1        $4.80
                                                                                                                        RNT771 Other Assets : Balloon Filler : Filler            1       $20.40
                                                                           Total                                                                                                16      $928.96
                                                    Total                                                                                                                   443       $7,344.19
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and  Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 37 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       3992      R756831        Total
 25421 LUMINANT OAK HILL MINE                          Total                                                                                                                         443    $7,344.19
 25424 LUMINANT WINFIELD MINE                          261       R743712        02/28/14       8743712                        RNT182 Liquids : Nitrogen : 5500                         1      $33.00
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1       $8.91
                                                                                Total                                                                                                  2      $41.91
                                                       3816      2974590        01/21/13       4140338        BRDBL012 049    REPAIR-T&G APPARATUS REPAIR (S)                          1      $43.60
                                                                                Total                                                                                                  1      $43.60
                                                       3852      2974594        01/21/13       4148150        B0209794 226    VICPT1 P-100(OLD PT1600-9) DISP. PROPANE T..             1       $5.13
                                                                                Total                                                                                                  1       $5.13
                                                       4608      3096235        10/29/13       4308504        72598           DELIVERY DELIVERY/FUEL                                   1      ($9.00)
                                                                                Total                                                                                                  1      ($9.00)
                                                       4734      3151959        03/17/14       4379469        109672          120319DS PROPANE, BULK                                 150     $433.50
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1       $9.00
                                                                                Total                                                                                                151     $442.50
                                                       4743      3164080        04/14/14       4388016        83301           REPAIR-T&G APPARATUS REPAIR (S)                          1      $63.60
                                                                                Total                                                                                                  1      $63.60
                                                       Total                                                                                                                         157     $587.74
 25425 LUMINANT WINFIELD MINE                          387       R750366        03/31/14       8750366        CREDC025SU      RNT2 Industrial LP : Acetylene : Medium                  1      $24.80
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1     $125.76
                                                                                                                              RNT89 Spec Gas : _Spec Mix : Lecture Bottle              1      $16.12
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1       $4.96
                                                                                                                              RNT123 Industrial LP : HPG : 105 lb                      1      $14.88
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1     $119.04
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1     $109.12
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1     $211.20
                                                                                                                              RNT184 Liquids : Nitrogen : 5500 22psi                   1      $51.15
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1     $228.96
                                                                                                                              RNT291 Industrial Mix : RBO 26 : Large                   1       $4.96
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1      $53.46
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1      $25.11
                                                                                Total                                                                                                 13     $989.52
                                                       981       3151960        03/17/14       4378122        109080          120115 OXYGEN, 251 CF                                   10      $64.80
                                                                                Total                                                                                                 10      $64.80
                                                       990       3152565        03/18/14       4369655        105003          VICPT1 P-100(OLD PT1600-9) DISP. PROPANE T..             3      $15.83
                                                                                Total                                                                                                  3      $15.83
                                                       999       3158100        03/31/14       4382847        111308          VIC31101 3-1-101 CUTTING TIP                             4      $37.45
                                                                                                                              VICSR450D540 SR 450D-540 REGULATOR #078..      2         $330.42
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15          Page 38 of 79

Pre-Petition Item Detail

                                                              Invoice                                     Purchase Order
 Customer                                            Seq No                 Invoice Date   Order Number                  Product                                        Shipped Qty      Amount
                                                              Number                                      Number
                                                                                                                         VIC31101 3-1-101 CUTTING TIP
 25425 LUMINANT WINFIELD MINE                        999      3158100       03/31/14       4382847        111308         VICSR450D540 SR 450D-540 REGULATOR #078..               2        $330.42
                                                                            Total                                                                                                6        $367.87
                                                     1008     3158101       03/31/14       4386295        113037        120159 NITROGEN, LIQUID #55                              1         $54.60
                                                                            Total                                                                                                1         $54.60
                                                     1017     3159553       04/02/14       4387717        113677        120159 NITROGEN, LIQUID #55                              2        $109.20
                                                                            Total                                                                                                2        $109.20
                                                     1026     3160086       04/03/14       4387634        113511        120115 OXYGEN, 251 CF                                    4         $25.92
                                                                                                                        120206 HELIUM, 244 CF INDUSTRIAL GRADE                   4        $340.00
                                                                                                                        120302 ACETYLENE, MEDIUM                                 4        $169.08
                                                                            Total                                                                                               12        $535.00
                                                     1035     3164081       04/14/14       4385057        112465        HAR4060AC18X1 SOLDER 40/60 ACID 1LB X 1/8                1         $23.25
                                                                                                                        VICPT1 P-100(OLD PT1600-9) DISP. PROPANE T..             3         $15.83
                                                                            Total                                                                                                4         $39.08
                                                     1044     3164082       04/14/14       4392247        116041        GAU21230 2 1/2" X 30# GAUGES BRASS CASE                  1          $7.73
                                                                            Total                                                                                                1          $7.73
                                                     1049     R756832       04/30/14       8756832        CREDC025SU    RNT2 Industrial LP : Acetylene : Medium                  1         $42.56
                                                                                                                        RNT4 Industrial LP : Acetylene : Extra Large             1        $115.20
                                                                                                                        RNT89 Spec Gas : _Spec Mix : Lecture Bottle              1         $15.60
                                                                                                                        RNT92 Industrial HP : Helium : Medium                    1         $23.36
                                                                                                                        RNT123 Industrial LP : HPG : 105 lb                      1         $14.40
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                   1        $115.20
                                                                                                                        RNT172 Industrial HP : Nitrogen : Medium                 1        $102.24
                                                                                                                        RNT182 Liquids : Nitrogen : 5500                         1        $343.20
                                                                                                                        RNT184 Liquids : Nitrogen : 5500 22psi                   1         $49.50
                                                                                                                        RNT202 Industrial HP : Oxygen : Medium                   1        $244.16
                                                                                                                        RNT291 Industrial Mix : RBO 26 : Large                   1          $4.80
                                                                                                                        RNT702 Other Assets : Pallets : With Rails               1        $119.88
                                                                                                                        RNT703 Other Assets : Pallets : WithOut Rails            1         $24.30
                                                                            Total                                                                                               13      $1,214.40
                                                     Total                                                                                                                      65      $3,398.03
 25429 LUMINANT BIG BROWN MINE                       504      R750367       03/31/14       8750367                      RNT4 Industrial LP : Acetylene : Extra Large             1          $4.96
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                   1         $14.88
                                                                                                                        RNT202 Industrial HP : Oxygen : Medium                   1         $34.72
                                                                                                                        RNT412 Spec Gas : Nitrogen Pure : Medium                 1          $8.06
                                                                            Total                                                                                                4         $62.62
                                                                            02/03/14       4356341        84027         ESAB8018C133250 ATOM ARC 8018-C1 3/32" *50..        -150        ($553.50)
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and   Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15           Page 39 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                        Shipped Qty    Amount
                                                             Number                                      Number
                                                    504      R750367       Total
 25429 LUMINANT BIG BROWN MINE                      5814     3134020       02/03/14       4356341        84027          ESAB8018C133250 ATOM ARC 8018-C1 3/32" *50..          -150   ($553.50)
                                                                           Total                                                                                              -150   ($553.50)
                                                    5837     R756833       04/30/14       8756833                       RNT4 Industrial LP : Acetylene : Extra Large            1        $4.80
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                  1       $14.40
                                                                                                                        RNT202 Industrial HP : Oxygen : Medium                  1       $33.60
                                                                                                                        RNT412 Spec Gas : Nitrogen Pure : Medium                1        $7.80
                                                                           Total                                                                                                4       $60.60
                                                    Total                                                                                                                     -142   ($430.28)
 25430 LUMINANT BIG BROWN MINE                      441      R750368       03/31/14       8750368        CREDC012SU     RNT4 Industrial LP : Acetylene : Extra Large            1      $163.20
                                                                                                                        RNT43 Industrial HP : Argon : Large                     1       $14.88
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                  1      $180.16
                                                                                                                        RNT184 Liquids : Nitrogen : 5500 22psi                  1      $102.30
                                                                                                                        RNT202 Industrial HP : Oxygen : Medium                  1      $217.76
                                                                                                                        RNT244 Medical HP : Oxygen USP : B size                 1       $14.88
                                                                                                                        RNT412 Spec Gas : Nitrogen Pure : Medium                1       $40.30
                                                                                                                        RNT475 Industrial LP : Acetylene : MC                   1        $9.92
                                                                                                                        RNT509 Industrial HP : Oxygen : R-20                    1       $14.88
                                                                                                                        RNT702 Other Assets : Pallets : With Rails              1       $25.11
                                                                                                                        RNT726 Liquids : Nitrogen : XL-240                      1      $102.30
                                                                           Total                                                                                               11      $885.69
                                                    855      3108129       11/26/13       4323369        80852          120141 NITROGEN, UHP, 230 CF                            1       $30.24
                                                                                                                        120180 RBO-075 25% CO2 BALANCE ARGON, 35..              2       $47.62
                                                                                                                        120303 ACETYLENE, EXTRA LARGE                           1       $95.55
                                                                                                                        DELIVERY DELIVERY/FUEL                                  1        $9.00
                                                                           Total                                                                                                5      $182.41
                                                    864      3108129       01/09/14                                                                                             1    ($173.41)
                                                                           Total                                                                                                1    ($173.41)
                                                    1107     3152566       03/18/14       4368956        104202         120115 OXYGEN, 251 CF                                  13       $84.24
                                                                                                                        120174 NITROGEN, LIQUID XL-240 5,811 CF                 2      $136.00
                                                                                                                        120180 RBO-075 25% CO2 BALANCE ARGON, 35..              5      $119.05
                                                                                                                        120303 ACETYLENE, EXTRA LARGE                           4      $408.96
                                                                           Total                                                                                               24      $748.25
                                                    1116     3152567       03/18/14       4374332        107261         SHUR4501 4501 SPARK LIGHTER (EA)                        3        $7.44
                                                                                                                        WEL2X414HT5 GLASS LENS 2X4-1/4 HEAT TRE..               6        $3.56
                                                                           Total                                                                                                9       $11.00
                                                                           03/18/14       4375361        107741         HAR4060RE062X1 HARRIS 12205 RESIN CORE ..            4         $114.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 40 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                       1116      3152567        Total
 25430 LUMINANT BIG BROWN MINE                         1125      3152568        03/18/14       4375361        107741          HAR4060RE062X1 HARRIS 12205 RESIN CORE ..                4      $114.00
                                                                                Total                                                                                                  4      $114.00
                                                       1134      3155667        03/25/14       4375361        107741          HAR4060RE062X1 HARRIS 12205 RESIN CORE ..                1       $28.50
                                                                                Total                                                                                                  1       $28.50
                                                       1143      3155668        03/25/14       4381349        110587          LAPC758 LAPCO LAP-C 7 5/8 WELDERS CAP                    3       $12.38
                                                                                Total                                                                                                  3       $12.38
                                                       1152      3155669        03/25/14       4382866        111349          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    6       $23.28
                                                                                Total                                                                                                  6       $23.28
                                                       1161      3155670        03/25/14       4383614        111737          LIN70183325 3/32X14 LINCOLN½ 7018 5TB(20CT)             10       $19.25
                                                                                Total                                                                                                 10       $19.25
                                                       1170      3158102        03/31/14       4379380        109050          ROCPOLMAXSHI04533 ROCKMOUNT POLARIS ..                  16    $14,677.12
                                                                                Total                                                                                                 16    $14,677.12
                                                       1179      3158103        03/31/14       4385513        112647          120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              2      $146.88
                                                                                Total                                                                                                  2      $146.88
                                                       1188      3162950        04/10/14       4374332        107261          WEL2X414HT5 GLASS LENS 2X4-1/4 HEAT TRE..                1        $0.59
                                                                                Total                                                                                                  1        $0.59
                                                       1197      3162951        04/10/14       4386029        112928          WEL2X414GMAG150 2X4-1/4 GLASS MAGNIFIE..                 2        $7.38
                                                                                                                              WEL2X414GMAG175 2X4-1/4 GLASS MAGNIFIE..                 2        $7.38
                                                                                                                              WEL2X414GMAG200 2X4-1/4 GLASS MAGNIFIE..                 2        $7.38
                                                                                                                              WEL2X414GMAG225 2X4-1/4 GLASS MAGNIFIE..                 2        $7.38
                                                                                                                              WEL2X414GMAG250 2X4-1/4 GLASS MAGNIFIE..                 2        $7.38
                                                                                Total                                                                                                 10       $36.90
                                                       1206      3162952        04/10/14       4391573        114695          LAPCB678 LAPCO BLACK 6 7/8 WELDERS CAP                   3       $12.38
                                                                                                                              LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                5       $67.25
                                                                                                                              WEL2X414HT5 GLASS LENS 2X4-1/4 HEAT TRE..                4        $2.38
                                                                                Total                                                                                                 12       $82.01
                                                       1215      3166759        04/21/14       4394768        117099          VIC12MFA 12 MFA HEATING NOZZLE                           2      $220.80
                                                                                Total                                                                                                  2      $220.80
                                                       1224      3166760        04/21/14       4396703        118376          OCC870B10015 OCCUNOMIX 870B100-15 TERR..                50       $88.40
                                                                                Total                                                                                                 50       $88.40
                                                       1233      3167872        04/23/14       4391573        114695          WEL2X414HT5 GLASS LENS 2X4-1/4 HEAT TRE..                3        $1.78
                                                                                Total                                                                                                  3        $1.78
                                                       1242      3167873        04/23/14       4398710        119353          120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              2      $146.88
                                                                                Total                                                                                                  2      $146.88
                                                       1251      3170361        04/29/14       4395505        117051          ZZNHMID102040306 MIDWEST FASTENERS 102..                 5      $146.75
                                                                                Total                                                                                        5         $146.75
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 41 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                04/29/14       4395505        117051         ZZNHMID102040306 MIDWEST FASTENERS 102..
 25430 LUMINANT BIG BROWN MINE                         1251      3170361        Total                                                                                                  5      $146.75
                                                       1256      R756834        04/30/14       8756834        CREDC012SU      RNT4 Industrial LP : Acetylene : Extra Large             1      $163.20
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $14.40
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $163.20
                                                                                                                              RNT184 Liquids : Nitrogen : 5500 22psi                   1       $99.00
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $216.00
                                                                                                                              RNT244 Medical HP : Oxygen USP : B size                  1       $14.40
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1       $39.00
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1        $9.60
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1       $14.40
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1       $24.30
                                                                                                                              RNT726 Liquids : Nitrogen : XL-240                       1       $99.00
                                                                                Total                                                                                                 11      $856.50
                                                       Total                                                                                                                         188    $18,255.96
 39213 LUMINANT MONTICELLO RAILROAD                    378       R736394        01/31/14       736394         CREDC026SU      RNT2 Industrial LP : Acetylene : Medium                  1       $74.40
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1        $4.96
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1       $59.52
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1      $111.52
                                                                                                                              RNT450 Industrial Mix : RBO 27 : Large                   1       $29.76
                                                                                                                              RNT512 Industrial HP : Oxygen : R-80                     1        $9.92
                                                                                Total                                                                                                  6      $290.08
                                                       396       R751327        03/31/14       8751327        CREDC026SU      RNT2 Industrial LP : Acetylene : Medium                  1       $74.40
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1        $4.96
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1       $59.52
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1      $114.08
                                                                                                                              RNT450 Industrial Mix : RBO 27 : Large                   1       $29.76
                                                                                                                              RNT512 Industrial HP : Oxygen : R-80                     1        $9.92
                                                                                Total                                                                                                  6      $292.64
                                                       882       3128145        01/21/14       4339908        88120           120313 PROPANE, 010 GALLON (BBQ)                         3       $63.00
                                                                                Total                                                                                                  3       $63.00
                                                       945       3153231        03/19/14       4339908        88120           120313 PROPANE, 010 GALLON (BBQ)                         1       $21.00
                                                                                Total                                                                                                  1       $21.00
                                                       954       3153232        03/19/14       4379739        109774          120115 OXYGEN, 251 CF                                    3       $19.44
                                                                                                                              120302 ACETYLENE, MEDIUM                                 2       $84.54
                                                                                                                              120642 RBO-027 CARBON DIOXIDE 15% BAL AR..               1       $28.54
                                                                                Total                                                                                        6         $132.52
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 42 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                03/19/14       4379739        109774         120642 RBO-027 CARBON DIOXIDE 15% BAL AR..
 39213 LUMINANT MONTICELLO RAILROAD                    954       3153232        Total                                                                                                  6     $132.52
                                                       959       R757808        04/30/14       8757808        CREDC026SU      RNT2 Industrial LP : Acetylene : Medium                  1      $72.00
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $4.80
                                                                                                                              RNT122 Industrial LP : HPG : 63 lb                       1       $4.80
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $57.60
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1     $110.40
                                                                                                                              RNT450 Industrial Mix : RBO 27 : Large                   1      $28.80
                                                                                                                              RNT512 Industrial HP : Oxygen : R-80                     1       $9.60
                                                                                Total                                                                                                  7     $288.00
                                                       Total                                                                                                                          29    $1,087.24
 39653 LUMINANT THERMO MINE (0416)                     261       R748521        02/28/14       8748521        CREDC024SU      RNT4 Industrial LP : Acetylene : Extra Large             1       $4.48
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1      $13.44
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $17.92
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $8.96
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1      $46.20
                                                                                                                              RNT183 Liquids : Nitrogen : 5500 HP                      1      $46.20
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $40.32
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1      $45.36
                                                                                Total                                                                                                  8     $222.88
                                                       270       R755129        03/31/14       8755129        CREDC024SU      RNT4 Industrial LP : Acetylene : Extra Large             1       $4.96
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1      $14.88
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $19.84
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $9.92
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1      $51.15
                                                                                                                              RNT183 Liquids : Nitrogen : 5500 HP                      1      $51.15
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $44.64
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1      $50.22
                                                                                Total                                                                                                  8     $246.76
                                                       2030      R761719        04/30/14       8761719        CREDC024SU      RNT4 Industrial LP : Acetylene : Extra Large             1       $4.80
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1      $14.40
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $19.20
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $9.60
                                                                                                                              RNT182 Liquids : Nitrogen : 5500                         1      $49.50
                                                                                                                              RNT183 Liquids : Nitrogen : 5500 HP                      1      $49.50
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $43.20
                                                                                                                              RNT702 Other Assets : Pallets : With Rails     1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$48.60
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15             Page 43 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                             Shipped Qty   Amount
                                                             Number                                      Number
                                                                                                                        RNT202 Industrial HP : Oxygen : Medium
 39653 LUMINANT THERMO MINE (0416)                  2030     R761719       04/30/14       8761719        CREDC024SU     RNT702 Other Assets : Pallets : With Rails                   1     $48.60
                                                                           Total                                                                                                     8    $238.80
                                                    Total                                                                                                                           24    $708.44
 42962 LUMINANT TRINIDAD                            513      R745070       02/28/14       8745070        CREDC571SU       RNT1 Industrial LP : Acetylene : Large                     1     $13.44
                                                                                                                          RNT4 Industrial LP : Acetylene : Extra Large               1     $40.32
                                                                                                                          RNT43 Industrial HP : Argon : Large                        1     $67.20
                                                                                                                          RNT71 Industrial HP : CO2 : 50 lb                          1    $107.52
                                                                                                                          RNT80 Spec Gas : _Spec Mix : 152AL                         1     $82.16
                                                                                                                          RNT92 Industrial HP : Helium : Medium                      1     $13.44
                                                                                                                          RNT135 Industrial HP : Hydrogen : Pallet-Pack              1     $86.24
                                                                                                                          RNT163 Industrial Mix : RBO 75 : Large                     1     $67.20
                                                                                                                          RNT172 Industrial HP : Nitrogen : Medium                   1     $12.48
                                                                                                                          RNT173 Industrial HP : Nitrogen : Large                    1      $4.48
                                                                                                                          RNT175 Industrial HP : Nitrogen : Pallet-Pack              1    $172.48
                                                                                                                          RNT202 Industrial HP : Oxygen : Medium                     1     $17.92
                                                                                                                          RNT203 Industrial HP : Oxygen : Large                      1     $49.28
                                                                                                                          RNT702 Other Assets : Pallets : With Rails                 1     $68.04
                                                                                                                          RNT730 Other Assets : Pallet Header : Pallt Hdr            1     $43.40
                                                                           Total                                                                                                    15    $845.60
                                                    522      R751700       03/31/14       8751700        CREDC571SU       RNT1 Industrial LP : Acetylene : Large                     1     $14.88
                                                                                                                          RNT4 Industrial LP : Acetylene : Extra Large               1     $44.64
                                                                                                                          RNT43 Industrial HP : Argon : Large                        1     $74.40
                                                                                                                          RNT71 Industrial HP : CO2 : 50 lb                          1    $119.04
                                                                                                                          RNT80 Spec Gas : _Spec Mix : 152AL                         1     $96.72
                                                                                                                          RNT92 Industrial HP : Helium : Medium                      1     $14.88
                                                                                                                          RNT135 Industrial HP : Hydrogen : Pallet-Pack              1     $95.48
                                                                                                                          RNT163 Industrial Mix : RBO 75 : Large                     1     $74.40
                                                                                                                          RNT172 Industrial HP : Nitrogen : Medium                   1     $19.84
                                                                                                                          RNT173 Industrial HP : Nitrogen : Large                    1      $4.96
                                                                                                                          RNT175 Industrial HP : Nitrogen : Pallet-Pack              1    $190.96
                                                                                                                          RNT202 Industrial HP : Oxygen : Medium                     1     $19.84
                                                                                                                          RNT203 Industrial HP : Oxygen : Large                      1     $54.56
                                                                                                                          RNT702 Other Assets : Pallets : With Rails                 1     $75.33
                                                                                                                          RNT730 Other Assets : Pallet Header : Pallt Hdr            1     $48.05
                                                                           Total                                                                                                    15    $947.98
                                                                           01/13/14                                                                                          1         ($30.10)
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 44 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       522       R751700        Total
 42962 LUMINANT TRINIDAD                               1422      3105926        01/13/14                                                                                               1     ($30.10)
                                                                                Total                                                                                                  1     ($30.10)
                                                       1512      3133062        01/31/14       4354088        95805           123821 OXYGEN 0.5% BAL NITROGEN, CERT, S..               1     $304.92
                                                                                Total                                                                                                  1     $304.92
                                                       1521      3133062        03/17/14                                                                                               1    ($163.58)
                                                                                Total                                                                                                  1    ($163.58)
                                                       1584      3153251        03/19/14       4369935        104980          CKW9V12RFX 12 1/2' CABLE W/ VALVE, FLEXHE..              1     $110.88
                                                                                                                              LENL2 LENCO 06995 POWER CABLE LUG (T-46)                50      $75.00
                                                                                                                              TIL42L TOP GRAIN PIGSKIN MIG WELDING GLO..               6      $56.28
                                                                                                                              TIL42M TILLMAN 42M GLOVE                                 6      $56.28
                                                                                                                              TIL42S TILLMAN 42S GLOVE                                 3      $28.14
                                                                                                                              ZZNHWESFA130P WESTERN FA-130P OXYGEN ..                  2      $49.52
                                                                                                                              ZZNHWESFA230P WESTERN FA-230P ACET FL..                  2      $49.52
                                                                                Total                                                                                                 70     $425.62
                                                       1593      3153859        03/20/14       4377512        108846          ESAB701833250 E-7018 3/32 50#HSC ATOM AR..             150     $348.00
                                                                                                                              TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..                 1      $40.40
                                                                                Total                                                                                                151     $388.40
                                                       1602      3156914        03/27/14       4380553        109152          HOS1450INERT HOSE 1/4 X 50'INERT GAS W/5/8..             3      $61.14
                                                                                Total                                                                                                  3      $61.14
                                                       1611      3157569        03/28/14       4380553        109152          CKW9V12RFX 12 1/2' CABLE W/ VALVE, FLEXHE..              1     $110.88
                                                                                                                              VICFB1 FB-1, FLAMEBUSTER TORCH PAIR PAK                  1      $95.65
                                                                                Total                                                                                                  2     $206.53
                                                       1620      3163020        04/10/14       4390912        115221          120106 HYDROGEN,6 PACK, 1182CF (6)                       1      $72.00
                                                                                                                              123296 OXYGEN 18% BAL N2 EPA 152                         1     $225.00
                                                                                Total                                                                                                  2     $297.00
                                                       1629      3163021        04/10/14       4391790        115732          120146 NITROGEN, 230 CF                                  6      $42.12
                                                                                Total                                                                                                  6      $42.12
                                                       1638      3168565        04/24/14       4399143        119527          120106 HYDROGEN,6 PACK, 1182CF (6)                       6     $432.00
                                                                                Total                                                                                                  6     $432.00
                                                       1643      R758189        04/30/14       8758189        CREDC571SU      RNT1 Industrial LP : Acetylene : Large                   1      $14.40
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1      $43.20
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1      $52.80
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1     $115.20
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $88.40
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1      $14.40
                                                                                                                              RNT135 Industrial HP : Hydrogen : Pallet-Pack  1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$92.40
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                    Doc 4637-1       Filed 06/01/15             Page 45 of 79

Pre-Petition Item Detail

                                                              Invoice                                     Purchase Order
 Customer                                            Seq No                 Invoice Date   Order Number                  Product                                             Shipped Qty    Amount
                                                              Number                                      Number
                                                                                                                         RNT92 Industrial HP : Helium : Medium
 42962 LUMINANT TRINIDAD                             1643     R758189       04/30/14       8758189        CREDC571SU     RNT135 Industrial HP : Hydrogen : Pallet-Pack                1      $92.40
                                                                                                                           RNT163 Industrial Mix : RBO 75 : Large                     1      $72.00
                                                                                                                           RNT172 Industrial HP : Nitrogen : Medium                   1      $32.64
                                                                                                                           RNT173 Industrial HP : Nitrogen : Large                    1       $4.80
                                                                                                                           RNT175 Industrial HP : Nitrogen : Pallet-Pack              1     $184.80
                                                                                                                           RNT202 Industrial HP : Oxygen : Medium                     1      $16.00
                                                                                                                           RNT203 Industrial HP : Oxygen : Large                      1      $43.20
                                                                                                                           RNT702 Other Assets : Pallets : With Rails                 1      $72.90
                                                                                                                           RNT730 Other Assets : Pallet Header : Pallt Hdr            1      $46.50
                                                                            Total                                                                                                    15     $893.64
                                                     Total                                                                                                                          288    $4,651.27
 43699 LUMINANT GENERATION COMPANY LP                1053     3044335       07/30/13                                                                                                  1      ($0.22)
                                                                            Total                                                                                                     1      ($0.22)
                                                     1071     3046926       08/05/13                                                                                                  1      ($0.62)
                                                                            Total                                                                                                     1      ($0.62)
                                                     1116     3059303       09/04/13                                                                                                  1      ($0.27)
                                                                            Total                                                                                                     1      ($0.27)
                                                     1377     3158198       03/31/14       4387061        BO209161156      120236 HYDROGEN, TUBE TRAILER                          43,749   $1,071.85
                                                                                                                           DELIVERY DELIVERY/FUEL                                     1       $9.00
                                                                                                                           MILEAGE MILEAGE CHARGE                                   536     $804.00
                                                                            Total                                                                                                 44,286   $1,884.85
                                                     1386     3160144       04/03/14       4389280        S08009426S6      TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..                  29    $1,171.60
                                                                            Total                                                                                                    29    $1,171.60
                                                     1395     3160668       04/04/14       4389287        S08009426S6      TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..                  11     $444.40
                                                                            Total                                                                                                    11     $444.40
                                                     1404     3163565       04/11/14       4389333        S08005866S6      TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..                 100    $4,040.00
                                                                            Total                                                                                                   100    $4,040.00
                                                     1413     3163566       04/11/14       4394035        BO209161156      120236 HYDROGEN, TUBE TRAILER                          44,710   $1,095.40
                                                                                                                           DELIVERY DELIVERY/FUEL                                     1       $9.00
                                                                                                                           MILEAGE MILEAGE CHARGE                                   536     $804.00
                                                                            Total                                                                                                 45,247   $1,908.40
                                                     1422     3167342       04/22/14       4399236        B0209161156      120236 HYDROGEN, TUBE TRAILER                          76,509   $1,874.47
                                                                                                                           DELIVERY DELIVERY/FUEL                                     1       $9.00
                                                                                                                           MILEAGE MILEAGE CHARGE                                   536     $804.00
                                                                            Total                                                                                                 77,046   $2,687.47
                                                                                                                           120618 NITROGEN, TUBE TRAILER, JUMBO
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY213,681         $5,342.03
                                                                                                                                                                            and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 46 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                       1422      3167342        Total
 43699 LUMINANT GENERATION COMPANY LP                  1431      3170462        04/29/14       4396294        S07995216D6     120618 NITROGEN, TUBE TRAILER, JUMBO                213,681    $5,342.03
                                                                                                                              EQRENT EQUIPMENT RENTAL                                 56    $14,000.00
                                                                                                                              MILEAGE MILEAGE CHARGE                                2,400    $4,800.00
                                                                                                                              PICKUP PICKUP CHARGE                                     1      $500.00
                                                                                                                              RDLABOR LABOR.                                           1     $2,500.00
                                                                                Total                                                                                             216,139   $27,142.03
                                                       Total                                                                                                                      382,861   $39,277.64
 43971 LUMINANT MAINT 461 MACH SHOP                    576       R745200        02/28/14       8745200        CREDC461SU      RNT4 Industrial LP : Acetylene : Extra Large             1       $26.88
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $31.36
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $13.44
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1        $8.96
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1       $40.32
                                                                                                                              RNT726 Liquids : Nitrogen : XL-240                       1       $42.90
                                                                                                                              RNT1207 NITROGEN, LIQUID 230 LP 5024 CF                  1        $4.95
                                                                                Total                                                                                                  7      $168.81
                                                       585       R751827        03/31/14       8751827        CREDC461SU      RNT4 Industrial LP : Acetylene : Extra Large             1       $29.76
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $34.72
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $14.88
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1        $9.92
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1       $44.64
                                                                                                                              RNT726 Liquids : Nitrogen : XL-240                       1       $23.10
                                                                                                                              RNT1207 NITROGEN, LIQUID 230 LP 5024 CF                  1       $29.70
                                                                                Total                                                                                                  7      $186.72
                                                       1188      3163567        04/11/14       4392522        116205          SOW308L1810 SOWESCO 308L 1/8 10 LB CAN                  30      $224.10
                                                                                Total                                                                                                 30      $224.10
                                                       1197      3166814        04/21/14       4396851        118567          120111 OXYGEN, 307 CF                                    5       $35.10
                                                                                                                              120164 ARGON, 336 CF                                     2       $45.36
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            1      $102.24
                                                                                Total                                                                                                  8      $182.70
                                                       1202      R758315        04/30/14       8758315        CREDC461SU      RNT4 Industrial LP : Acetylene : Extra Large             1       $28.80
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $33.60
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $14.40
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1        $9.60
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1       $43.20
                                                                                                                              RNT1207 NITROGEN, LIQUID 230 LP 5024 CF                  1       $49.50
                                                                                Total                                                                                        6         $179.10
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 47 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                            Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                04/30/14       8758315        CREDC461SU     RNT1207 NITROGEN, LIQUID 230 LP 5024 CF
 43971 LUMINANT MAINT 461 MACH SHOP                    1202      R758315        Total                                                                                                    6     $179.10
                                                       Total                                                                                                                            58     $941.43
 44476 LUMINANT LAKE HUBBARD SES                       540       R722144        03/11/14                                                                                                 1     ($43.20)
                                                                                Total                                                                                                    1     ($43.20)
                                                       576       R751885        03/31/14       8751885        CREDC451SU/.. RNT1 Industrial LP : Acetylene : Large                       1       $4.96
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large               1      $59.52
                                                                                                                              RNT43 Industrial HP : Argon : Large                        1      $14.88
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                          1     $115.20
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                         1     $230.10
                                                                                                                              RNT92 Industrial HP : Helium : Medium                      1      $14.88
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                     1      $29.76
                                                                                                                              RNT164 Industrial Mix : RBO 75 : Pallet-Pack               1      $61.60
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                   1       $4.96
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                      1      $59.52
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                   1     $145.08
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                        1       $8.06
                                                                                                                              RNT476 Industrial LP : Acetylene : B                       1      $19.84
                                                                                                                              RNT702 Other Assets : Pallets : With Rails                 1      $38.88
                                                                                                                              RNT730 Other Assets : Pallet Header : Pallt Hdr            1      $74.40
                                                                                Total                                                                                                   15     $881.64
                                                       1341      2971393        06/28/13                                                                                                 1    ($210.00)
                                                                                Total                                                                                                    1    ($210.00)
                                                       2259      3154516        03/21/14       4375315        107871          100525 CARBON DIOXIDE, PALLET PACK 800 L..                 4     $629.00
                                                                                Total                                                                                                    4     $629.00
                                                       2268      3155743        03/25/14       4383863        111413          120236 HYDROGEN, TUBE TRAILER                          21,949    $537.75
                                                                                                                              DELIVERY DELIVERY/FUEL                                     1     $672.00
                                                                                Total                                                                                                21,950   $1,209.75
                                                       2277      3156924        03/27/14       4383609        111656          123790 NITRIC OXIDE 190PPM BAL N2,EPA, 152                 2     $450.00
                                                                                Total                                                                                                    2     $450.00
                                                       2286      3161348        04/07/14       4389759        114641          ESAB701833210 E-7018 3/32 10#HSC ATOM AR..                30      $95.67
                                                                                                                              HAR61035 HARRIS STAY-SILV 15 .050 X 1/8 X 20               1     $105.05
                                                                                                                              TEMP250F TEMPILSTIK 250*F TEMP INDICATOR                   2      $18.56
                                                                                                                              VIC001101 00-1-101 CUTTING TIP                             2      $18.72
                                                                                Total                                                                                                   35     $238.00
                                                       2295      3162532        04/09/14       4390615        115019          123296 OXYGEN 18% BAL N2 EPA 152                           1     $225.00
                                                                                Total                                                                                        1         $225.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15             Page 48 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                         Shipped Qty    Amount
                                                             Number                                      Number
                                                                           04/09/14       4390615        115019         123296 OXYGEN 18% BAL N2 EPA 152
 44476 LUMINANT LAKE HUBBARD SES                    2295     3162532       Total                                                                                                 1      $225.00
                                                    2304     3162533       04/09/14       4390744        115224          120164 ARGON, 336 CF                                   10      $226.80
                                                                           Total                                                                                                10      $226.80
                                                    2313     3163026       04/10/14       4390615        115019          123790 NITRIC OXIDE 190PPM BAL N2,EPA, 152              2      $450.00
                                                                           Total                                                                                                 2      $450.00
                                                    2322     3164151       04/14/14       4393112        114753          VICFB1 FB-1, FLAMEBUSTER TORCH PAIR PAK                 1       $95.65
                                                                           Total                                                                                                 1       $95.65
                                                    2331     3164152       04/14/14       4393691        116878          100525 CARBON DIOXIDE, PALLET PACK 800 L..              2      $314.50
                                                                           Total                                                                                                 2      $314.50
                                                    2340     3164664       04/15/14       4395454        117154          120236 HYDROGEN, TUBE TRAILER                       23,318     $571.29
                                                                                                                         DELIVERY DELIVERY/FUEL                                  1      $672.00
                                                                           Total                                                                                             23,319   $1,243.29
                                                    2349     3165794       04/17/14       4394793        117383          120111 OXYGEN, 307 CF                                  10       $70.20
                                                                                                                         120180 RBO-075 25% CO2 BALANCE ARGON, 35..             10      $238.10
                                                                                                                         120303 ACETYLENE, EXTRA LARGE                           8      $817.92
                                                                           Total                                                                                                28    $1,126.22
                                                    2358     3166818       04/21/14       4398375        111494          HYDROGENREPAIR AMERICAN RAILCAR ROBO..                  1    $2,551.94
                                                                           Total                                                                                                 1    $2,551.94
                                                    2367     3167968       04/23/14       4399873        119019          120236 HYDROGEN, TUBE TRAILER                       15,834     $387.93
                                                                                                                         DELIVERY DELIVERY/FUEL                                  1      $672.00
                                                                           Total                                                                                             15,835   $1,059.93
                                                    2376     3168571       04/24/14       4399773        120040          121583 SULFUR HEXAFLOURIDE, GRADE 3, 115..              1    $1,102.09
                                                                           Total                                                                                                 1    $1,102.09
                                                    2385     3169224       04/25/14       4398089        118848          121694 OXYGEN 2% BAL N2 EPA 152                         1      $225.00
                                                                           Total                                                                                                 1      $225.00
                                                    2390     R758375       04/30/14       8758375        CREDC451SU/.. RNT1 Industrial LP : Acetylene : Large                    1        $4.80
                                                                                                                         RNT4 Industrial LP : Acetylene : Extra Large            1       $64.32
                                                                                                                         RNT43 Industrial HP : Argon : Large                     1       $39.04
                                                                                                                         RNT71 Industrial HP : CO2 : 50 lb                       1      $232.80
                                                                                                                         RNT80 Spec Gas : _Spec Mix : 152AL                      1      $233.48
                                                                                                                         RNT92 Industrial HP : Helium : Medium                   1       $14.40
                                                                                                                         RNT163 Industrial Mix : RBO 75 : Large                  1       $38.88
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium                1        $4.80
                                                                                                                         RNT203 Industrial HP : Oxygen : Large                   1       $73.28
                                                                                                                         RNT412 Spec Gas : Nitrogen Pure : Medium                1      $140.40
                                                                                                                         RNT441 Spec Gas : SF6 Pure : 115 lb                 1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. $9.62
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 49 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                            Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT412 Spec Gas : Nitrogen Pure : Medium
 44476 LUMINANT LAKE HUBBARD SES                       2390      R758375        04/30/14       8758375        CREDC451SU/.. RNT441 Spec Gas : SF6 Pure : 115 lb                          1        $9.62
                                                                                                                              RNT476 Industrial LP : Acetylene : B                       1       $19.20
                                                                                                                              RNT702 Other Assets : Pallets : With Rails                 1       $78.57
                                                                                                                              RNT730 Other Assets : Pallet Header : Pallt Hdr            1      $150.35
                                                                                Total                                                                                                   14     $1,103.94
                                                       Total                                                                                                                         61,223   $12,879.55
 45274 LUMINANT FOREST GROVE                           189       R663430        04/30/13                                                                                                 1       $36.00
                                                                                Total                                                                                                    1       $36.00
                                                       288       R751968        03/31/14       8751968        CREDC041SU      RNT2 Industrial LP : Acetylene : Medium                    1       $19.84
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                     1       $19.84
                                                                                Total                                                                                                    2       $39.68
                                                       347       R758459        04/30/14       8758459        CREDC041SU      RNT2 Industrial LP : Acetylene : Medium                    1       $19.20
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                     1       $19.20
                                                                                Total                                                                                                    2       $38.40
                                                       Total                                                                                                                             5      $114.08
 45296 LUMINANT OAK GROVE SES                          540       R751972        03/31/14       8751972        CREDC051SU      RNT1 Industrial LP : Acetylene : Large                     1      $570.40
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                    1        $4.96
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large               1      $153.76
                                                                                                                              RNT43 Industrial HP : Argon : Large                        1      $719.20
                                                                                                                              RNT52 Liquids : Argon : 5500                               1      $153.45
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                         1      $276.64
                                                                                                                              RNT86 Spec Gas : _Spec Mix : 82AL                          1       $16.12
                                                                                                                              RNT92 Industrial HP : Helium : Medium                      1       $29.76
                                                                                                                              RNT135 Industrial HP : Hydrogen : Pallet-Pack              1      $381.92
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                     1      $143.84
                                                                                                                              RNT173 Industrial HP : Nitrogen : Large                    1        $4.96
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                      1     $1,408.64
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack                1     $1,145.76
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                  1       $98.08
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                   1       $96.72
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                        1       $24.18
                                                                                                                              RNT444 Spec Gas : SF6 Pure : 60 lb                         1        $8.06
                                                                                                                              RNT457 Industrial Mix : RBO 62 : Large                     1       $14.88
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                      1      $119.04
                                                                                                                              RNT476 Industrial LP : Acetylene : B                       1        $4.96
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20           1         $114.08
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 50 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT476 Industrial LP : Acetylene : B
 45296 LUMINANT OAK GROVE SES                          540       R751972        03/31/14       8751972        CREDC051SU     RNT509 Industrial HP : Oxygen : R-20                      1       $114.08
                                                                                                                              RNT700 Other Assets : Pallets : Double Decker            1        $50.22
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1     $1,011.69
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1        $16.20
                                                                                                                              RNT768 Other Assets : Tube Trailer : H2                  1     $1,950.00
                                                                                Total                                                                                                 25     $8,517.52
                                                       2772      3035024        06/06/13       4230061        36555           HOS14-50TW HOSE TWIN 1/4X50 BB                         -100   ($3,633.00)
                                                                                                                              HOS14SG SINGLE LINE HOSE 1/4 GREEN                   -1,400    ($896.00)
                                                                                Total                                                                                              -1,500   ($4,529.00)
                                                       2781      3035025        06/06/13       4230065        40268           VIC01101 0-1-101 CUTTING TIP                           -100   ($1,086.00)
                                                                                                                              VIC11101 1-1-101 CUT TIP                                -75    ($814.50)
                                                                                                                              VIC21101 2-1-101 CUTTING TIP                            -50    ($543.00)
                                                                                                                              VIC001101 00-1-101 CUTTING TIP                         -125   ($1,357.50)
                                                                                                                              WES30 WE #30 COUPLER, HOSE                             -150    ($123.00)
                                                                                                                              WES31 WE #31 COUPLER, HOSE                             -141    ($118.44)
                                                                                                                              WES111 WE #111 Y CONNECTION W/V                         -20    ($588.60)
                                                                                                                              WES112 WE #112 Y CONNECTION W/V                         -18    ($529.74)
                                                                                                                              WESAW430 WE #AW-430 COUPLER, INERT A                    -75    ($258.00)
                                                                                Total                                                                                                -754   ($5,418.78)
                                                       3132      3068645        08/27/13       4273307        CREDIT PIPE     MEMO MEMO                                                -1   ($5,700.00)
                                                                                Total                                                                                                  -1   ($5,700.00)
                                                       3141      3070503        10/14/13                                                                                               1        ($2.14)
                                                                                Total                                                                                                  1        ($2.14)
                                                       3942      3137961        03/28/14                                                                                               1      ($39.41)
                                                                                Total                                                                                                  1      ($39.41)
                                                       4068      3137974        03/28/14                                                                                               1      ($37.47)
                                                                                Total                                                                                                  1      ($37.47)
                                                       4383      3153869        03/20/14       4371770        105884          123936 NOX 450PPM,CO2 18% BAL N2 EPA 152                 1       $330.00
                                                                                Total                                                                                                  1       $330.00
                                                       4392      3153870        03/20/14       4375248        107570          LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                   100       $259.00
                                                                                                                              LIN5P+33250 5P+ 3/32 FLEETWELD 50# HSC                  50       $139.00
                                                                                Total                                                                                                150       $398.00
                                                       4401      3153871        03/20/14       4375338        107527          ESAB8018CM33250 ATOM ARC 8018-CM (8018-..              200       $808.00
                                                                                                                              ESAB9018CM33250 ATOM ARC 9018 CM 3/32" E..             200       $838.00
                                                                                                                              ESAB70181850 E-7018 1/8 50#HSC ATOM ARC E..            200       $436.00
                                                                                                                              ESAB701833250 E-7018 3/32 50#HSC ATOM AR..   200         $464.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 51 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             ESAB70181850 E-7018 1/8 50#HSC ATOM ARC E..
 45296 LUMINANT OAK GROVE SES                          4401      3153871        03/20/14       4375338        107527         ESAB701833250 E-7018 3/32 50#HSC ATOM AR..              200     $464.00
                                                                                                                              ESAB701853250 E-7018 5/32 50#HSC ATOM AR..             100     $218.00
                                                                                Total                                                                                                900    $2,764.00
                                                       4410      3153872        03/20/14       4376398        107708          CKW13N24 CK 2C418 (13N24) COLLET FOR 1/8"              100      $58.00
                                                                                                                              CKW45V45 CK 2GL418 GAS LENS FOR 1/8"                   100     $326.00
                                                                                                                              CKW598882 Heatshield                                    40      $40.40
                                                                                Total                                                                                                240     $424.40
                                                       4419      3153873        03/20/14       4377270        108284          ESAB7018MO33250 E-7018-MO 3/32 50#. ATOM ..             50     $168.00
                                                                                Total                                                                                                 50     $168.00
                                                       4428      3153874        03/20/14       4377557        108884          123935 NITRIC OXIDE 45PPM, BAL N2 EPA 152                1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       4437      3153875        03/20/14       4378498        109282          120328 PROPANE, 005 GALLON                              24     $360.00
                                                                                Total                                                                                                 24     $360.00
                                                       4446      3153876        03/20/14       4380020        110310          ZZD3SOW9018M1850 9018M 1/8 STICK ELECTR..              350     $973.00
                                                                                Total                                                                                                350     $973.00
                                                       4455      3153877        03/20/14       4380522        109936          123936 NOX 450PPM,CO2 18% BAL N2 EPA 152                 1     $330.00
                                                                                                                              126021 45PPM NO/SO2,4500PPM CO BAL N2,EP..               1     $375.00
                                                                                Total                                                                                                  2     $705.00
                                                       4464      3153878        03/20/14       4380982        110475          120310 ACETYLENE, B                                      1      $13.84
                                                                                Total                                                                                                  1      $13.84
                                                       4473      3153879        03/20/14       4380990        110431          ZZD3UNIE10018M1850 UNIBRAZE E10018M 1/8" ..            200     $650.00
                                                                                                                              ZZD3UNIE10018M33250 UNIBRAZE E10018M 3/3..             200     $676.00
                                                                                Total                                                                                                400    $1,326.00
                                                       4482      3153880        03/20/14       4380993        110452          123927 NOX450PPM,2250PPM SO2,900PPMCO,..                 1     $418.00
                                                                                Total                                                                                                  1     $418.00
                                                       4491      3154517        03/21/14       4382695        107396          120236 HYDROGEN, TUBE TRAILER                        76,416   $1,872.19
                                                                                                                              MILEAGE MILEAGE CHARGE                                 430     $688.00
                                                                                Total                                                                                              76,846   $2,560.19
                                                       4500      3156929        03/27/14       4383730        111817          123935 NITRIC OXIDE 45PPM, BAL N2 EPA 152                1     $225.00
                                                                                                                              123936 NOX 450PPM,CO2 18% BAL N2 EPA 152                 1     $330.00
                                                                                                                              126021 45PPM NO/SO2,4500PPM CO BAL N2,EP..               1     $375.00
                                                                                Total                                                                                                  3     $930.00
                                                       4509      3160149        04/03/14       4386932        482373          123927 NOX450PPM,2250PPM SO2,900PPMCO,..                 1     $418.00
                                                                                Total                                                                                                  1     $418.00
                                                       4518      3160150        04/03/14       4388497        114031          123935 NITRIC OXIDE 45PPM, BAL N2 EPA 152                2     $450.00
                                                                                                                              123936 NOX 450PPM,CO2 18% BAL N2 EPA 152       1         $330.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15           Page 52 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                         Shipped Qty    Amount
                                                             Number                                      Number
                                                                                                                        123935 NITRIC OXIDE 45PPM, BAL N2 EPA 152
 45296 LUMINANT OAK GROVE SES                       4518     3160150       04/03/14       4388497        114031         123936 NOX 450PPM,CO2 18% BAL N2 EPA 152                 1     $330.00
                                                                                                                        126021 45PPM NO/SO2,4500PPM CO BAL N2,EP..               1     $375.00
                                                                           Total                                                                                                 4    $1,155.00
                                                    4527     3163575       04/11/14       4393782        111089         120236 HYDROGEN, TUBE TRAILER                       104,366   $2,556.97
                                                                                                                        MILEAGE MILEAGE CHARGE                                 430     $688.00
                                                                           Total                                                                                            104,796   $3,244.97
                                                    4536     3165797       04/17/14       4393360        116671         123927 NOX450PPM,2250PPM SO2,900PPMCO,..                 1     $418.00
                                                                                                                        123936 NOX 450PPM,CO2 18% BAL N2 EPA 152                 1     $330.00
                                                                           Total                                                                                                 2     $748.00
                                                    4545     3165798       04/17/14       4395859        118018         ESAB70181850 E-7018 1/8 50#HSC ATOM ARC E..            100     $218.00
                                                                                                                        ESAB701833250 E-7018 3/32 50#HSC ATOM AR..             100     $232.00
                                                                           Total                                                                                               200     $450.00
                                                    4554     3166352       04/18/14       4396347        118326         100101 OXYGEN, PALLET PACK 4,912 CF                      2     $237.60
                                                                           Total                                                                                                 2     $237.60
                                                    4563     3168573       04/24/14       4396347        118326         100101 OXYGEN, PALLET PACK 4,912 CF                      4     $475.20
                                                                           Total                                                                                                 4     $475.20
                                                    4572     3168574       04/24/14       4398574        119180         123935 NITRIC OXIDE 45PPM, BAL N2 EPA 152                2     $450.00
                                                                                                                        123936 NOX 450PPM,CO2 18% BAL N2 EPA 152                 1     $330.00
                                                                                                                        126021 45PPM NO/SO2,4500PPM CO BAL N2,EP..               1     $375.00
                                                                           Total                                                                                                 4    $1,155.00
                                                    4581     3168575       04/24/14       4399029        119388         123927 NOX450PPM,2250PPM SO2,900PPMCO,..                 1     $418.00
                                                                                                                        126021 45PPM NO/SO2,4500PPM CO BAL N2,EP..               1     $375.00
                                                                           Total                                                                                                 2     $793.00
                                                    4590     3170474       04/29/14       4402478        115932         120236 HYDROGEN, TUBE TRAILER                        98,442   $2,411.83
                                                                                                                        MILEAGE MILEAGE CHARGE                                 430     $688.00
                                                                           Total                                                                                             98,872   $3,099.83
                                                    4595     R758463       04/30/14       8758463        CREDC051SU     RNT1 Industrial LP : Acetylene : Large                   1     $552.00
                                                                                                                        RNT2 Industrial LP : Acetylene : Medium                  1       $4.80
                                                                                                                        RNT4 Industrial LP : Acetylene : Extra Large             1     $145.60
                                                                                                                        RNT43 Industrial HP : Argon : Large                      1     $696.00
                                                                                                                        RNT52 Liquids : Argon : 5500                             1     $148.50
                                                                                                                        RNT80 Spec Gas : _Spec Mix : 152AL                       1     $271.18
                                                                                                                        RNT86 Spec Gas : _Spec Mix : 82AL                        1      $15.60
                                                                                                                        RNT92 Industrial HP : Helium : Medium                    1      $28.80
                                                                                                                        RNT135 Industrial HP : Hydrogen : Pallet-Pack            1     $369.60
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large               1         $139.20
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 53 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                           Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT135 Industrial HP : Hydrogen : Pallet-Pack
 45296 LUMINANT OAK GROVE SES                          4595      R758463        04/30/14       8758463        CREDC051SU     RNT163 Industrial Mix : RBO 75 : Large                     1      $139.20
                                                                                                                               RNT173 Industrial HP : Nitrogen : Large                  1        $4.80
                                                                                                                               RNT203 Industrial HP : Oxygen : Large                    1     $1,363.20
                                                                                                                               RNT205 Industrial HP : Oxygen : Pallet-Pack              1      $988.68
                                                                                                                               RNT260 Industrial LP : Propane : 5 Gallon                1      $100.80
                                                                                                                               RNT412 Spec Gas : Nitrogen Pure : Medium                 1       $93.60
                                                                                                                               RNT441 Spec Gas : SF6 Pure : 115 lb                      1       $23.40
                                                                                                                               RNT444 Spec Gas : SF6 Pure : 60 lb                       1        $7.80
                                                                                                                               RNT457 Industrial Mix : RBO 62 : Large                   1       $14.40
                                                                                                                               RNT475 Industrial LP : Acetylene : MC                    1      $115.20
                                                                                                                               RNT476 Industrial LP : Acetylene : B                     1        $4.80
                                                                                                                               RNT509 Industrial HP : Oxygen : R-20                     1      $110.40
                                                                                                                               RNT700 Other Assets : Pallets : Double Decker            1       $38.88
                                                                                                                               RNT702 Other Assets : Pallets : With Rails               1      $972.00
                                                                                                                               RNT703 Other Assets : Pallets : WithOut Rails            1       $24.30
                                                                                                                               RNT768 Other Assets : Tube Trailer : H2                  1     $1,950.00
                                                                                Total                                                                                                  25     $8,183.54
                                                       Total                                                                                                                       280,654   $24,346.29
 45667 LUMINANT CEMS                                   612       R752020        03/31/14       8752020        CREDC411SU       RNT80 Spec Gas : _Spec Mix : 152AL                       1      $383.50
                                                                                                                               RNT86 Spec Gas : _Spec Mix : 82AL                        1     $2,062.84
                                                                                                                               RNT474 Spec Gas : Nitrogen Pure : AL152                  1       $88.66
                                                                                                                               RNT652 Spec Gas : Nitrogen Pure : 32AL                   1       $40.30
                                                                                Total                                                                                                   4     $2,575.30
                                                       1638      2882895        02/06/13                                                                                                1     ($202.95)
                                                                                Total                                                                                                   1     ($202.95)
                                                       2493      3069930        10/14/13                                                                                                1      ($38.47)
                                                                                Total                                                                                                   1      ($38.47)
                                                       2835      3117453        12/20/13       4313158        75901            124139 SO2 28PPM, NO 28PPM BAL N2 EPA SZ82               1      $315.00
                                                                                Total                                                                                                   1      $315.00
                                                       3114      3156931        03/27/14       4369768        105033           121029 SULFUR DIOXIDE 125PPM BAL N2 EPA ..               1      $225.00
                                                                                Total                                                                                                   1      $225.00
                                                       3123      3159633        04/02/14       4372940        106592           124731 50PPM NITROGEN DIOXIDE / AIR EPA 1..              1      $315.00
                                                                                Total                                                                                                   1      $315.00
                                                       3132      3161357        04/07/14       4379910        109878           123684 CARBON DIOXIDE 10.35% BAL N2,EPA, ..              1      $225.00
                                                                                                                               123690 CARBON MONOXIDE 1375 PPM BAL N2 ..                1      $225.00
                                                                                                                               123692 CARBON DIOXIDE 18.0% BAL N2, EPA SI..  1         $225.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 54 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             123690 CARBON MONOXIDE 1375 PPM BAL N2 ..
 45667 LUMINANT CEMS                                   3132      3161357        04/07/14       4379910        109878         123692 CARBON DIOXIDE 18.0% BAL N2, EPA SI..              1     $225.00
                                                                                                                              123696 NITRIC OXIDE 45 PPM, BAL N2 EPA 82                1     $225.00
                                                                                                                              123707 NITRIC OXIDE 82.5 PPM, BAL N2 EPA 82              2     $450.00
                                                                                                                              123727 SULFUR DIOXIDE 550 PPM BAL N2 EPA ..              1     $225.00
                                                                                Total                                                                                                  7    $1,575.00
                                                       3141      3162006        04/08/14       4379910        109878          123684 CARBON DIOXIDE 10.35% BAL N2,EPA, ..              1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       3150      3163578        04/11/14       4379910        109878          123727 SULFUR DIOXIDE 550 PPM BAL N2 EPA ..              1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       3159      3166820        04/21/14       4394884                        123726 SULFUR DIOXIDE 450 PPM BAL N2 EPA ..              1     $225.00
                                                                                                                              123728 SULFUR DIOXIDE 740 PPM BAL N2 EPA ..              1     $225.00
                                                                                                                              124140 NOX120PPM,SO2 600PPM,CO 240PPM,C..                1     $418.00
                                                                                                                              124141 NOX275PPM,SO2 1375PM,CO 550PPM,C..                1     $418.00
                                                                                Total                                                                                                  4    $1,286.00
                                                       3173      R758515        04/30/14       8758515        CREDC411SU      RNT80 Spec Gas : _Spec Mix : 152AL                       1     $381.94
                                                                                                                              RNT86 Spec Gas : _Spec Mix : 82AL                        1    $2,036.06
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                  1      $85.80
                                                                                                                              RNT652 Spec Gas : Nitrogen Pure : 32AL                   1      $39.00
                                                                                Total                                                                                                  4    $2,542.80
                                                       Total                                                                                                                          26    $9,042.68
 45864 LUMINANT STRYKER SES                            180       2904560        01/09/13                                                                                               1    ($643.91)
                                                                                Total                                                                                                  1    ($643.91)
                                                       Total                                                                                                                           1    ($643.91)
 47905 LUMINANT KOSSE MINE                             648       R752378        03/31/14       8752378        CREDC052SU      RNT1 Industrial LP : Acetylene : Large                   1       $9.92
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1      $24.80
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1     $183.52
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $9.92
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1     $168.64
                                                                                                                              RNT184 Liquids : Nitrogen : 5500 22psi                   1      $19.80
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $14.88
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1     $219.20
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1     $257.44
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1      $56.42
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1      $14.88
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1      $14.88
                                                                                                                              RNT702 Other Assets : Pallets : With Rails     1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$75.33
                                                                                                                                                                                          The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 55 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                           Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT509 Industrial HP : Oxygen : R-20
 47905 LUMINANT KOSSE MINE                             648       R752378        03/31/14       8752378        CREDC052SU     RNT702 Other Assets : Pallets : With Rails                 1      $75.33
                                                                                                                               RNT703 Other Assets : Pallets : WithOut Rails            1      $25.11
                                                                                                                               RNT726 Liquids : Nitrogen : XL-240                       1     $108.90
                                                                                Total                                                                                                  15    $1,203.64
                                                       4329      3101553        11/09/13       4312250        75315            120111 OXYGEN, 307 CF                                    3      $21.06
                                                                                                                               120328 PROPANE, 005 GALLON                               4      $60.00
                                                                                                                               DELIVERY DELIVERY/FUEL                                   1       $9.00
                                                                                Total                                                                                                   8      $90.06
                                                       4338      3101553        01/23/14                                                                                                1     ($81.06)
                                                                                Total                                                                                                   1     ($81.06)
                                                       4599      3128201        01/21/14       4349574        88069            ZZD3CKW54N15L # 7 CUP LONG                               0     ($52.60)
                                                                                Total                                                                                                   0     ($52.60)
                                                       5157      3152690        03/18/14       4369050        104651           SINGSC5OR SINGER SC-5 FILTRA ORANGE 5X5..                4     $152.25
                                                                                Total                                                                                                   4     $152.25
                                                       5166      3152691        03/18/14       4374335        107314           LEN05171 LENCO 05171 LC-40HD MALE W/ FIB..              20     $198.60
                                                                                                                               NEL500001032 CHUCK FOR 1/2 STUD,3.875 LON..              6     $502.50
                                                                                Total                                                                                                  26     $701.10
                                                       5175      3152692        03/18/14       4376348        107686           ESAB8018C11850 ESAB 8018C1 1/8 X 50 LB                  50     $159.05
                                                                                                                               ESAB8018C153250 E8018-C1 5/32" ATOM ARC ..              50     $154.40
                                                                                Total                                                                                                 100     $313.45
                                                       5184      3152693        03/18/14       4376354        107686           ARC94396193 ARCAIR 94-396-193 HOSE ASSY ..               2     $128.23
                                                                                Total                                                                                                   2     $128.23
                                                       5193      3152694        03/18/14       4377451        108810           FM906 FM 906 HELMET                                      3     $155.64
                                                                                Total                                                                                                   3     $155.64
                                                       5202      3152695        03/18/14       4378155        109162           JAC187K //JACKSON 187K MT. BLADE KIT                     7      $60.20
                                                                                Total                                                                                                   7      $60.20
                                                       5211      3152696        03/18/14       4379509        109671           120111 OXYGEN, 307 CF                                    4      $28.08
                                                                                                                               120180 RBO-075 25% CO2 BALANCE ARGON, 35..               1      $23.81
                                                                                                                               120328 PROPANE, 005 GALLON                               2      $30.00
                                                                                Total                                                                                                   7      $81.89
                                                       5220      3153900        03/20/14       4380562        110266           PRO1435 PROFAX 14-35 CONTACT TIP(TWE14-..               16       $6.56
                                                                                Total                                                                                                  16       $6.56
                                                       5229      3156949        03/27/14       4376738        108476           NEL101302286 1/2" NUT HEX DRIVE BX 100                  15     $787.50
                                                                                Total                                                                                                  15     $787.50
                                                       5238      3156950        03/27/14       4377451        108810           FM906 FM 906 HELMET                                      3     $155.64
                                                                                Total                                                                                        3         $155.64
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 56 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty   Amount
                                                                 Number                                       Number
                                                                                03/27/14       4377451        108810         FM906 FM 906 HELMET
 47905 LUMINANT KOSSE MINE                             5238      3156950        Total                                                                                                  3    $155.64
                                                       5247      3156951        03/27/14       4380987        109877          LEW1800HTP LEWCO 18 OZ SILICA BLANKET                    1    $493.75
                                                                                Total                                                                                                  1    $493.75
                                                       5256      3156952        03/27/14       4381362        110638          LIN70185325 5/32x14 Lincoln® 7018 5TB(20CT)             10     $18.63
                                                                                Total                                                                                                 10     $18.63
                                                       5265      3156953        03/27/14       4383620        111790          LIN70183325 3/32X14 LINCOLN½ 7018 5TB(20CT)             10     $19.25
                                                                                                                              VIC01101 0-1-101 CUTTING TIP                            16    $149.76
                                                                                                                              WES7 WE #7 NUT, OXYGEN                                  12      $4.54
                                                                                                                              WES17 WE #17 NIPPLE, HOSE BAR                           12      $4.54
                                                                                Total                                                                                                 50    $178.09
                                                       5274      3156954        03/27/14       4384376        112135          PRO32 PROFAX PX32 INSULATOR                             11      $9.13
                                                                                                                              PRO2250 PROFAX 22-50 NOZZLE 1/2"                        11     $20.57
                                                                                Total                                                                                                 22     $29.70
                                                       5283      3156955        03/27/14       4384772        111801          WES7323 WESTERN 7323 BRASS FERRULE                      11     $15.73
                                                                                Total                                                                                                 11     $15.73
                                                       5292      3157594        03/28/14       4385989        112918          120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              3    $220.32
                                                                                Total                                                                                                  3    $220.32
                                                       5301      3160167        04/03/14       4379509        109671          120303 ACETYLENE, EXTRA LARGE                            1    $102.24
                                                                                Total                                                                                                  1    $102.24
                                                       5310      3160168        04/03/14       4381362        110638          LIN70185325 5/32x14 Lincoln® 7018 5TB(20CT)             10     $18.63
                                                                                Total                                                                                                 10     $18.63
                                                       5319      3160169        04/03/14       4381743        110828          MARK375F TEMPILSTIK ONLY       375 F                     2     $21.50
                                                                                Total                                                                                                  2     $21.50
                                                       5328      3160170        04/03/14       4382863        111402          VIC61101 6-1-101 CUTTING TIP                            11    $102.99
                                                                                Total                                                                                                 11    $102.99
                                                       5337      3160171        04/03/14       4383620        111790          HOS14TWINRT 1/4" TWIN HOSE-GRADE "T"                   700    $822.50
                                                                                                                              WES7 WE #7 NUT, OXYGEN                                  14      $5.29
                                                                                Total                                                                                                714    $827.79
                                                       5346      3160172        04/03/14       4384725        112266          VICETS4125540 ETS4 HIGH CAPACITY 2 STAGE..               1    $301.88
                                                                                Total                                                                                                  1    $301.88
                                                       5355      3160173        04/03/14       4384726        112291          VICETS415510 ETS4 HIGH CAPACITY 2 STAGE ..               1    $301.88
                                                                                Total                                                                                                  1    $301.88
                                                       5364      3160174        04/03/14       4385052        112435          PRO14H116 PROFAX PX14H-116 CONTACT TIP*..               21     $11.97
                                                                                Total                                                                                                 21     $11.97
                                                       5373      3160175        04/03/14       4385832        112492          VIC41118 4-1-118 BENT GOUGING TIP                        3     $68.10
                                                                                Total                                                                                        3
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$68.10
                                                                                                                                                                                          The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 57 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                04/03/14       4385832        112492         VIC41118 4-1-118 BENT GOUGING TIP
 47905 LUMINANT KOSSE MINE                             5373      3160175        Total                                                                                                  3      $68.10
                                                       5382      3160176        04/03/14       4385844        112853          PRO32 PROFAX PX32 INSULATOR                             11       $9.13
                                                                                Total                                                                                                 11       $9.13
                                                       5391      3160177        04/03/14       4386609        113199          LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..              10       $2.85
                                                                                Total                                                                                                 10       $2.85
                                                       5400      3160178        04/03/14       4387676        113367          CAB40BL NEOPRENE #4/0 BLACK WELDING CA..               250     $952.50
                                                                                                                              HOS14SG SINGLE LINE HOSE 1/4 GREEN                     250     $110.00
                                                                                                                              WESCK5 WE #CK-5 HOSE REPAIR KIT                          2     $127.48
                                                                                Total                                                                                                502    $1,189.98
                                                       5409      3160179        04/03/14       4387711        113673          120111 OXYGEN, 307 CF                                    2      $14.04
                                                                                                                              120141 NITROGEN, UHP, 230 CF                             1      $30.24
                                                                                                                              120174 NITROGEN, LIQUID XL-240 5,811 CF                  2     $136.00
                                                                                                                              120180 RBO-075 25% CO2 BALANCE ARGON, 35..               2      $47.62
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            2     $204.48
                                                                                                                              120328 PROPANE, 005 GALLON                               1      $15.00
                                                                                Total                                                                                                 10     $447.38
                                                       5418      3160180        04/03/14       4388391        114021          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    5      $20.63
                                                                                Total                                                                                                  5      $20.63
                                                       5427      3160181        04/03/14       4389190        114377          SINGSC5OR SINGER SC-5 FILTRA ORANGE 5X5..                5     $340.31
                                                                                Total                                                                                                  5     $340.31
                                                       5436      3160182        04/03/14       4389196        111801          WES7323 WESTERN 7323 BRASS FERRULE                       0      ($9.35)
                                                                                Total                                                                                                  0      ($9.35)
                                                       5445      3162024        04/08/14       4391380        114377          SINGSC5OR SINGER SC-5 FILTRA ORANGE 5X5..                0    ($270.00)
                                                                                Total                                                                                                  0    ($270.00)
                                                       5454      3162555        04/09/14       4389190        114377          ESAB701833210 E-7018 3/32 10#HSC ATOM AR..              30      $95.67
                                                                                Total                                                                                                 30      $95.67
                                                       5463      3162557        04/09/14       4391605        115303          120111 OXYGEN, 307 CF                                    4      $28.08
                                                                                                                              120164 ARGON, 336 CF                                     1      $22.68
                                                                                                                              120180 RBO-075 25% CO2 BALANCE ARGON, 35..               3      $71.43
                                                                                Total                                                                                                  8     $122.19
                                                       5472      3162558        04/09/14       4391619        115507          TUE108510 TEXAS UTILITIES #108510 FLAT SO..              3      $34.79
                                                                                Total                                                                                                  3      $34.79
                                                       5481      3162559        04/09/14       4392241        116016          LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..              10       $2.85
                                                                                                                              SHUR4501 4501 SPARK LIGHTER (EA)                         5      $12.40
                                                                                Total                                                                                                 15      $15.25
                                                                                04/17/14       4388685        113367          ZZD3DIR10/3SOOWBLK 10/3 BULK EXTENSION ..    250         $260.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 58 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty   Amount
                                                                 Number                                       Number
                                                       5481      3162559        Total
 47905 LUMINANT KOSSE MINE                             5490      3165821        04/17/14       4388685        113367          ZZD3DIR10/3SOOWBLK 10/3 BULK EXTENSION ..              250    $260.00
                                                                                Total                                                                                                250    $260.00
                                                       5499      3165822        04/17/14       4389190        114377          SINGSC5OR SINGER SC-5 FILTRA ORANGE 5X5..                4    $272.25
                                                                                Total                                                                                                  4    $272.25
                                                       5508      3165823        04/17/14       4391605        115303          120303 ACETYLENE, EXTRA LARGE                            1    $102.24
                                                                                Total                                                                                                  1    $102.24
                                                       5517      3165824        04/17/14       4391619        115507          TUE108510 TEXAS UTILITIES #108510 FLAT SO..              0      $0.47
                                                                                Total                                                                                                  0      $0.47
                                                       5526      3165825        04/17/14       4392241        116016          PRO1435 PROFAX 14-35 CONTACT TIP(TWE14-..               16      $6.56
                                                                                Total                                                                                                 16      $6.56
                                                       5535      3165826        04/17/14       4392515        116159          WA007061 WELD-AID 007061 UN-TREATED PADS                 6     $44.76
                                                                                Total                                                                                                  6     $44.76
                                                       5544      3165827        04/17/14       4392890        116426          LIN70183325 3/32X14 LINCOLN½ 7018 5TB(20CT)             10     $19.25
                                                                                                                              PRO14H45 PROFAX TIP 14H45 .045                          16      $8.64
                                                                                                                              PRO2250 PROFAX 22-50 NOZZLE 1/2"                        11     $20.57
                                                                                Total                                                                                                 37     $48.46
                                                       5553      3165828        04/17/14       4393516        116794          LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                    5     $20.63
                                                                                                                              LIN5P1810 5P 1/8 FLEETWELD 10# CAN                      30     $92.64
                                                                                                                              VIC315FC VICTOR 315FC TORCH HANDLE (VAN..                3    $481.29
                                                                                                                              VIC31101 3-1-101 CUTTING TIP                            20    $187.25
                                                                                Total                                                                                                 58    $781.81
                                                       5562      3165829        04/17/14       4394788        117217          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    5     $19.40
                                                                                Total                                                                                                  5     $19.40
                                                       5571      3165830        04/17/14       4394802        117138          LAPC678 LAPCO LAP-C 6 7/8 WELDERS CAP                    4     $16.50
                                                                                Total                                                                                                  4     $16.50
                                                       5580      3165831        04/17/14       4395073        117531          120111 OXYGEN, 307 CF                                    3     $21.06
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            2    $204.48
                                                                                                                              120328 PROPANE, 005 GALLON                               1     $15.00
                                                                                Total                                                                                                  6    $240.54
                                                       5589      3168600        04/24/14       4395095        117653          TIL3280L TILLMAN (3280) 30" LEATHER JACKET ..            1     $54.15
                                                                                Total                                                                                                  1     $54.15
                                                       5598      3168601        04/24/14       4396070        114595          DCOLABOR LABOR ON REPAIR                                 3    $315.00
                                                                                                                              ZZ39LINT133813 LINCOLN MODE SWITCH T133..                1     $50.60
                                                                                Total                                                                                                  4    $365.60
                                                       5607      3168602        04/24/14       4397260        118733          SOW70S603533 SOWESCO PINNACLE ER70S-6 ..               132    $138.60
                                                                                Total                                                                                      132         $138.60
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 59 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                04/24/14       4397260        118733         SOW70S603533 SOWESCO PINNACLE ER70S-6 ..
 47905 LUMINANT KOSSE MINE                             5607      3168602        Total                                                                                                132      $138.60
                                                       5616      3168603        04/24/14       4398504        119169          120111 OXYGEN, 307 CF                                    3       $21.06
                                                                                                                              120141 NITROGEN, UHP, 230 CF                             2       $60.48
                                                                                                                              120174 NITROGEN, LIQUID XL-240 5,811 CF                  1       $68.00
                                                                                                                              120303 ACETYLENE, EXTRA LARGE                            2      $204.48
                                                                                Total                                                                                                  8      $354.02
                                                       5625      3168604        04/24/14       4399735        119819          120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              3      $220.32
                                                                                Total                                                                                                  3      $220.32
                                                       5634      3170491        04/29/14       4397333        118335          WESF62 PHASE SEPERATOR, 3/8 NPT FX2 1/2" ..              5      $252.85
                                                                                Total                                                                                                  5      $252.85
                                                       5639      R758877        04/30/14       8758877        CREDC052SU      RNT1 Industrial LP : Acetylene : Large                   1        $9.60
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1       $24.00
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1      $181.12
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1        $9.60
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $161.60
                                                                                                                              RNT184 Liquids : Nitrogen : 5500 22psi                   1      $148.50
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1       $14.40
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1      $207.84
                                                                                                                              RNT260 Industrial LP : Propane : 5 Gallon                1      $258.88
                                                                                                                              RNT412 Spec Gas : Nitrogen Pure : Medium                 1       $54.60
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1       $14.40
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1       $14.40
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1       $72.90
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1       $24.30
                                                                                                                              RNT726 Liquids : Nitrogen : XL-240                       1       $99.00
                                                                                Total                                                                                                 15     $1,295.14
                                                       Total                                                                                                                        2,222   $12,888.20
 49200 LUMINANT THREE OAKS MINE                        567       R752562        03/31/14       8752562                        RNT1 Industrial LP : Acetylene : Large                   1      $138.88
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1      $176.96
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1       $14.88
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $54.56
                                                                                                                              RNT71 Industrial HP : CO2 : 50 lb                        1       $14.88
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1        $4.96
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1      $222.40
                                                                                                                              RNT173 Industrial HP : Nitrogen : Large                  1       $31.68
                                                                                                                              RNT184 Liquids : Nitrogen : 5500 22psi         1         $259.05
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 60 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             RNT173 Industrial HP : Nitrogen : Large
 49200 LUMINANT THREE OAKS MINE                        567       R752562        03/31/14       8752562                         RNT184 Liquids : Nitrogen : 5500 22psi                  1     $259.05
                                                                                                                               RNT202 Industrial HP : Oxygen : Medium                  1     $520.96
                                                                                                                               RNT475 Industrial LP : Acetylene : MC                   1      $35.04
                                                                                                                               RNT476 Industrial LP : Acetylene : B                    1      $14.88
                                                                                                                               RNT508 Industrial HP : Nitrogen : R-80                  1       $9.92
                                                                                                                               RNT509 Industrial HP : Oxygen : R-20                    1      $35.04
                                                                                                                               RNT512 Industrial HP : Oxygen : R-80                    1      $14.88
                                                                                                                               RNT702 Other Assets : Pallets : With Rails              1     $410.67
                                                                                Total                                                                                                 16    $1,959.64
                                                       2007      3045033        06/29/13       4242359                         120115 OXYGEN, 251 CF                                  11      $71.28
                                                                                                                               120158 NITROGEN, 080 CF                                 2      $10.00
                                                                                                                               120275 NITROGEN, LIQUID WITHDRAWL #55, 02..             2     $146.88
                                                                                                                               120300 ACETYLENE, LARGE                                 2     $191.10
                                                                                                                               120302 ACETYLENE, MEDIUM                                4     $158.00
                                                                                                                               DELIVERY DELIVERY/FUEL                                  1      $27.00
                                                                                                                               ESABDS7100UL04533 DS 7100 ULTRA .045X33#..            198     $661.32
                                                                                                                               PRO14H52 PROFAX CONTACT TIP 14H52 .052 (..              6       $3.24
                                                                                                                               PRO2350 PROFAX 23-50 NOZZLE(TWE23-50)                   6      $34.38
                                                                                Total                                                                                                232    $1,303.20
                                                       2016      3045033        08/13/13                                                                                               1    ($413.16)
                                                                                Total                                                                                                  1    ($413.16)
                                                       2025      3045033        08/13/13                                                                                               1    ($691.95)
                                                                                Total                                                                                                  1    ($691.95)
                                                       2241      3133129        01/31/14       4350901        93774            ATLWH40 ATLAS WH-40 CHIPPING HAMMER                     3      $35.76
                                                                                Total                                                                                                  3      $35.76
                                                       2250      3133129        03/17/14                                                                                               1     ($22.02)
                                                                                Total                                                                                                  1     ($22.02)
                                                       2457      3153921        03/20/14       4370893        105548           ZZ15ESABSPOOLARC8311 SPOOL ARC 83 035 ..               44     $162.36
                                                                                Total                                                                                                 44     $162.36
                                                       2466      3153922        03/20/14       4374710        107490           ZZFPJPT1197700 6# 36" SLEDGE                            4      $79.04
                                                                                Total                                                                                                  4      $79.04
                                                       2475      3153924        03/20/14       4376404        107496           ZZNHLINK26135 LINCOLN LN 25 FEEDER K2613..              1    $1,818.45
                                                                                Total                                                                                                  1    $1,818.45
                                                       2484      3153925        03/20/14       4376406        107496           PROLN250404515 PROFAX LN250-4045-15 MIG ..              1     $314.47
                                                                                Total                                                                                                  1     $314.47
                                                                                03/20/14       4376436        108304           ZZD3LINS7525-21 LINCOLN CHOKE CONTROL         1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$26.29
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 61 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                             Shipped Qty    Amount
                                                                 Number                                       Number
                                                       2484      3153925        Total
 49200 LUMINANT THREE OAKS MINE                        2493      3153926        03/20/14       4376436        108304          ZZD3LINS7525-21 LINCOLN CHOKE CONTROL                       1      $26.29
                                                                                Total                                                                                                     1      $26.29
                                                       2502      3155224        03/24/14       4382922        107496          PROLN250404515 PROFAX LN250-4045-15 MIG ..                  0    ($141.28)
                                                                                Total                                                                                                     0    ($141.28)
                                                       2511      3156309        03/26/14       4375889        107975          NEL101010183 ** 100/BX ** 1/2" X 1 1/2" THREAD..            5      $78.75
                                                                                Total                                                                                                     5      $78.75
                                                       2520      3156310        03/26/14       4377265        108681          HYP120573 HYPERTHERM 120573 AIR ELECT                      10      $74.00
                                                                                                                              HYP120574 HYPERTHERM 120 574 ELECTRODE                     10      $71.10
                                                                                                                              HYP120576 HYPERTHERM 120 576 GAS DISTRU..                   2      $25.98
                                                                                                                              HYP120600 /HYPERTHERM 120 600 RETAIN CAP                    5     $104.45
                                                                                                                              HYP120606 HYPERTHERM 120 606 NOZZEL                         5      $18.15
                                                                                                                              HYP120828 HYPERTHERM 120828 SHIELD 40A ..                   5      $61.95
                                                                                                                              ZZNHHYP120831 HYPERTHERM 120831 TIP                         5      $33.90
                                                                                Total                                                                                                    42     $389.53
                                                       2529      3156311        03/26/14       4381152        110514          ESAB80181850 ESAB 8018 C3 1/8" 50# HSC (E-8..             100     $279.00
                                                                                                                              ESAB701833250 E-7018 3/32 50#HSC ATOM AR..                100     $227.00
                                                                                                                              ESAB701853250 E-7018 5/32 50#HSC ATOM AR..                100     $214.00
                                                                                                                              ESAB801831650 ESAB 8018 3/16 50# HSC (E-801..             100     $284.00
                                                                                                                              ESAB801833250 ESAB 8018 3/32" 50# HSC (E-80..             100     $274.00
                                                                                Total                                                                                                   500    $1,278.00
                                                       2538      3156312        03/26/14       4381741        110860          120143 NITROGEN, 300 CF                                     1       $7.02
                                                                                                                              120302 ACETYLENE, MEDIUM                                    2      $84.54
                                                                                Total                                                                                                     3      $91.56
                                                       2547      3156313        03/26/14       4383300        111565          120115 OXYGEN, 251 CF                                       6      $38.88
                                                                                                                              120143 NITROGEN, 300 CF                                     1       $7.02
                                                                                                                              120302 ACETYLENE, MEDIUM                                    4     $169.08
                                                                                Total                                                                                                    11     $214.98
                                                       2556      3156974        03/27/14       4384751        112348          ESAB801853250 ESAB 8018 5/32" 50# HSC (E-80..             400    $1,096.00
                                                                                Total                                                                                                   400    $1,096.00
                                                       2565      3160706        04/04/14       4373176        106685          VIC11101 1-1-101 CUT TIP                                    6      $56.16
                                                                                                                              VIC21101 2-1-101 CUTTING TIP                                6      $55.95
                                                                                Total                                                                                                    12     $112.11
                                                       2574      3160707        04/04/14       4385836        112496          MGFSKCS16OZ MAGNAFLUX SKC-S CLEANER -..                    27     $349.38
                                                                                Total                                                                                                    27     $349.38
                                                       2583      3161386        04/07/14       4381152        110514          ESAB801833250 ESAB 8018 3/32" 50# HSC (E-80..             150     $411.00
                                                                                Total                                                                                      150         $411.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15           Page 62 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                         Shipped Qty    Amount
                                                             Number                                      Number
                                                                           04/07/14       4381152        110514         ESAB801833250 ESAB 8018 3/32" 50# HSC (E-80..
 49200 LUMINANT THREE OAKS MINE                     2583     3161386       Total                                                                                               150      $411.00
                                                    2592     3161387       04/07/14       4389808        114736         LIN70183325 3/32X14 LINCOLN½ 7018 5TB(20CT)             20       $43.60
                                                                           Total                                                                                                20       $43.60
                                                    2601     3161388       04/07/14       4389812        114737         120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              5      $367.20
                                                                           Total                                                                                                 5      $367.20
                                                    2610     3165243       04/16/14       4380998        109966         LINKP1697045C LIN KP1697-045C .045 DRIVE R..             1       $45.83
                                                                                                                        ZZGBLINKP1696-045S LINCOLN DRIVE ROLL KI..               1       $45.83
                                                                           Total                                                                                                 2       $91.66
                                                    2619     3165244       04/16/14       4385548        112678         UNI50155 UNION TOOLS 50155 SCOOP SHOVEL                  7      $475.02
                                                                           Total                                                                                                 7      $475.02
                                                    2628     3165245       04/16/14       4385827        107975         NEL101302286 1/2" NUT HEX DRIVE BX 100                   5      $262.50
                                                                           Total                                                                                                 5      $262.50
                                                    2637     3165246       04/16/14       4394797        117403         120115 OXYGEN, 251 CF                                    6       $38.88
                                                                                                                        120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              1       $73.44
                                                                           Total                                                                                                 7      $112.32
                                                    2646     3168620       04/24/14       4396962        118605         ESAB70181850 E-7018 1/8 50#HSC ATOM ARC E..            300      $654.00
                                                                                                                        ESAB701853250 E-7018 5/32 50#HSC ATOM AR..             200      $436.00
                                                                                                                        LENHT35 LENCO HT-35 350 AMP ELECT.HOLDE..                4       $86.52
                                                                                                                        VIC8MFA 8 MFA HEATING NOZZLE                             4      $411.72
                                                                                                                        VIC315FC VICTOR 315FC TORCH HANDLE (VAN..                4      $660.12
                                                                                                                        VICCA2460 CA 2460 CUTTING ATTACHMENT W/..                4      $786.60
                                                                                                                        VICESS4125510 VICTOR ESS4-125-510 EDGE R..               3      $464.04
                                                                                                                        VICESS4125540 VICTOR ESS4-125-540 EDGE R..               3      $464.04
                                                                           Total                                                                                               522    $3,963.04
                                                    2655     3168621       04/24/14       4397010        118618         SHUR4501 4501 SPARK LIGHTER (EA)                        30       $74.37
                                                                           Total                                                                                                30       $74.37
                                                    2664     3168622       04/24/14       4398943        119457         120275 NITROGEN, LIQUID WITHDRAWL #55, 02..              4      $293.76
                                                                           Total                                                                                                 4      $293.76
                                                    2669     R759103       04/30/14       8759103                       RNT1 Industrial LP : Acetylene : Large                   1      $134.24
                                                                                                                        RNT2 Industrial LP : Acetylene : Medium                  1      $172.48
                                                                                                                        RNT4 Industrial LP : Acetylene : Extra Large             1       $14.40
                                                                                                                        RNT43 Industrial HP : Argon : Large                      1       $52.80
                                                                                                                        RNT71 Industrial HP : CO2 : 50 lb                        1       $14.40
                                                                                                                        RNT92 Industrial HP : Helium : Medium                    1        $4.80
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                   1      $211.20
                                                                                                                        RNT173 Industrial HP : Nitrogen : Large              1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$38.40
                                                                                                                                                                                          The
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                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 63 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT163 Industrial Mix : RBO 75 : Large
 49200 LUMINANT THREE OAKS MINE                        2669      R759103        04/30/14       8759103                        RNT173 Industrial HP : Nitrogen : Large                  1       $38.40
                                                                                                                              RNT184 Liquids : Nitrogen : 5500 22psi                   1      $237.60
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1      $498.40
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1       $43.20
                                                                                                                              RNT476 Industrial LP : Acetylene : B                     1       $14.40
                                                                                                                              RNT508 Industrial HP : Nitrogen : R-80                   1        $9.60
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1       $43.20
                                                                                                                              RNT512 Industrial HP : Oxygen : R-80                     1       $14.40
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1      $386.37
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1        $6.48
                                                                                Total                                                                                                 17     $1,896.37
                                                       Total                                                                                                                        2,074   $16,031.95
 50625 LUMINANT SANDOW #5 SES                          432       R752786        03/31/14       8752786        vessel 11353    RNT1 Industrial LP : Acetylene : Large                   1      $114.08
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1        $4.96
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1        $4.96
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1      $183.52
                                                                                                                              RNT72 Industrial HP : CO2 : 50 lb Diptube                1      $297.60
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1      $377.78
                                                                                                                              RNT87 Spec Gas : _Spec Mix : 32AL                        1       $48.36
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1       $84.32
                                                                                                                              RNT172 Industrial HP : Nitrogen : Medium                 1       $14.88
                                                                                                                              RNT173 Industrial HP : Nitrogen : Large                  1       $49.60
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1      $173.60
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1       $24.18
                                                                                                                              RNT474 Spec Gas : Nitrogen Pure : AL152                  1       $22.62
                                                                                                                              RNT475 Industrial LP : Acetylene : MC                    1      $104.16
                                                                                                                              RNT509 Industrial HP : Oxygen : R-20                     1       $94.24
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1       $50.22
                                                                                                                              RNT768 Other Assets : Tube Trailer : H2                  1     $2,000.00
                                                                                                                              RNT872 Cylinder Cart                                     1       $50.00
                                                                                Total                                                                                                 18     $3,699.08
                                                       2835      3136929        02/10/14       4359394        98373           124013 55PPM NO 22PPM SO2 11% CO2 IN N2 E..              1      $375.00
                                                                                                                              124015 CARBON MONOXIDE 110 PPM BAL N2 E..                1      $225.00
                                                                                                                              124512 275PPM NO 1590PPM SO2 11% CO2 IN ..               1      $375.00
                                                                                                                              125037 CARBON MONOXIDE 2750PPM BAL N2 E..                1      $225.00
                                                                                Total                                                                                        4       $1,200.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15          Page 64 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty     Amount
                                                             Number                                      Number
                                                                           02/10/14       4359394        98373          125037 CARBON MONOXIDE 2750PPM BAL N2 E..
 50625 LUMINANT SANDOW #5 SES                       2835     3136929       Total                                                                                               4     $1,200.00
                                                    2844     3136929       03/27/14                                                                                            1    ($1,145.07)
                                                                           Total                                                                                               1    ($1,145.07)
                                                    2871     3139102       02/14/14       4362606        98373         GASCREDIT GAS CONTENT CREDIT                            -1     ($45.00)
                                                                           Total                                                                                               -1     ($45.00)
                                                    2988     3153941       03/20/14       4373304        106393        CKW41V35 CK 200M BACKCAP MEDIUM (W/O-R..               50        $69.00
                                                                                                                       CKW105Z57 CK 15PCA CABLE ADAPTER                       30       $132.90
                                                                           Total                                                                                              80       $201.90
                                                    2997     3153942       03/20/14       4373323        106392        ESAB7018MO33250 E-7018-MO 3/32 50#. ATOM ..          1,500    $5,040.00
                                                                           Total                                                                                            1,500    $5,040.00
                                                    3006     3153943       03/20/14       4374195        106798        DYNDF73116 NOZZLE DIP GEL DF731-16 (CRES..              4        $15.85
                                                                                                                       LIN5P+1850 5P+ 1/8 FLEETWELD 50# HSC                  500     $1,296.00
                                                                                                                       MIL199605 MILLER 199605 .035 TIPS HEAVY DU..           50        $92.50
                                                                                                                       PRO9FV25R 9FV-25R TIG TORCH AND CABLE A..              30     $2,379.30
                                                                                                                       PRO45V45 PROFAX 45V45 1/8 COLLET                      124       $678.90
                                                                                                                       PRO53N59 PROFAX 53N59 #5 ALUMINA NOZZLE                38        $50.92
                                                                                                                       PRO1074 PROFAX 1074 CABLE BOOT                         24       $196.56
                                                                                                                       SHUR4501 4501 SPARK LIGHTER (EA)                       24        $59.50
                                                                                                                       SOW70S21836 SOWESCO ER70S-2 1/8 X 36" TI..             80       $159.04
                                                                                                                       SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..             60       $120.00
                                                                                                                       SOW80SB21836 SOWESCO ER80SB-2 1/8X36" ..               80       $203.20
                                                                                                                       TIL554 TILLMAN 554 BACKHAND PAD-CD                     10        $53.50
                                                                                                                       TIL9818 TILLMAN # 9818 KEVLAR KNIT SLEEVES            120       $790.80
                                                                                                                       TUE461936 WIRE WELDING, DS 70 ULTRA, 035 ..             8     $1,122.99
                                                                                                                       VIC01101 0-1-101 CUTTING TIP                           36       $336.96
                                                                                                                       VIC001101 00-1-101 CUTTING TIP                         36       $336.96
                                                                                                                       WEL2X414HT11 GLASS LENS 2X4-1/4 HEAT TR..              30        $18.90
                                                                                                                       WEL2X414HT-10 GLASS LENS 2X4-1/4 HEAT TR..             46        $27.32
                                                                                                                       WYP1 WYPO #1 STANDARD TIP CLEANER                      50        $89.50
                                                                           Total                                                                                            1,350    $8,028.70
                                                    3015     3153944       03/20/14       4374230        106799        ESAB7018MO1850 E-7018-MO 1/8 50#HS ATOM ..            800     $2,504.00
                                                                                                                       ESAB8018CM33250 ATOM ARC 8018-CM (8018-..             500     $2,017.50
                                                                                                                       PRO53N60 PROFAX 53N60 #6 GAS LENS ALUMI..              74        $97.61
                                                                                                                       SOW80SB233236 SOWESCO ER80SB2 3/32 X 36..              50       $129.50
                                                                                                                       TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..               40     $1,616.00
                                                                                                                       VIC11101 1-1-101 CUT TIP
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and24         $224.64
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 65 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..
 50625 LUMINANT SANDOW #5 SES                          3015      3153944        03/20/14       4374230        106799         VIC11101 1-1-101 CUT TIP                                 24      $224.64
                                                                                                                              WESCK5 WE #CK-5 HOSE REPAIR KIT                          2      $125.28
                                                                                Total                                                                                               1,490    $6,714.53
                                                       3024      3153945        03/20/14       4374657        106798          LEW3600HTP LEWCO 36"X50LY 36OZ HIGH TE..                27    $18,478.26
                                                                                Total                                                                                                 27    $18,478.26
                                                       3033      3153946        03/20/14       4377709        108921          124015 CARBON MONOXIDE 110 PPM BAL N2 E..                1      $225.00
                                                                                Total                                                                                                  1      $225.00
                                                       3042      3153947        03/20/14       4378712        109326          124015 CARBON MONOXIDE 110 PPM BAL N2 E..                1      $225.00
                                                                                Total                                                                                                  1      $225.00
                                                       3051      3153948        03/20/14       4379870        109957          ESAB701833250 E-7018 3/32 50#HSC ATOM AR..             250      $580.00
                                                                                Total                                                                                                250      $580.00
                                                       3060      3153949        03/20/14       4380532        110153          124512 275PPM NO 1590PPM SO2 11% CO2 IN ..               1      $330.00
                                                                                Total                                                                                                  1      $330.00
                                                       3069      3156326        03/26/14       4374195        106798          PRO53N59 PROFAX 53N59 #5 ALUMINA NOZZLE                 36       $48.24
                                                                                Total                                                                                                 36       $48.24
                                                       3078      3156327        03/26/14       4384326        112302          ESAB701833250 E-7018 3/32 50#HSC ATOM AR..             600     $1,361.40
                                                                                                                              LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             300       $85.50
                                                                                                                              MARK300F TEMPILSTIK ONLY       300 F                    10       $88.38
                                                                                                                              MARK350F TEMPILSTIK ONLY       350 F                     9       $79.54
                                                                                                                              MARK400F TEMPILSTIK ONLY       400 F                    12      $106.06
                                                                                                                              SOAPFLAT SOAPSTONE FLAT SELECT #1                      288       $25.92
                                                                                                                              WESAW430 WE #AW-430 COUPLER, INERT A                    40      $118.40
                                                                                Total                                                                                               1,259    $1,865.20
                                                       3087      3158266        03/31/14       4384326        112302          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..               24      $321.60
                                                                                                                              MARK300F TEMPILSTIK ONLY       300 F                     2       $17.68
                                                                                                                              MARK350F TEMPILSTIK ONLY       350 F                     3       $26.51
                                                                                                                              SOAPFLAT SOAPSTONE FLAT SELECT #1                      576       $51.84
                                                                                                                              SOAPROUND SOAPSTONE ROUND SELECT #1                    864       $77.76
                                                                                                                              WESAW430 WE #AW-430 COUPLER, INERT A                    60      $177.60
                                                                                Total                                                                                               1,529     $672.99
                                                       3096      3158267        03/31/14       4386712        113237          124013 55PPM NO 22PPM SO2 11% CO2 IN N2 E..              1      $375.00
                                                                                Total                                                                                                  1      $375.00
                                                       3105      3160725        04/04/14       4387643        113483          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..               22      $295.90
                                                                                                                              LENLC40HD LENCO LC-40 HD MALE & FEMALE ..                7      $115.01
                                                                                                                              LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             300       $85.50
                                                                                                                              SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and20
                                                                                                                                                                             Filter Zero.$40.00
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 66 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                                                             LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..
 50625 LUMINANT SANDOW #5 SES                          3105      3160725        04/04/14       4387643        113483         SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..               20      $40.00
                                                                                Total                                                                                                349     $536.41
                                                       3114      3160726        04/04/14       4387715        113545          124013LIN 55PPM NO 22PPM SO2 11% CO2 IN N..              1     $375.00
                                                                                Total                                                                                                  1     $375.00
                                                       3123      3160727        04/04/14       4388766        114155          125037 CARBON MONOXIDE 2750PPM BAL N2 E..                1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       3132      3162046        04/08/14       4387643        113483          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                2      $26.90
                                                                                                                              LENLC40HD LENCO LC-40 HD MALE & FEMALE ..                5      $82.15
                                                                                Total                                                                                                  7     $109.05
                                                       3141      3162047        04/08/14       4391045        115173          120124 OXYGEN, 020 CF                                    3      $17.82
                                                                                                                              120180 RBO-075 25% CO2 BALANCE ARGON, 35..              15     $357.15
                                                                                                                              120312 ACETYLENE, MC                                     7      $61.25
                                                                                Total                                                                                                 25     $436.22
                                                       3150      3162575        04/09/14       4392545        116245          ESAB701833250 E-7018 3/32 50#HSC ATOM AR..             500    $1,134.50
                                                                                                                              SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..             100     $200.00
                                                                                                                              WES30 WE #30 COUPLER, HOSE                              50      $36.30
                                                                                                                              WES31 WE #31 COUPLER, HOSE                              50      $37.05
                                                                                Total                                                                                                700    $1,407.85
                                                       3159      3163612        04/11/14       4388499        113829          CKW13N24 CK 2C418 (13N24) COLLET FOR 1/8"              100      $50.00
                                                                                                                              CKW41V33 CK 200S BACKCAP SHORT (W/O-RI..                50      $69.00
                                                                                Total                                                                                                150     $119.00
                                                       3168      3163613        04/11/14       4392262        115938          124015 CARBON MONOXIDE 110 PPM BAL N2 E..                1     $225.00
                                                                                                                              125037 CARBON MONOXIDE 2750PPM BAL N2 E..                1     $225.00
                                                                                Total                                                                                                  2     $450.00
                                                       3177      3163614        04/11/14       4392575        116245          CKW10N25 CK 3C418 (10N25) COLLET FOR 1/8"               50      $78.00
                                                                                                                              CKW41V35 CK 200M BACKCAP MEDIUM (W/O-R..                40      $54.80
                                                                                                                              SOW70S21836 SOWESCO ER70S-2 1/8 X 36" TI..             100     $198.00
                                                                                Total                                                                                                190     $330.80
                                                       3186      3163615        04/11/14       4392645        116289          CKW41V33 CK 200S BACKCAP SHORT (W/O-RI..                30      $41.40
                                                                                                                              CKW53N61 53N61 #7 ALUMINA NOZZLE                        30      $15.00
                                                                                                                              CKW53N61S CK WORLDWIDE #8 ALUMINUM N..                  30      $15.00
                                                                                                                              LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             500     $140.00
                                                                                Total                                                                                                590     $211.40
                                                       3195      3163616        04/11/14       4392656        116305          120238 ARGON, LIQUID #55, 5300 CF                        2     $510.30
                                                                                Total                                                                                                  2     $510.30
                                                                                                                              CKW10N25 CK 3C418 (10N25) COLLET FOR 1/8"
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and-50         ($78.00)
                                                                                                                                                                              Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15           Page 67 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                        Shipped Qty     Amount
                                                             Number                                      Number
                                                    3195     3163616       Total
 50625 LUMINANT SANDOW #5 SES                       3204     3164203       04/14/14       4394805        116245         CKW10N25 CK 3C418 (10N25) COLLET FOR 1/8"              -50     ($78.00)
                                                                                                                        CKW41V35 CK 200M BACKCAP MEDIUM (W/O-R..               -20     ($27.40)
                                                                           Total                                                                                               -70    ($105.40)
                                                    3213     3165260       04/16/14       4393410        116245         CKW13N24 CK 2C418 (13N24) COLLET FOR 1/8"              50        $25.00
                                                                           Total                                                                                               50        $25.00
                                                    3222     3165261       04/16/14       4394144        117032         124015 CARBON MONOXIDE 110 PPM BAL N2 E..               1       $225.00
                                                                           Total                                                                                                1       $225.00
                                                    3231     3165262       04/16/14       4395091        117633         FM110P FM 110PWE FACE AND EYE PROTECTI..                3       $150.72
                                                                           Total                                                                                                3       $150.72
                                                    3240     3168644       04/24/14       4386919        113203         124372 NOX 80PPM, CO2 11% B N2, EPA                     2       $660.00
                                                                           Total                                                                                                2       $660.00
                                                    3249     3168645       04/24/14       4392280        115964         123597LIN CARBON DIOXIDE,LASERLINE,4.6 G..              1       $204.24
                                                                                                                        124473 NITROGEN, UHP, SZ82                              1        $48.25
                                                                                                                        124699 HYDROGEN, UHP 5.0 GRADE 82SZ                     1        $35.98
                                                                           Total                                                                                                3       $288.47
                                                    3258     3168646       04/24/14       4397049                       MGFSKCS16OZ MAGNAFLUX SKC-S CLEANER -..                25       $311.00
                                                                           Total                                                                                               25       $311.00
                                                    3267     3169261       04/25/14       4400249        120052         100510 RBO-75, PALLET PACK 5696 CF                      1       $322.06
                                                                           Total                                                                                                1       $322.06
                                                    3276     3169262       04/25/14       4400363        88709          120191 CARBON DIOXIDE, 050 LB, DIP TUBE                33       $262.02
                                                                           Total                                                                                               33       $262.02
                                                    3285     3170526       04/29/14       4399419        119711         ZZD3UNIE10018M33250 UNIBRAZE E10018M 3/3..             50       $169.00
                                                                           Total                                                                                               50       $169.00
                                                    3294     3170527       04/29/14       4401484        121006         SOW3103328 SOWESCO 310 3/32 X 8#                      104     $1,527.76
                                                                           Total                                                                                              104     $1,527.76
                                                    3308     R759334       04/30/14       8759334        vessel 11353   RNT1 Industrial LP : Acetylene : Large                  1       $110.40
                                                                                                                        RNT2 Industrial LP : Acetylene : Medium                 1         $4.80
                                                                                                                        RNT4 Industrial LP : Acetylene : Extra Large            1         $4.80
                                                                                                                        RNT26 Spec Gas : CO2 Pure : 60 lb                       1         $2.08
                                                                                                                        RNT43 Industrial HP : Argon : Large                     1       $177.60
                                                                                                                        RNT52 Liquids : Argon : 5500                            1        $79.20
                                                                                                                        RNT72 Industrial HP : CO2 : 50 lb Diptube               1       $319.68
                                                                                                                        RNT80 Spec Gas : _Spec Mix : 152AL                      1       $350.48
                                                                                                                        RNT87 Spec Gas : _Spec Mix : 32AL                       1        $46.80
                                                                                                                        RNT163 Industrial Mix : RBO 75 : Large                  1       $136.80
                                                                                                                        RNT164 Industrial Mix : RBO 75 : Pallet-Pack         1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$18.48
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15            Page 68 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
                                                                                                                             RNT163 Industrial Mix : RBO 75 : Large
 50625 LUMINANT SANDOW #5 SES                          3308      R759334        04/30/14       8759334        vessel 11353   RNT164 Industrial Mix : RBO 75 : Pallet-Pack              1       $18.48
                                                                                                                               RNT172 Industrial HP : Nitrogen : Medium                1       $14.40
                                                                                                                               RNT173 Industrial HP : Nitrogen : Large                 1       $48.00
                                                                                                                               RNT203 Industrial HP : Oxygen : Large                   1      $166.88
                                                                                                                               RNT441 Spec Gas : SF6 Pure : 115 lb                     1       $23.40
                                                                                                                               RNT474 Spec Gas : Nitrogen Pure : AL152                 1       $23.40
                                                                                                                               RNT475 Industrial LP : Acetylene : MC                   1      $126.56
                                                                                                                               RNT509 Industrial HP : Oxygen : R-20                    1      $102.24
                                                                                                                               RNT702 Other Assets : Pallets : With Rails              1       $82.62
                                                                                                                               RNT768 Other Assets : Tube Trailer : H2                 1     $2,000.00
                                                                                                                               RNT783 Spec Gas : Nitrogen Pure : 82AL                  1        $2.08
                                                                                                                               RNT872 Cylinder Cart                                    1       $50.00
                                                                                                                               RNT1210 HYDROGEN, UHP, SZ 82                            1        $2.08
                                                                                Total                                                                                                 23     $3,892.78
                                                       Total                                                                                                                        9,789   $58,933.27
 50979 LUMINANT THERMO MINE                            306       R752852        03/31/14       8752852                         RNT1 Industrial LP : Acetylene : Large                  1        $4.96
                                                                                                                               RNT4 Industrial LP : Acetylene : Extra Large            1       $32.00
                                                                                                                               RNT43 Industrial HP : Argon : Large                     1       $14.88
                                                                                                                               RNT92 Industrial HP : Helium : Medium                   1       $34.72
                                                                                                                               RNT163 Industrial Mix : RBO 75 : Large                  1       $39.68
                                                                                                                               RNT172 Industrial HP : Nitrogen : Medium                1       $14.88
                                                                                                                               RNT183 Liquids : Nitrogen : 5500 HP                     1      $102.30
                                                                                                                               RNT184 Liquids : Nitrogen : 5500 22psi                  1       $51.15
                                                                                                                               RNT202 Industrial HP : Oxygen : Medium                  1       $44.64
                                                                                                                               RNT476 Industrial LP : Acetylene : B                    1        $4.96
                                                                                                                               RNT510 Industrial HP : Oxygen : R-40                    1        $4.96
                                                                                                                               RNT672 Medical HP : Oxygen USP : D Size                 1        $4.96
                                                                                                                               RNT702 Other Assets : Pallets : With Rails              1       $50.22
                                                                                Total                                                                                                 13      $404.31
                                                       684       3163081        04/10/14       4392298        116067           120146 NITROGEN, 230 CF                                 2       $14.04
                                                                                                                               120206 HELIUM, 244 CF INDUSTRIAL GRADE                  1       $85.00
                                                                                Total                                                                                                  3       $99.04
                                                       689       R759411        04/30/14       8759411                         RNT1 Industrial LP : Acetylene : Large                  1        $4.80
                                                                                                                               RNT4 Industrial LP : Acetylene : Extra Large            1       $28.80
                                                                                                                               RNT43 Industrial HP : Argon : Large                     1       $14.40
                                                                                                                               RNT92 Industrial HP : Helium : Medium         1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$33.60
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15             Page 69 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                        Shipped Qty     Amount
                                                             Number                                      Number
                                                                                                                        RNT43 Industrial HP : Argon : Large
 50979 LUMINANT THERMO MINE                         689      R759411       04/30/14       8759411                        RNT92 Industrial HP : Helium : Medium                  1        $33.60
                                                                                                                         RNT163 Industrial Mix : RBO 75 : Large                 1        $38.40
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium               1        $17.92
                                                                                                                         RNT183 Liquids : Nitrogen : 5500 HP                    1        $99.00
                                                                                                                         RNT184 Liquids : Nitrogen : 5500 22psi                 1        $49.50
                                                                                                                         RNT202 Industrial HP : Oxygen : Medium                 1        $43.20
                                                                                                                         RNT476 Industrial LP : Acetylene : B                   1         $4.80
                                                                                                                         RNT510 Industrial HP : Oxygen : R-40                   1         $4.80
                                                                                                                         RNT672 Medical HP : Oxygen USP : D Size                1         $4.80
                                                                                                                         RNT702 Other Assets : Pallets : With Rails             1        $48.60
                                                                           Total                                                                                               13       $392.62
                                                    Total                                                                                                                      29       $895.97
 51087 LUMINANT VALLEY SES                          504      R716657       11/30/13       716657         CREDC581SU      RNT71 Industrial HP : CO2 : 50 lb                      1         $9.00
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium               1        $54.00
                                                                           Total                                                                                                2        $63.00
                                                    540      R752886       03/31/14       8752886        CREDC581SU      RNT71 Industrial HP : CO2 : 50 lb                      1         $9.92
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium               1        $59.52
                                                                           Total                                                                                                2        $69.44
                                                    864      3140365       02/18/14       4362955        CREDC581SU      120146 NITROGEN, 230 CF                                6        $42.12
                                                                           Total                                                                                                6        $42.12
                                                    882      3152754       03/18/14       4380032        CREDB581        120162DS NITROGEN, LIQUID, BULK, PER CUBI..        35,754      $482.68
                                                                                                                         DELIVERY DELIVERY/FUEL                                 1       $159.00
                                                                           Total                                                                                            35,755      $641.68
                                                    891      3160738       04/04/14       4390352        CREDB581        120162DS NITROGEN, LIQUID, BULK, PER CUBI..        36,312      $490.21
                                                                                                                         DELIVERY DELIVERY/FUEL                                 1       $159.00
                                                                           Total                                                                                            36,313      $649.21
                                                    900      3168649       04/24/14       4400246        CREDB581        120162DS NITROGEN, LIQUID, BULK, PER CUBI..        32,122      $433.65
                                                                                                                         DELIVERY DELIVERY/FUEL                                 1       $159.00
                                                                           Total                                                                                            32,123      $592.65
                                                    909      3170539       04/29/14       4400915        CREDC581SU      120146 NITROGEN, 230 CF                                7        $49.14
                                                                           Total                                                                                                7        $49.14
                                                    914      R759444       04/30/14       8759444        CREDC581SU      RNT71 Industrial HP : CO2 : 50 lb                      1         $9.60
                                                                                                                         RNT172 Industrial HP : Nitrogen : Medium               1        $57.60
                                                                           Total                                                                                                2        $67.20
                                                    Total                                                                                                                  104,210    $2,174.44
                                                                                                                         RNT1 Industrial LP : Acetylene : Large              1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$84.32
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 70 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty     Amount
                                                                 Number                                       Number
 51087 LUMINANT VALLEY SES                             Total
 51089 LUMINANT SANDOW #4                              567       R752887        03/31/14       8752887        CREDC162SU      RNT1 Industrial LP : Acetylene : Large                   1        $84.32
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1       $229.12
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1        $24.80
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1       $143.84
                                                                                                                              RNT52 Liquids : Argon : 5500                             1       $277.20
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1       $230.88
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1        $34.72
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1        $75.84
                                                                                                                              RNT173 Industrial HP : Nitrogen : Large                  1       $146.40
                                                                                                                              RNT175 Industrial HP : Nitrogen : Pallet-Pack            1        $40.04
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1         $4.96
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1       $221.12
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1       $381.92
                                                                                                                              RNT277 Industrial Mix : RBO 21 : Large                   1         $9.92
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1        $32.24
                                                                                                                              RNT502 Industrial HP : Helium : R-40                     1        $39.68
                                                                                                                              RNT524 Spec Gas : _Misc Pure : 32sz                      1         $8.06
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1        $62.37
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1        $32.40
                                                                                                                              RNT729 Spec Gas : Hydrogen Pure : 32AL                   1         $8.06
                                                                                Total                                                                                                 20     $2,087.89
                                                       666       2879616        02/04/13                                                                                               1      ($32.03)
                                                                                Total                                                                                                  1      ($32.03)
                                                       2520      2996890        04/25/13                                                                                               1      ($33.60)
                                                                                Total                                                                                                  1      ($33.60)
                                                       3654      3033469        06/03/13       4209721        49869           LAPC678 LAPCO LAP-C 6 7/8 WELDERS CAP                    6        $24.75
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4        $16.50
                                                                                Total                                                                                                 10        $41.25
                                                       5112      3138041        02/12/14       4343081        RETURNS         AME188CH AMETEK 188CH 36X50YD BLANKET,..                 -5   ($4,605.10)
                                                                                                                              DYNDF73116 NOZZLE DIP GEL DF731-16 (CRES..               -9     ($41.40)
                                                                                                                              ESAB347161810 ARCALOY 347 1/8 SS ELECT.                -110    ($981.20)
                                                                                                                              ESABDSII70UL03533 DS II 70 ULTRA .035X33# S..          -561   ($2,373.03)
                                                                                                                              HYUSF7104533 HYUNDAI SF-71 .045 X 33 LB. S..           -132    ($229.68)
                                                                                                                              SOW70S21836 SOWESCO ER70S-2 1/8 X 36" TI..             -180    ($363.60)
                                                                                                                              SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..             -260    ($527.80)
                                                                                                                              SOW70S603533 SOWESCO PINNACLE ER70S-6 ..    -462        ($540.54)
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 71 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty      Amount
                                                                 Number                                       Number
                                                                                                                             SOW70S233236 SOWESCO ER70S-2 3/32 X 36" ..
 51089 LUMINANT SANDOW #4                              5112      3138041        02/12/14       4343081        RETURNS        SOW70S603533 SOWESCO PINNACLE ER70S-6 ..                -462     ($540.54)
                                                                                                                              SOW70S604533 SOWESCO ER70S-6 045 33 LB ..              -165     ($174.90)
                                                                                                                              SOW80SB21836 SOWESCO ER80SB-2 1/8X36" ..               -110     ($394.90)
                                                                                                                              SOW80SB233236 SOWESCO ER80SB2 3/32 X 36..              -150     ($544.50)
                                                                                                                              SOW90SB31836 SOWESCO ER90S-B3 1/8X36"R..                -20      ($79.80)
                                                                                                                              SOW90SB333236 SOWESCO ER90S-B3 3/32X36..                -70     ($302.40)
                                                                                                                              SOW309L1810 SOWESCO 309L-16 1/8 10 LB CAN              -120    ($1,112.40)
                                                                                                                              SOW309L3328 SOWESCO 309L 3/32 X 6# CONT..              -258    ($2,226.54)
                                                                                                                              SOW316L1810 SOWESCO 316L-16 1/8 X 10                   -300    ($2,790.00)
                                                                                                                              SOW316L3326 SOWESCO 316L-16 3/32 ELECT P..             -258    ($3,173.40)
                                                                                                                              TIL554 TILLMAN 554 BACKHAND PAD-CD                      -24     ($149.04)
                                                                                                                              TIL9818 TILLMAN # 9818 KEVLAR KNIT SLEEVES              -84     ($641.76)
                                                                                                                              TUE110324 ARCAIR 3/16X12 DC CARBON (CAS..               -60   ($13,200.00)
                                                                                                                              TUE110325 ARCAIR 1/4 X 12CARBON (CASE 500..             -23    ($3,564.77)
                                                                                                                              ZZ15PROMAK2 PROFAX MAK-2 PLASTIC TIG P..                 -6      ($57.00)
                                                                                                                              ZZCFSOW309LMO04533 309LMOT1-1/4 .045 33#                -33     ($445.50)
                                                                                                                              ZZFPESAB316L1633210 316L-16 3/32 10#                   -460    ($5,658.00)
                                                                                                                              ZZFPESAB3471633210 347-16 3/32 10#                     -290    ($2,894.20)
                                                                                                                              ZZFWESABMC316L04533 MC SHIELD BRIGHT (2..              -198    ($1,855.26)
                                                                                Total                                                                                              -4,348   ($48,926.72)
                                                       5310      3153960        03/20/14       4371842        105776          MGFSKCS16OZ MAGNAFLUX SKC-S CLEANER -..                 27        $335.88
                                                                                                                              ZZD3MGF38725912 MAGNAFLUX ULTRAGEL II {..                3        $347.13
                                                                                Total                                                                                                 30        $683.01
                                                       5319      3153961        03/20/14       4375304        107610          LAPC678 LAPCO LAP-C 6 7/8 WELDERS CAP                    2          $8.29
                                                                                Total                                                                                                  2          $8.29
                                                       5328      3153962        03/20/14       4375327        107664          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    2          $8.25
                                                                                Total                                                                                                  2          $8.25
                                                       5337      3153963        03/20/14       4376254        108261          100121 NITROGEN, PALLET PACK 4,800 CF(300 ..             1        $115.56
                                                                                Total                                                                                                  1        $115.56
                                                       5346      3153964        03/20/14       4377129        108614          120111 OXYGEN, 307 CF                                   30        $210.60
                                                                                                                              120180 RBO-075 25% CO2 BALANCE ARGON, 35..              15        $357.15
                                                                                                                              120238 ARGON, LIQUID #55, 5300 CF                       12      $3,061.80
                                                                                                                              120302 ACETYLENE, MEDIUM                                18        $760.86
                                                                                Total                                                                                                 75      $4,390.41
                                                       5355      3153965        03/20/14       4379110        109330          123628 NITRIC OXIDE 27PPM, N2 EPA SZ 152                 1        $225.00
                                                                                Total                                                                                        1         $225.00
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 72 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                03/20/14       4379110        109330         123628 NITRIC OXIDE 27PPM, N2 EPA SZ 152
 51089 LUMINANT SANDOW #4                              5355      3153965        Total                                                                                                  1     $225.00
                                                       5364      3153966        03/20/14       4380526        109955          123764 SULFUR DIOXIDE 1800PPM / N2 EPA 152               1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       5373      3153968        03/20/14       4381996        88801           120236 HYDROGEN, TUBE TRAILER                        21,885    $536.18
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $848.00
                                                                                Total                                                                                              21,886   $1,384.18
                                                       5382      3156338        03/26/14       4380731        110330          ZZFWORSS2 ULLMAN INSPECTION MIRROR 3-1..                 4      $35.32
                                                                                Total                                                                                                  4      $35.32
                                                       5391      3156339        03/26/14       4381353        110606          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    4      $16.50
                                                                                Total                                                                                                  4      $16.50
                                                       5400      3156340        03/26/14       4382016        110932          120143 NITROGEN, 300 CF                                 10      $70.20
                                                                                Total                                                                                                 10      $70.20
                                                       5409      3156341        03/26/14       4382865        111395          LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                    3      $12.38
                                                                                                                              LENLC40M LENCO 2-LC-40 BLK MALE 05053                    6      $39.18
                                                                                Total                                                                                                  9      $51.56
                                                       5418      3156342        03/26/14       4382892        111363          123683 170 PPM NITRIC OXIDE BAL N2 EPA SZ1..             1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       5427      3156343        03/26/14       4383616        111761          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                8     $107.60
                                                                                                                              LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             100      $28.50
                                                                                Total                                                                                                108     $136.10
                                                       5436      3157625        03/28/14       4382865        111395          LENLC40M LENCO 2-LC-40 BLK MALE 05053                    6      $39.18
                                                                                Total                                                                                                  6      $39.18
                                                       5445      3157626        03/28/14       4385059        112473          LAPC7 LAPCO LAP-C 7 WELDERS CAP                          3      $12.38
                                                                                                                              LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    4      $16.50
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4      $16.50
                                                                                                                              LENLPG500 LENCO LPG-500 GROUND CLAMP ..                  6     $189.96
                                                                                Total                                                                                                 17     $235.34
                                                       5454      3157627        03/28/14       4385150        112549          LENLPG300 LENCO LPG-300 300 AMP GR. CLA..                3      $75.39
                                                                                Total                                                                                                  3      $75.39
                                                       5463      3157628        03/28/14       4385839        112796          120238 ARGON, LIQUID #55, 5300 CF                        6    $1,530.90
                                                                                Total                                                                                                  6    $1,530.90
                                                       5472      3158280        03/31/14       4383616        111761          LENHT2 LENCO HT-2 200 AMP ELECT.HOLDER ..                4      $53.80
                                                                                Total                                                                                                  4      $53.80
                                                       5481      3158281        03/31/14       4386606        113182          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    4      $16.50
                                                                                Total                                                                                                  4      $16.50
                                                                                                                              LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP          4
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$15.52
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 73 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                       5481      3158281        Total
 51089 LUMINANT SANDOW #4                              5490      3158282        03/31/14       4386610        113224          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    4      $15.52
                                                                                                                              LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                    3      $12.38
                                                                                Total                                                                                                  7      $27.90
                                                       5499      3158283        03/31/14       4386612        113238          120238 ARGON, LIQUID #55, 5300 CF                        4    $1,020.60
                                                                                Total                                                                                                  4    $1,020.60
                                                       5508      3160215        04/03/14       4389692        114631          CKW53N61 53N61 #7 ALUMINA NOZZLE                        20      $10.00
                                                                                                                              CKW53N61S CK WORLDWIDE #8 ALUMINUM N..                  20      $10.00
                                                                                Total                                                                                                 40      $20.00
                                                       5517      3160739        04/04/14       4384373        112118          TUE108510 TEXAS UTILITIES #108510 FLAT SO..              1      $11.75
                                                                                Total                                                                                                  1      $11.75
                                                       5526      3160740        04/04/14       4386755        113205          121019 CARBON DIOXIDE 18% BAL N2 EPA 152                 1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       5535      3160741        04/04/14       4387595        113580          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    4      $15.52
                                                                                                                              LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                    3      $12.38
                                                                                Total                                                                                                  7      $27.90
                                                       5544      3160742        04/04/14       4388860        114219          120238 ARGON, LIQUID #55, 5300 CF                        6    $1,530.90
                                                                                Total                                                                                                  6    $1,530.90
                                                       5553      3160743        04/04/14       4389189        114366          LENLC40M LENCO 2-LC-40 BLK MALE 05053                   12      $78.36
                                                                                Total                                                                                                 12      $78.36
                                                       5562      3160744        04/04/14       4389695        114631          ESAB701833250 E-7018 3/32 50#HSC ATOM AR..             400     $907.60
                                                                                Total                                                                                                400     $907.60
                                                       5571      3160745        04/04/14       4389726        114675          SOW309L1810 SOWESCO 309L-16 1/8 10 LB CAN               60     $505.80
                                                                                                                              SOW309L3328 SOWESCO 309L 3/32 X 6# CONT..              102     $910.86
                                                                                Total                                                                                                162    $1,416.66
                                                       5580      3162057        04/08/14       4374334        107276          FM706 FM 706 HELMET                                      3     $180.24
                                                                                Total                                                                                                  3     $180.24
                                                       5589      3162058        04/08/14       4388855        114244          TIL30S TILLMAN 30 PIGSKIN WELDING GLOVES..              12     $100.68
                                                                                Total                                                                                                 12     $100.68
                                                       5598      3162059        04/08/14       4389189        114366          LENLC40M LENCO 2-LC-40 BLK MALE 05053                    4      $26.12
                                                                                Total                                                                                                  4      $26.12
                                                       5607      3162060        04/08/14       4391493        115427          120238 ARGON, LIQUID #55, 5300 CF                        3     $765.45
                                                                                Total                                                                                                  3     $765.45
                                                       5616      3162061        04/08/14       4391576        114710          LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    4      $16.50
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4      $16.50
                                                                                                                              LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..             100      $28.50
                                                                                Total                                                                                      108
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$61.50
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 74 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty    Amount
                                                                 Number                                       Number
                                                                                04/08/14       4391576        114710         LENS2X414CP ANCHOR SP-1 2X4-1/4 PLASTIC ..
 51089 LUMINANT SANDOW #4                              5616      3162061        Total                                                                                                108      $61.50
                                                       5625      3163625        04/11/14       4389426        114529          ZZDFPRO9FV PROFAX 9FV TORCH BODY WITH..                 10     $206.30
                                                                                Total                                                                                                 10     $206.30
                                                       5634      3163626        04/11/14       4391493        115427          120238 ARGON, LIQUID #55, 5300 CF                        1     $255.15
                                                                                Total                                                                                                  1     $255.15
                                                       5643      3163627        04/11/14       4391588        115084          HAR40027 HARRIS PASTE SOLDER FLUX *4 OZ..                1       $3.13
                                                                                                                              LAPC7 LAPCO LAP-C 7 WELDERS CAP                          6      $24.75
                                                                                                                              LAPC678 LAPCO LAP-C 6 7/8 WELDERS CAP                    3      $12.38
                                                                                Total                                                                                                 10      $40.26
                                                       5652      3163628        04/11/14       4392206        116001          TUN1872GRD TUNGSTEN 1/8X7" 2% THOR. GR..                 3     $121.20
                                                                                                                              VIC11101 1-1-101 CUT TIP                                 8      $74.88
                                                                                                                              VIC41101 4-1-101 CUTTING TIP                             8      $74.88
                                                                                Total                                                                                                 19     $270.96
                                                       5661      3163629        04/11/14       4392269        115937          123666 CARBON MONOXIDE 2250PPM BAL N2 E..                1     $225.00
                                                                                Total                                                                                                  1     $225.00
                                                       5670      3163630        04/11/14       4392549        116238          100101 OXYGEN, PALLET PACK 4,912 CF                      2     $237.60
                                                                                Total                                                                                                  2     $237.60
                                                       5679      3165280        04/16/14       4393512        116766          LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    4      $15.52
                                                                                                                              LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    4      $16.50
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4      $16.50
                                                                                Total                                                                                                 12      $48.52
                                                       5688      3166390        04/18/14       4397595        88801           120236 HYDROGEN, TUBE TRAILER                        23,662    $579.72
                                                                                                                              DELIVERY DELIVERY/FUEL                                   1     $848.00
                                                                                Total                                                                                              23,663   $1,427.72
                                                       5697      3168650        04/24/14       4394794        117396          120111 OXYGEN, 307 CF                                   14      $98.28
                                                                                                                              120143 NITROGEN, 300 CF                                 10      $70.20
                                                                                Total                                                                                                 24     $168.48
                                                       5706      3168651        04/24/14       4397247        118686          LAPC7 LAPCO LAP-C 7 WELDERS CAP                          6      $24.75
                                                                                                                              LAPC712 LAPCO LAP-C 7 1/2 WELDERS CAP                    4      $15.52
                                                                                                                              LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                    4      $16.50
                                                                                                                              LAPC734 LAPCO LAP-C 7 3/4 WELDERS CAP                    4      $16.50
                                                                                Total                                                                                                 18      $73.27
                                                       5715      3168652        04/24/14       4398099        119020          123678 SULFUR DIOXIDE 330PPM BAL N2 EPA 1..              1     $225.00
                                                                                                                              123738 SULFUR DIOXIDE 1375PPM BAL N2 EPA ..              1     $225.00
                                                                                Total                                                                                                  2     $450.00
                                                                                                                              ESAB309L1633210 ARCALOY 309L-16 3/32" (E30..
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and50         $539.00
                                                                                                                                                                             Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                                  Case 14-10979-CSS                     Doc 4637-1        Filed 06/01/15           Page 75 of 79

Pre-Petition Item Detail

                                                                 Invoice                                      Purchase Order
 Customer                                              Seq No                   Invoice Date   Order Number                  Product                                          Shipped Qty      Amount
                                                                 Number                                       Number
                                                       5715      3168652        Total
 51089 LUMINANT SANDOW #4                              5724      3170540        04/29/14       4392418        115084          ESAB309L1633210 ARCALOY 309L-16 3/32" (E30..            50        $539.00
                                                                                                                              ESAB701853210 E-7018 5/32 10#HSC ATOM AR..              50        $146.00
                                                                                Total                                                                                                100        $685.00
                                                       5738      R759445        04/30/14       8759445        CREDC162SU      RNT1 Industrial LP : Acetylene : Large                   1         $81.60
                                                                                                                              RNT2 Industrial LP : Acetylene : Medium                  1        $268.80
                                                                                                                              RNT4 Industrial LP : Acetylene : Extra Large             1         $24.00
                                                                                                                              RNT43 Industrial HP : Argon : Large                      1        $157.28
                                                                                                                              RNT52 Liquids : Argon : 5500                             1        $742.50
                                                                                                                              RNT80 Spec Gas : _Spec Mix : 152AL                       1        $226.20
                                                                                                                              RNT92 Industrial HP : Helium : Medium                    1         $33.60
                                                                                                                              RNT163 Industrial Mix : RBO 75 : Large                   1        $115.20
                                                                                                                              RNT173 Industrial HP : Nitrogen : Large                  1        $129.60
                                                                                                                              RNT175 Industrial HP : Nitrogen : Pallet-Pack            1         $92.40
                                                                                                                              RNT202 Industrial HP : Oxygen : Medium                   1          $4.80
                                                                                                                              RNT203 Industrial HP : Oxygen : Large                    1        $296.48
                                                                                                                              RNT205 Industrial HP : Oxygen : Pallet-Pack              1        $369.60
                                                                                                                              RNT277 Industrial Mix : RBO 21 : Large                   1          $9.60
                                                                                                                              RNT441 Spec Gas : SF6 Pure : 115 lb                      1         $31.20
                                                                                                                              RNT502 Industrial HP : Helium : R-40                     1         $38.40
                                                                                                                              RNT524 Spec Gas : _Misc Pure : 32sz                      1          $7.80
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1        $174.15
                                                                                                                              RNT703 Other Assets : Pallets : WithOut Rails            1         $58.32
                                                                                                                              RNT729 Spec Gas : Hydrogen Pure : 32AL                   1          $7.80
                                                                                Total                                                                                                 20      $2,869.33
                                                       Total                                                                                                                       42,510   ($23,979.47)
 52286 LUMINANT SANDOW #5                              189       R697091        08/31/13                                                                                               1         $34.41
                                                                                Total                                                                                                  1         $34.41
                                                       252       R753150        03/31/14       8753150        CREDC865SU      RNT4 Industrial LP : Acetylene : Extra Large             1          $9.92
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1         $25.11
                                                                                Total                                                                                                  2         $35.03
                                                       293       R759721        04/30/14       8759721        CREDC865SU      RNT4 Industrial LP : Acetylene : Extra Large             1          $9.60
                                                                                                                              RNT702 Other Assets : Pallets : With Rails               1         $24.30
                                                                                Total                                                                                                  2         $33.90
                                                       Total                                                                                                                           5        $103.34
 56429 LUMINANT BECKVILLE MINE                         4599      2997011        03/12/13       4174633        B0209794 258    DELIVERY DELIVERY/FUEL                                   1          $9.00
                                                                                                                              STAFR601XXXL STANCO FR-601 CAPE W/COLL..       1
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero.$17.25
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15           Page 76 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                        Shipped Qty     Amount
                                                             Number                                      Number
                                                                                                                        DELIVERY DELIVERY/FUEL
 56429 LUMINANT BECKVILLE MINE                      4599     2997011       03/12/13       4174633        B0209794 258   STAFR601XXXL STANCO FR-601 CAPE W/COLL..                1        $17.25
                                                                           Total                                                                                                2        $26.25
                                                    4608     2997011       04/30/13                                                                                             1      ($21.67)
                                                                           Total                                                                                                1      ($21.67)
                                                    5193     3032749       05/31/13       4224035        B0209794 314   AME84CH AMETEK 84-CH SIL-TEMP BLANKET 3..               1       $461.25
                                                                                                                        DELIVERY DELIVERY/FUEL                                  1         $9.00
                                                                                                                        FM906 FM 906 HELMET                                     3       $134.66
                                                                                                                        WES626 WE #626 FERRULE, BRASS                          15         $3.90
                                                                           Total                                                                                               20       $608.81
                                                    5202     3032749       07/16/13                                                                                             1     ($576.82)
                                                                           Total                                                                                                1     ($576.82)
                                                    5688     3060518       08/07/13       4258184        BRDBL012 218   DELIVERY DELIVERY/FUEL                                  1         $9.00
                                                                                                                        REPAIR-T&G APPARATUS REPAIR (S)                         1       $162.60
                                                                           Total                                                                                                2       $171.60
                                                    6228     3094686       10/24/13       4306163        71372          DELIVERY DELIVERY/FUEL                                  1       ($9.00)
                                                                           Total                                                                                                1       ($9.00)
                                                    6318     3105522       11/19/13       4316200        76753          TIL3280M TILLMAN (3280) 30" LEATHER JACKET..            1        $62.78
                                                                           Total                                                                                                1        $62.78
                                                    Total                                                                                                                      28       $261.95
 56435 LUMINANT KOSSE MINE                          6966     3095304       10/25/13       4306888        BO209794 402   LIN70185325 5/32x14 Lincoln® 7018 5TB(20CT)            -10     ($18.60)
                                                                           Total                                                                                               -10     ($18.60)
                                                    6993     3096479       10/29/13       4308659        72030          DELIVERY DELIVERY/FUEL                                  1       ($9.00)
                                                                           Total                                                                                                1       ($9.00)
                                                    7119     3103174       12/30/13                                                                                             1     ($363.52)
                                                                           Total                                                                                                1     ($363.52)
                                                    7425     3169370       04/25/14       4398888        120447         120319DS PROPANE, BULK                                650     $1,696.50
                                                                           Total                                                                                              650     $1,696.50
                                                    Total                                                                                                                     642     $1,305.38
 56438 LUMINANT MONTICELLO RAILROAD                 234      R754032       03/31/14       8754032        CREDC026SU     RNT122 Industrial LP : HPG : 63 lb                      1         $4.96
                                                                           Total                                                                                                1         $4.96
                                                    612      3032770       05/31/13       4217859        QTOSZ87W       MIL217043 MILLER 217043 BATTERY CR2450                  6        $27.54
                                                                           Total                                                                                                6        $27.54
                                                    801      3106742       11/21/13       4317517        76404          WES624 WE #624 FERRULE, BRASS                          18         $2.95
                                                                           Total                                                                                               18         $2.95
                                                    855      3152844       03/18/14       4379048        109526         THD98254 THERMAL DYNAMICS 9-8254 120 AM..              10        $70.70
                                                                           Total
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and10
                                                                                                                                                                             Filter Zero.$70.70
                                                                                                                                                                                          The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15          Page 77 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty      Amount
                                                             Number                                      Number
                                                                           03/18/14       4379048        109526         THD98254 THERMAL DYNAMICS 9-8254 120 AM..
 56438 LUMINANT MONTICELLO RAILROAD                 855      3152844       Total                                                                                              10         $70.70
                                                    864      3156481       03/26/14       4381374        110682         ATLH ATLAS H CONE & CHISEL CHIPPING HAM..              2         $14.80
                                                                                                                        CRW20050 CREWS 20050 FIXED-FRONT GOGG..                2          $8.02
                                                                                                                        DEWD28402N 4 1/2" 10AMP ANGLE GRINDER                  2        $216.74
                                                                                                                        NIC05194 NICHOLSON 05194 14" 1/2 RD BASTA..            6        $137.76
                                                                                                                        PEAYS50 PEARSON YS-50 WELPER MIG PLIERS                2         $48.32
                                                                                                                        TIL750L TILLMAN(750)PEARL ELK WELDERS GL..             2         $29.50
                                                                                                                        ZZM03M71106010020 3M 9100X AUTO DARK HO..              2        $984.62
                                                                           Total                                                                                              18      $1,439.76
                                                    873      3158413       03/31/14       4380404        110158         ZZM0SEL31201 FACE SHIELD FOR AEC FLASH                 2        $146.46
                                                                           Total                                                                                               2        $146.46
                                                    882      3164284       04/14/14       4392310        115588         LAPC7 LAPCO LAP-C 7 WELDERS CAP                        3         $12.38
                                                                                                                        LAPC714 LAPCO LAP-C 7 1/4 WELDERS CAP                  4         $16.50
                                                                                                                        LAPC718 LAPCO LAP-C 7 1/8 WELDERS CAP                  4         $16.50
                                                                                                                        LAPC738 LAPCO LAP-C 7 3/8 WELDERS CAP                  5         $20.63
                                                                                                                        ROUNDSH SOAPSTONE HOLDER -ROUND                        5          $6.50
                                                                                                                        THD98206 THD 30 AMP DRAG TIP                           5         $38.15
                                                                                                                        TIL42L TOP GRAIN PIGSKIN MIG WELDING GLO..             3         $32.37
                                                                                                                        TIL42M TILLMAN 42M GLOVE                               3         $32.37
                                                                           Total                                                                                              32        $175.40
                                                    Total                                                                                                                     87      $1,867.77
 56440 LUMINANT OAK HILL MINE                       9          MOVE        04/26/13                                                                                            1          $0.58
                                                                           Total                                                                                               1          $0.58
                                                    4032     3109293       11/29/13       4317873        75583          LING14865 LIN G1486-5 PC BOARD                         1        $366.67
                                                                           Total                                                                                               1        $366.67
                                                    Total                                                                                                                      2        $367.25
 56443 LUMINANT TATUM MINE                          2466     3040300       06/19/13       4236321        BRDBL012 204   WESAW404 WE #AW-404 ADAPTOR, INERT A                   -6      ($57.78)
                                                                           Total                                                                                               -6      ($57.78)
                                                    2727     3080711       09/24/13       4284316        B0209794 392   DELIVERY DELIVERY/FUEL                                 1          $9.00
                                                                                                                        KOB71104544 KOBECO BMS 711 E71T1 .045X44..           132        $258.72
                                                                                                                        TUE110326BX ARCAIR 3/8 X 12 (BOX 50 EA)                4         $54.25
                                                                           Total                                                                                             137        $321.97
                                                    2736     3080711       11/05/13                                                                                            1       ($16.11)
                                                                           Total                                                                                               1       ($16.11)
                                                    2745     3080711       11/08/13                                                                                            1      ($183.64)
                                                                           Total                                                                                             1        ($183.64)
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
NAME_CITY filter keeps 31 of 52 members. The Filter Zero filter includes values greater than or equal to 1. The view is filtered on Customer, which keeps 61 of 61 members.
                                               Case 14-10979-CSS                   Doc 4637-1       Filed 06/01/15          Page 78 of 79

Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                      Shipped Qty       Amount
                                                             Number                                      Number
                                                                           11/08/13
 56443 LUMINANT TATUM MINE                          2745     3080711       Total                                                                                               1      ($183.64)
                                                    2979     3113070       12/10/13       4328510        83196          DELIVERY DELIVERY/FUEL                                 1          $9.00
                                                                                                                        WEL2X414HT-10 GLASS LENS 2X4-1/4 HEAT TR..             6          $3.56
                                                                           Total                                                                                               7         $12.56
                                                    2988     3113070       01/23/14                                                                                            1        ($3.56)
                                                                           Total                                                                                               1        ($3.56)
                                                    Total                                                                                                                    141         $73.44
 56445 LUMINANT THREE OAKS MINE                     2349     2997034       04/25/13                                                                                            1       ($31.83)
                                                                           Total                                                                                               1       ($31.83)
                                                    2916     3065040       08/19/13       4268755        S0790167       LIN7018185 1/8X14 LINCOLN½ 7018 5TB(20CT)              0        ($6.35)
                                                                           Total                                                                                               0        ($6.35)
                                                    3033     3079472       11/08/13                                                                                            1       ($37.07)
                                                                           Total                                                                                               1       ($37.07)
                                                    3150     3094694       10/24/13       4303117        71461          DELIVERY DELIVERY/FUEL                                 1          $9.00
                                                                                                                        LENLC40 LENCO 1 FEMALE, 1 MALE SET                    11        $140.91
                                                                           Total                                                                                              12        $149.91
                                                    3159     3094694       01/23/14                                                                                            1      ($140.91)
                                                                           Total                                                                                               1      ($140.91)
                                                    3249     3106124       11/20/13       4317409        77920          DELIVERY DELIVERY/FUEL                                 1          $9.00
                                                                                                                        LAPC7 LAPCO LAP-C 7 WELDERS CAP                       10         $41.30
                                                                                                                        LAPC634 LAPCO LAP-C 6 3/4 WELDERS CAP                 10         $41.30
                                                                           Total                                                                                              21         $91.60
                                                    3258     3106124       01/07/14                                                                                            1       ($82.60)
                                                                           Total                                                                                               1       ($82.60)
                                                    3267     3106125       11/20/13       4317688        78081          ATLWH40 ATLAS WH-40 CHIPPING HAMMER                    3         $22.21
                                                                                                                        DELIVERY DELIVERY/FUEL                                 1          $9.00
                                                                           Total                                                                                               4         $31.21
                                                    3276     3106125       01/07/14                                                                                            1       ($22.21)
                                                                           Total                                                                                               1       ($22.21)
                                                    3285     3107806       11/25/13       4309763        72881          DELIVERY DELIVERY/FUEL                                 1          $9.00
                                                                                                                        ZZD3LINKL12684-2 FUEL TANK                             1        $662.55
                                                                           Total                                                                                               2        $671.55
                                                    3294     3107806       01/08/14                                                                                            1      ($662.55)
                                                                           Total                                                                                               1      ($662.55)
                                                    3438     3167506       04/22/14       4398368        119428         120319DS PROPANE, BULK                               550      $1,424.50
                                                                           Total                                                                                            550       $1,424.50
Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and  Filter Zero. The
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Pre-Petition Item Detail

                                                             Invoice                                     Purchase Order
 Customer                                           Seq No                 Invoice Date   Order Number                  Product                                       Shipped Qty      Amount
                                                             Number                                      Number
                                                                           04/22/14       4398368        119428         120319DS PROPANE, BULK
 56445 LUMINANT THREE OAKS MINE                     3438     3167506       Total                                                                                             550      $1,424.50
                                                    3447     3168772       04/24/14       4393050        107884        FPLABOR LABOR ON REPAIR - FRANK PRESLEY                 3       $315.00
                                                                                                                       SHOPSUPPLIES SHOP SUPPLIES                              1        $18.50
                                                                                                                       ZZFPMIL097132 STAND-OFF,NO 6-32 X .375 LG               1         $4.39
                                                                                                                       ZZFPMIL178355 NUT, 375-32 .54HEX .25H NYL FL            5         $6.95
                                                                                                                       ZZFPMIL193115 STAND-OFF SUPPORT,PC CAR..                3         $4.98
                                                                           Total                                                                                              13       $349.82
                                                    Total                                                                                                                    608      $1,735.07
 Grand Total                                                                                                                                                            2,094,973   $408,399.70

Shipped Qty and Amount broken down by Customer, Seq No, Invoice Number, Invoice Date, Order Number, Purchase Order Number and Product. The data is filtered on NAME_CITY and Filter Zero. The
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